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Filing # 206107649 E-Filed 09/03/2024 11:16:07 PM


                                                        IN THE CIRCUIT COURT OF THE NINTH
                                                      JUDICIAL CIRCUIT IN AND FOR ORANGE
                                                                         COUNTY, FLORIDA

        CHRISTIAN CAMPBELL,
        LAURIE ANNE CAMPBELL, and
        ISEABAIL CAMPBELL (a minor child)

               PLAINTIFFS,

        vs.                                                     CASE NO.:


        ORLANDO POLICE DEPARTMENT,
        ORLANDO ROLON (in his capacity as former Orlando Police Chief),
        THE CITY OF ORLANDO,
        JOHN W. MINA (in his capacity as Sheriff of Orange County),
        DEPARTMENT OF CHILDREN AND FAMILIES,
        DETECTIVE JENNIFER WING (an individual in her capacity as a OPD Detective),
        SERGEANT STEVEN FARRIS (an individual in his capacity as a OPD Sergeant),
        BAYLOR ANDERSON (an individual in her capacity as an DCF Investigator),
        SKYLER SAUNDERS (an individual in his capacity as a DCF employee),
        JENNIFER THOMAS (an individual in her capacity as a DCF employee),
        AMANDA DION (an individual in her capacity as a DCF employee),
        KIRSTEN TEANY (an individual in her capacity as a DCF employee), and
        JANE AND JOHN DOES 1-50 (an individual in their capacities as a DCF employees and OPD
        Officers)

               DEFENDANTS.




                           COMPLAINT       AND DEMAND FOR JURY TRIAL

                                  TRIGGER WARNING:
           THIS DOCUMENT CONTAINS HIGHLY GRAPHIC INFORMATION OF A SEXUAL
         NATURE INCLUDING ALLEGATIONS OF CHILD SEXUAL ASSAULT, MOLESTATION
                              AND CHILD PORNOGRAPHY.

               COMES NOW, Plaintiffs, CHRISTIAN CAMPBELL, LAURIE ANNE CAMPBELL and

        (Minor Child) ISEABAIL CAMPBELL (hereinafter referred to as "Plaintiffs"), by and through

        their undersigned counsel and hereby sues Defendants, ORLANDO POLICE DEPARTMENT

        (hereinafter referred to as "Defendant OPD"), ORLANDO ROLON, in his official capacity as
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  Orlando Police Chief (hereinafter referred to as "Defendant Chief); THE CITY OF ORLANDO,

  a   municipal corporation (hereinafter referred to as "Defendant Orlando"); JOHN W. MINA, in

  his official capacity as Sheriff of the County of Orange (hereinafter referred to as "Defendant

  Sheriff'); THE DEPARTMENT OF CHILDREN AND FAMILIES, a legal subdivision of the

  State of Florida (hereinafter referred to as "Defendant DCF"), DETECTIVE JENNIFER WING,

  in her individual capacity (hereinafter referred to as "Defendant Wine); SERGEANT STEVEN

  FARRIS, in his individual capacity (hereinafter referred to as "Defendant Farris"); BAYLOR

  ANDERSON, in her individual capacity (hereinafter referred to as "Defendant ANDERSON");

  SKYLER SAUNDERS, in his individual capacity (hereinafter referred to as "Defendant

  Saunders"); JENNIFER THOMAS, in her individual capacity (hereinafter referred to as

 "Defendant Thomas"); AMANDA DION, in her individual capacity (hereinafter referred to as

 "Defendant Dion"); KIRSTEN TEANY, in her individual capacity (hereinafter referred to as

 "Defendant Teany"); and JOHN AND JANE DOES 1-50, in their individual capacities

 (hereinafter referred to as "Defendant Does"); (All Defendants will hereinafter collectively be

 referred to as "Defendants"), and herein requests judgment against all Defendants and states as

 follows:

                                                    PARTIES

       1.   Plaintiffs were residents of Orlando, Florida and at all material times herein were

            residents of Orange County, Florida.

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    2.   Defendant OPD is the municipal law enforcement agency responsible for law

         enforcement within the city limits of Orlando and is responsible for the policies and

         conduct of its agency and officers.



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    3.   Defendant Chief is being sued in his official capacity as Chief of Police for Orlando,

         Florida and was responsible for the policies and conduct of its officers. Orlando Police

         Department is the law enforcement agency for the City of Orlando (hereinafter referred to

         as "OPD"). A suit against Defendant Chief in his official capacity is a suit against the


         OPD.




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    4.   In 1998, the OPD formed the Internet Crimes Against Children Task Force (hereinafter

         referred to as "ICAC") which works with the National Center for Missing and Exploited

         Children (hereinafter referred to as "NCMEC") and the FBI along with supervising

         agents from Defendants Sheriff and Chief. The ICAC is not a separate legal entity and is

         not distinct from the entities of which it is comprised.

    5.   Defendants OPD, Chief, Sheriff, Wing, Farris and Does work concurrent with and in

         connection with the task force.




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     6.   Defendant Orlando is a municipal corporation situated in Orange County, Florida

          founded in 1875 and incorporated and operating under a charter since 1885. The city is

          responsible for services for law enforcement.

     7.   Defendant Sheriff is being sued in his official capacity as Sheriff of Orange County,

          Florida and is responsible for the policies and conduct of its officers. Orange County

          Sheriff's Department is the law enforcement agency for Orange County. A suit against

          Defendant Sheriff in his official capacity is a suit against the OCSD.



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     8.   Defendant DCF is a state agency of Florida and an organization under the government of

          the State of Florida, created, operating and existing by virtue of the Constitution and laws

          of the State of Florida, and is empowered to act by the State though it's governing body,

          officials, employees and official bodies. Shevaun Harris, is currently Secretary of DCF,

          and her predecessor, Chad Poppell, maintained and operated the agency with agents,

          servants and employees acting on behalf of the Secretary of the DCF, State of Florida, or

          her predecessor, Chad Poppell, who at all times material hereto were          acting within the

          course   and scope of their employment or acting outside the course and scope of their

          employment with deliberate indifference to the rights and safety of others.




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      9.   Defendant Wing is a detective who is employed by Defendant Chief through Defendant

           OPD, works with the ICAC task force, is over the age of 18 and on information and

           belief is a resident in or conducts business in Orange County, Florida and is being sued in

           her individual capacity.

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       10. Defendant Farris is a sergeant who is employed by Defendant Chief through Defendant


           OPD, works with the ICAC task force, is over the age of 18 and on information and

           belief is a resident in or conducts business in Orange County, Florida and is being sued in

           his individual capacity.1

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       11. Defendant Anderson is a child protective investigator who is employed by Defendant


           DCF, is over the age of 18 and on information and belief is a resident in or conducts

           business in Orange County, Florida and is being sued in her individual capacity.




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    Picture of Sgt. Farris was obtained from a news article where he shot a 34-year-old woman in 2016, prior to his
  joining of the ICAC SVU. https://www.wesh.com/article/orlando-police-release-video-of-officers-shooting-
  carjacking-suspect/4449131


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     12. Defendant Saunders is employed by Defendant DCF, is over the age of 18 and on


        information and belief is a resident in or conducts business in Orange County, Florida and

        is being sued in his individual capacity.




     13. Defendant Thomas is employed by Defendant DCF, is over the age of 18 and on


        information and belief is a resident in or conducts business in Orange County, Florida and

        is being sued in her individual capacity.




     14. Defendant Dion is employed by Defendant DCF, is over the age of 18 and on information


        and belief is a resident in or conducts business in Orange County, Florida and is being

        sued in her individual capacity.




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     15. Defendant Teany is General Counsel for Defendant DCF, is employed by Defendant


               DCF, is over the age of 18 and on information and belief is a resident in or conducts

               business in Orange County, Florida and is being sued in her individual capacity.




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     16. Defendants Jane and John Does are believed to be employed by Defendants Chief,


               Sheriff and DCF are over the age of 18 and on information and belief are residents in or

               conducts business in Orange County, Florida and are being sued in their individual

               capacity.

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                                                                                  VENUE AND JURISDICTION

    17. This action is proper in the Circuit Court in and for Orange County, Florida as all


                 material facts of this cause of action occurred in Orange County, Florida and this where

                 the cause of action accrued.

    18. This is an            action for damages in excess of Fifteen Thousand and 00/100 Dollars ($

                 15,000.00), exclusive of attorneysfees and costs.

    19. Pursuant to §768.28(6)(a) Florida Statutes, Plaintiffs have notified Defendants Chief,


                 Sheriff, Orlando, OPD and DCF of their claims six months or more prior to the filing of


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         this action and said claims were not resolved. Plaintiffs have fully complied with

          §768.28(6)(a), including providing notice and service.2

     20. Concurrent jurisdiction is conferred in the Circuit Court in and for Orange County, by 28

         U.S.C. §1331, to decide cases presenting a question arising under the Constitution and

         the laws of the United States, and by 28 U.S.C. §1343(a)(3) and (4), to redress the


         deprivation, under color of law, of any right, privilege or immunity secured by the United

          States Constitution.

     21. Jurisdiction is conferred in the Circuit Court in and for Orange County, Florida, by

         Article V, Section 5(b) of the Florida Constitution to hear all state law claims including

         claims under the Constitution of the State of Florida.

     22. This is an action brought pursuant to 42 U.S.C. §1983, which provides:

                  "Every person who, under color of any statute, ordinance, regulation, custom or
                  usage of any State or Territory.... subjects or causes to be subjected any citizen
                  of the United States or others person within the jurisdiction thereof to the
                  deprivation of any rights, privileges or immunities secured by the Constitution
                  and laws, shall be liable to the party injured in an action at law, suit in equity or
                  others proper proceeding for redress."

     23. All conditions precedent to the filing of this action have occurred, accrued, or have been

         waived as a matter of law.

                     FACTUAL ALLEGATIONS                  COMMON TO ALL COUNTS

     24. On March 24, 2020, the National Center for Missing and Exploited Children (NCMEC)

         received a cybertip regarding solicitation and possible distribution of child pornography.3

     25. MAPA Breelle Hunter of the FBI was assigned the case for further investigation.4




 2
   A true and correct copy of the Notices and their Service Cards are attached hereto as composite Exhibit A.
 3
   Cybertip #66460350.
 4
   FBI Case number 305A-HQ-3852150-SBP.



                                                          12
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       26. The cybertip was initiated by a member of the public and included a single chat

            conversation between the complainant and suspects from a Fetlife.com account.

       27. The singular chat were from an account named "Kristina Slut" and included

            conversations related to alleged sexual acts with a child.5

       28. What is obvious from the chat submitted was that no images/videos were ever disclosed

            or disseminated nor was     there ever any images/videos transmitted that depicted the acts

            described in the single chat.

       29. What is more obvious from the single chat is that it seems to be an attempt to solicit the

            other individual into sending videos of child pornography before the suspect was willing

            to send over the video described in the chat.

       30. What is even more abundantly obvious from the single chat is that the alleged victim was

            a verbal   child and not a nonverbal child. This is indicated in the chat affixed to the

            fraudulent search warrant stating, "we do it all the time she loves it" and "she asks for it."

            Plaintiff, a minor child, was a nonverbal 18-month-old and it would have been impossible

            for the Plaintiffsminor    child to communicate any such information indicated in the

            single chat.6

       31. To reiterate, there was NEVER any images/videos sent by either the alleged suspect or


            complainant that depicted child pornography. While the nature of the conversation in

            itself was disturbing it was not illegal and without any actual video/image accompanying

            the chat there was absolutely no crime committed and no grounds for which a legal

            search or search warrant could be issued.




     Composite Exhibit "B"
 5




     Composite Exhibit "B"
 6




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     32. What is additionally obvious in the singular chat is a "targeted ads" which typically


         appear within the location of one or both the parties in the chat. Those "targeted ads" are

         for Saint Joseph's College in Indianapolis, IN.7

     33. According to the sworn     affidavit by Defendant Wing, she stated that she viewed the

         Fetlife account where the chat originated and the account had an image of a white adult

         female, completely nude and reported age of 24.8

     34. None of the Plaintiffs are or were aged 24 at the time of the alleged chat.

     35. According to the sworn     affidavit by Defendant Wing, MAPA Hunter obtained a subpoena

         for the account associated with the chat named "HumanPocketPussy" on April 15, 2020.9

     36. On June 23, 2020, subpoena #598618 was returned as having an email address of


         christianccampbell@gmail.com.

     37. MAPA Hunter then obtained a subpoena for that email address on June 24, 2020.10

     38. On June 29, 2020, Google fulfilled the subpoena request which included several IP

         addresses from the IP activity log.

     39. It is important to note that the alleged IP activity, alleged to be from the Plaintiffs, was


         only active from December 10, 2019 to June 23, 2020 despite Plaintiffshaving internet

         and IP activity long before and after the alleged usage dates in Defendant Wing's sworn

         affidavit."

     40. Plaintiffs' IP address was intentionally selected because of the similar names to Plaintiffs

         and the email address obtained by subpoena #598618.




 7
    Defendant OPD Case No. 2020-221714, Exhibit "B" pages 11-13.
 8
    Defendant OPD Case No. 2020-221714, Exhibit "B" page 14.
 9
    Defendant OPD Case No. 2020-221714, Exhibit "B" page 14.
  10
     FBI Subpoena # 614348, Exhibit "B" page 14.
  11
     Defendant OPD Case No. 2020-221714, Exhibit "B" pages 14.


                                                      14
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      41. Upon further subpoena's it was allegedly determined that the single chat originated at

          Plaintiffshome, in the jurisdiction of the City of Orlando and the case was "re-entered"

          into the Internet Crimes Against Children Data System (IDS) and "reassignee to

          Defendant OPD.12

      42. According to the sworn affidavit of Defendant Wing, she attests she was assigned the

          case   for further investigation on July 16, 2019. Which would have been virtually

          impossible considering July 16, 2019 was PRIOR to the cybertip being filed on March

          24, 2020 with the NCMEC.13

      43. In August 2020, an exact date which is not specified in Defendant Wing's affidavit,

          Defendants OPD and Wing allegedly verified the address of Plaintiffs via the Orlando

          Utilities Commission (OUC). Plaintiffs assume the exact date of that verification predates

          the August 4th sworn affidavit by Defendant Wing, being on or between August 1-4,

          2020.

      44. Pursuant to the sworn affidavit of Defendant Wing, she attests that she believed the IP

          addresses, arbitrarily chosen from the list of IP addresses from the FBI, belonged to the

          Plaintiffs.

      45. Defendant OPD then began surveillance of Plaintiffs' home and surveillance commenced

          and continued prior to the search warrant being obtained and executed.'

      46. On August 4, 2020, Defendants Wing and Farris sought a search warrant for various

          items in Plaintiffs' home.




 12
    It is unclear from the sworn affidavit why the words "reentered" and "reassignee are used if the tip and
 investigation originated with the FBI.
 13
    Defendant OPD Case No. 2020-221714, Exhibit "B" pages 7 and 15.
 14
    Defendant OPD Case No. 2020-221714, Exhibit "B" page 15.


                                                          15
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    47. On August 4, 2020, Judge Wayne Shoemaker signed the search warrant based on the

       information and representations presented by Defendants Wing and Farris.




    48. In Defendant Wing's affidavit, relied upon by Judge Shoemaker, Defendant Wing

       intentionally makes several misstatements of fact in order to obtain the search warrant.

    49. The first misstatement of fact in Defendant Wing's affidavit is that she knew "from

       training and experience, that there is a database list, known to the enforcement to

       correspond to specific images of child pornography." That the images "had previously

       been identified as either suspected or known images of child pornography and were


       cataloged by the NCMEC and/or the Wyoming Internet Crimes against Children's task

       force." There were NO images that existed or were    ever   disseminated in the chat

       therefore it would be impossible for Defendant Wing to make the assertion that such

       images/videos were within the database list, known to law enforcement, or had been

       previously identified as suspected or known images of child pornography by either law

       enforcement, NCMEC or the Wyoming Internet Crimes task force. Upon information and

       belief this is boilerplate language used by Defendant OPD's officers to obtain baseless

       warrants for these types of crimes.

    50. The next misstatement of fact in Defendant Wing's affidavit is that the images, which did

       not exist nor ever existed, were "suspected or known, are either one in which the child

       victim and the image is actually known to law enforcement due to a reported case of

       abuse, or the image has been viewed by other members of law enforcement who are able

       to confirm by training and experience that the content of the image and video is


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       pornographic, that the child depicted is a real child (not generated by computer

       technology, but either a movie or an image that predates the capacity for photo

       manipulation) and that the child and the image is clearly and obviously under the age of

       18. Upon information and belief this is boilerplate language used by Defendant OPD's


       officers to obtain baseless warrants for these types of crimes.

    51. Since there were ZERO images/videos contained in the chat received by Defendants OPD

       and Wing it was impossible for Defendant Wing to have asserted, in a sworn      affidavit

       nonetheless, that there was images/videos of a real child, that the content of the image or

       video was pornographic and that the child in the image was obviously under 18.

    52. Defendant Wing made other misstatements of fact regarding her training and experience


       regarding IP addresses, the specific date, time, name, physical address of the IP address,

       P2P networks, MD4 digital signatures, SHA algorithm, eDonkey networks and computer

       software. Upon information and belief this is boilerplate language used by Defendant

       OPD's officers to obtain baseless warrants for these types of crimes.

    53. Defendant Wing made further misstatements of fact including that the chat originating

       from "Kristina Slur on Fetlife was from the husband-and-wife Plaintiffs named herein.

    54. Defendant Wing made further misstatements of fact including that she knew that the IP

       address and files belonged to Plaintiffs because "two files are not identical with a


       precision that greatly exceeds 99.999 percent certainty." Somehow Plaintiffs found

       themselves in that .001 percent range in this instance. Upon information and belief this is


       boilerplate language used by Defendant OPD's officers to obtain baseless warrants for

       these types of crimes.




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        55. Defendant Wing's intentional misstatement regarding the IP address is further known

            because the alleged single chat, the subject of her affidavit, commenced on the app KIK

            which is known to law enforcement as having end to end encryption and does not require

            email verification for use.' 5

        56. Defendant Wing also attested that she had investigated over 220 sexually related or

            internet-based crimes between her appointment to the ICAC taskforce between January

            2020 and August 2020.

        57. Defendant Wing made further misstatements of facts in her affidavit when she stated that

            she was       involved "in search warrants of this type and has consulted with many

            experienced investigators who have used this method of investigation. Nearly every case

            was     verified through the following means: 1) Evidence of child pornography was found

            on the computer. 2) If no images of child pornography were            found on the computer,

            interviews of person using those computers verified that child pornography had been

            present at one time, but, have been deleted or the computer with the child pornography

            have been removed from the premises. In rare cases, it was determined that the suspect

            accessed the customers unsecure             wireless router and thereby downloaded child

            pornography using his IP address. In such cases, the unsecured wireless router was an

            instrumentality of the crime. Subject to seizure and that it aided in the receipt and

            distribution of child pornography and potentially contain data logs and 3) Images were

            moved from a computer and stored on other media." Upon information and belief this is

            boilerplate language used by Defendant OPD's officers to obtain baseless warrants for

            these types of crimes.




 15
      Exhibit "C"   -
                        KIK for law enforcement guide



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        58. In fact, there was never any evidence of child pornography found on Plaintiffscomputer,

            wireless router, or found to been stored on other media or had previously been deleted or

            removed from Plaintiffs' devices or premises.

        59. Defendant Wing inflated her affidavit with boilerplate terminology, which Plaintiffs

            believe is common    practice within Defendant OPD, that did not speak to her experience,

            training or the nature of the underlying issue which the search warrant was sought and

            used this boilerplate terminology in an, successful, attempt to entice the Judge into


            signing the search warrant.

        60. Upon information and belief Defendant Wing, aided by Defendant Farris, made these


            intentionally false representations to the Ninth Judicial Circuit in an effort to increase her

            profile and further her career within ICAC SVU.

        61. What is more interesting is it seems the tactic of filing false and fraudulent sworn

            affidavits DID advance her career has worked as Defendant Wing's star has risen within

            the OPD as she has been featured in several interviews regarding internet-based child

            pornography crimes.16

        62. Plaintiffs believe Defendants Wing, Farris, OPD, Chief and Does worked together to


            misrepresent facts and use boilerplate terminology in order to obtain a search warrants      on


            innocent individuals, like Plaintiffs, and that this is common   practice of the Orlando

            Police Department.

        63. On August 4, 2020, Judge Shoemaker of the Ninth Judicial Circuit Court signed

            Defendant Wing's fraudulent search warrant.




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      https://x.com/OrlandoPolice/status/1519397954129387521 and https://www.youtube.com/watch?v=UEFf848gtf4


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       64. On August 6, 2020, officers from Defendants OPD and Sheriff executed the warrant on

                         Plaintiffs residence.17
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       65. Prior to the execution of the illegal search warrant on Plaintiffshome, Plaintiffs were


                         undergoing serious renovations to upgrade their home from a 2-bedroom one bathroom



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                         home to a four-bedroom two-bathroom home to accommodate for their growing

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      Composite Exhibit "B"


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    66. A SWAT team with rifles and guns drawn executed the warrant on Plaintiffshome on the


       morning of August 6, 2020, at approximately 9:37 am in a gross, extreme, negligent and

       excessive use of force.
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    67. The SWAT team pointed their loaded firearms at the heads of both Plaintiffs Christian

       and minor child when they illegally entered Plaintiffs' home.



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    68. The minor child Plaintiffs bedroom was facing the front porch where Plaintiff Christian

       saw      them as they demanded he come out as their assault rifles and numerous                                                                                                                                                                                             firearms

       were        pointed at his and his minor child's head.

    69. When SWAT entered into the home the minor child Plaintiff had just awaken from


       overnight sleeping, was still in her overnight diaper and was being lifted from her crib by

       her father. Defendants OPD and Does refused to let Plaintiffs or any other person change

       the minor child out of her overnight diaper and forced the minor child to remain in her

       soiled diaper for several hours while Plaintiffs were illegally detained and Defendants

       illegally searched and seized Plaintiffsperson and property.

    70. In addition to personally being terrified, Plaintiffs pet dogs were also terrified by the

       armed SWAT team entering the home and the pets defecated on the floor of the home

       from being so frightened.

    71. SWAT then surrounded Plaintiffs' home and entered into the back of the home, despite

       Plaintiffs already being detained in the front yard of the home.




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    72. Once SWAT entered the home Defendants OPD, Wing, Sheriff, Chief and Does

       disconnected Plaintiffs internal cameras by disconnecting Plaintiffs internet connection.

       Upon information and belief Defendants believed they had also disconnected the exterior

       cameras                    as well but were                                           unsuccessful because the exterior cameras                                                                                                                      were                     hard wired and

       thusly continued filming. Had those exterior cameras not been hardwired Plaintiffs would

       have had no proof of the illegal and excessive force used upon them when their persons

       and property was illegally searched and seized.




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    73. Approximately a few blocks away from Plaintiffsresidence Defendants OPD, Chief,

        Sheriff and Does stopped Plaintiff Laurie, in unmarked vehicles claiming she had run a

       stop sign. Defendants forced her out of her vehicle by gunpoint, seized her phone,

       demanded she unlock her cell phone over her objection telling her she had no other

       recourse   but to comply. Further, Defendants OPD, Chief, Sheriff and Does then placed

       Plaintiff Laurie in the back of their unmarked police vehicle, ensuring her detainment and

       then seized her vehicle. Additionally, Defendants OPD, Chief, Sheriff and Does removed

       a   legal firearm in Plaintiffs vehicle which was not listed in the fraudulent search warrant,

       nor was    it accounted for in the seizure manifest and was never returned to Plaintiff.

    74. Plaintiff Laurie was not at the home during the execution of the warrant as she was en-

       route to the vet as her dog required emergency surgery. Due to the events of that day the


       pet did not receive emergency treatment and subsequently died shortly thereafter.

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    75. Defendants OPD, Sheriff and/or Does then drove Plaintiff Laurie's vehicle back to her

       home and parked it in her driveway.

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    76. Plaintiff Christian was dragged out of his home by several armed individuals, collectively

       Defendant Does, and illegally detained for hours without being able to contact legal

       representation, his wife or his minor child from approximately 9:37 am to 1:30 pm.



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    77. Plaintiff Laurie was also detained for the same amount of time and was unable to

       communicate with her husband or tend to the 18-month-old minor child Plaintiff.
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    78. Defendants OPD, Wing, Farris, Sheriff, Chief and Does refused to let Plaintiffs

       communicate with each other, their minor child or legal counsel during their illegal

       search, seizure and detainment of Plaintiffs.




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    79. The minor child Plaintiff was not given water and was only given popcorn, a choking

       hazard to an 18-month-old child, during the entire detainment period of the minor child

       Plaintiffsparents. Further, the child was forced to stay in the same soiled diaper during

       the entire time of her parents' illegal detainment. The diaper was so soiled that the child's

       onesie became soaked in urine as well.

    80. Prior to executing the search warrant Defendants closed off Plaintiffs street so that cars

       were               unable to pass. It was not until after the SWAT left Plaintiffs private property that

       cars             and neighbors were able to resume down the street, where Defendants intercepted

       them informing them Plaintiffs were child molesters and pornographers. Additionally,

       Plaintiffs were left detained and bound in the front yard of their home for all of their

       neighbors and passersby to see.




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        81. Defendants OPD, Chief, Sheriff and Does then went door to door defaming Plaintiffs by


                 telling their neighbors that Plaintiffs were involved in child pornography and were                                                                                                                                                                                                                                                                                                   sex


                 criminals.18

        82. Defendants OPD, Chief, Sheriff and Does then contacted Defendant DCF to take


                 possession of the Plaintiffsminor                                                                                                             child, despite no evidence of the minor child, or any

                 child for that matter, being subjected to or a victim of child sexual abuse or pornography.

        83. Defendants OPD, Wing, Farris, Sheriff, Chief and Does then made false statements to

                 Defendant DCF about the condition of Plaintiffs' home and the condition of their minor

                 child asserting Plaintiffs' home and the minor child was unkempt due to her soiled diaper,

                 and the Plaintiffs were unfit due to the defecation of the dogs in the home and the mud


                 present throughout the home, which was tracked in by the numerous                                                                                                                                                                                                                                                                                           officers who entered

                 Plaintiffs' home illegally. Defendants made these false statements to DCF to ensure the

                 minor child was removed from the home as they knew they had no evidence of any crime

                 committed by Plaintiffs especially not a crime of child molestation or pornography.



 18
      Exhibit "F"


                                                                                                                                                                                            27
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    84. Defendants OPD, DCF and Does then forced Plaintiffs to sign, under duress, an


       "emergency plan" where the minor child Plaintiff was remanded to the custody of the

       minor child's grandparents.

    85. It is important to note that the grandmother of the minor child was   a   senior citizen who

       was    undergoing chemotherapy treatments for cancer and then abruptly forced to care for

       an    18-month-old child unnecessarily. Plaintiffs were, and had always been, fit to care for

       their child and there was never any evidence to support removal of the minor child from

       their custody.




    86. Employees/agents from Defendant DCF then forced the 18-month-old minor child be


       subjected to unlawful and unnecessary medical exams including taking pictures of the

       minor child's naked body and private parts without the consent and against the will of the

       minor child and the minor child's parents.

    87. Plaintiffs were subsequently stripped of custody of their 18-month-old minor child for a


       period of five months and were further forced to intrusive and constant, unsubstantiated,

       visits from Defendant DCF for an additional year after the return of their minor child.

    88. The forced, intrusive, constant, and unsubstantiated visits from Defendant DCF occurred

       two to three times per week for an additional year once the minor child was returned to

       the custody Plaintiffs.




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    89. Defendant Anderson, during the period when the minor child was     removed from the

       custody of Plaintiffs, met with Plaintiff Laurie at a coffee shop on Edgewater offering to

       aid Plaintiff in the return of her minor child if she would "flip" on her husband, Christian,

       and say that he did in fact use the child to produce and engage in child pornography.

       Plaintiff Laurie refused. Plaintiffs believe Defendant engaged in this behavior due to her

       desire to join law enforcement as Defendant Anderson has since joined the OPD.

    90. Defendant Teany made false statements to the Ninth Judicial Circuit Court by delaying


       Plaintiffs, unfounded, case telling the Court DCF was still awaiting evidence from

       Defendant OPD which Defendant Teany knew was never coming. Defendant Wing had

       made it known to Defendant Teany that no further investigation was commencing on


       Plaintiffs, or their seized items, predominately because of the arrest of another individual

       in Indiana and because the OPD was busy investigating cyber murders instead.

    91. Defendant Teany attempted to entice Plaintiffs into signing a plea bargain with Defendant


       DCF, in an attempt to absolve DCF from liability. Defendant told Plaintiffs agreeing to

       the plea would be the only way they would get custody of their child prior to Christmas.

       Plaintiffs refused.

    92. Immediately after the illegal search and seizure on Plaintiffs person and property they

       were   without cell phones and internet connection, so they went to a friend's business in

       order to contact legal representation for assistance.

    93. Plaintiffs immediately hired and retained two separate attorneys, one for Defendant DCF

       to regain custody of their child and one for any potential criminal case initiated by

       Defendant Wing's falsified search warrant.




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       94. Plaintiffs spent upward of $30,000 retaining these attorneys immediately after the illegal


            search, seizure and detainment by Defendants.

       95. Plaintiffs, personally, did not receive any further communication from Defendants Wing,


            OPD, Sheriff and Chief until November 2021. Plaintiffsformer         counsel was informed

            that the police made an arrest elsewhere, in Indiana, regarding the crime Plaintiffs were

            alleged to have committed. Plaintiffs did not receive any other information regarding the

            name    of the individual arrested or any other information relating to the arrest of any

            individual in Indiana for the purported crime alleged to have been committed by

            Plaintiffs.

       96. Despite Defendant Wing's assertions in her affidavit, it became obvious that Defendant

            OPD lacked a computer forensic team in their department to complete forensics on

            Plaintiffs seized items and intentionally delays forensics on the items illegally seized

            from Plaintiffs home.

        97. Upon information and belief, based on the login logs from the devices seized, no

            forensics ever occurred on Plaintiffs electronics by Defendants.

        98. At no point were Plaintiffs ever charged, arrested or prosecuted for child sexual abuse or

            child pornography.

        99. Defendants OPD, Chief, or Sheriff gave Plaintiffs a search warrant inventory list that did

            not include several items taken from Plaintiffs' home including new, unopened laptops

            and a legally owned and registered firearm. The list given to Plaintiffs was barely legible

            and did not include accurate descriptions of the items seized.19




 19
      Exhibit "D"


                                                       30
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        100.                       Furthermore, Defendants OPD, Chief, or Sheriff seized Plaintiff Christian's cell

                phone which has never been returned.

        101.                       The property Defendants OPD, Chief, or Sheriff did return were all damaged

                beyond repair.


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        102.                       Defendants OPD, Chief, or Sheriff have not returned other items included and not

                included on the search warrant inventory list including a legally owned firearm and

                Plaintiff Christian's personal cellular phone.

        103.                       On one occasion, after it was determined by overwhelming evidence Plaintiffs

                committed no crime and another individual in Indiana was alleged to have been arrested,

                the city attorney contacted Plaintiffs to come into evidence in order to regain custody of

                their firearm. The city attorney attempted to force Plaintiff Laurie into signing a

                document which would hold Defendants OPD, Chief, Sheriff and Does harmless for their

                illegal taking of Plaintiffs property. Plaintiff refused to sign such waiver and took a

                picture of the document before it was removed from Plaintiffs possession.2°


 20
      Exhibit "E"


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                   104.                                               Plaintiffs believe they were targeted by Defendants OPD, Wing, Farris, Sheriff,

                                Chief and Does due to Plaintiffs religious beliefs and his position as Chief Technology

                                Officer at a major software firm. Several times during Plaintiffs detainment Defendants

                                made comments to Plaintiffs that Catholics were the type who engaged in child

                                molestation and that Plaintiff Christian was smart but not smarter than Defendants.

                   105.                                               Due to the overwhelming shock, stress, and emotional distress Plaintiffs continue

                                to live in fear of law enforcement.

                   106.                                               Due to the overwhelming shock, stress, and emotional distress Plaintiffs were

                                compelled to sell their home where the illegal search, seizure and detainment occurred.

                   107.                                               Furthermore, due to fear of retaliation of Defendants Orlando, OPD, Chief,

                                    Sheriff, Wing, Farris and Does Plaintiffs were forced to relocate completely out of the

                                City limits of Orlando.

                                                                                                                                              COUNT I
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    108.                    Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

         fully set forth herein.

    109.                    On August 4, 2020, based on knowingly false representations made by Defendant

         Wing in her sworn probable cause affidavit, Defendants OPD and Sheriff obtained an

         illegal and fraudulent search warrant signed by Judge Shoemaker of the Ninth Judicial

         Circuit Court.

    110.                    Plaintiffs allege that the Judge did not read or thoroughly review Defendant

         Wing's sworn probable cause affidavit. If the Judge would have reviewed it he would

         have determined there was no probable cause because the images/videos depicting


         pornography of a real child (and not one computer generated) who was under the age of

           18 were absent and were never                                                       distributed or attached to single chat which was the

         subject of the probable cause affidavit submitted by Defendant Wing.

    111.                    Defendant Wing alleged, under oath in her affidavit that, she had been assigned

         the case file on July 16, 2019 despite the fact that the cybertip was not reported to the

         NCMEC until March 24, 2020.




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    112.       Additionally, Defendant Wing alleged under oath in her affidavit that she had

       been assigned the case file on July 16, 2019 despite the fact that she herself had not been


       assigned to ICAC SVU until January 2020.

    113.       Further, Defendant Wing alleged under oath in her affidavit that she had

       determined from training and experience that the images/videos had been viewed by

       members of law enforcement who were able to confirm the content of the image/video

       was   pornographic, that the child was a real child (not generated by computer technology)

       and that the child in the image was under the age of 18. This was a knowingly false

       statement considering there was never any images/videos viewed by her or any other

       member of law enforcement because no images/videos were       ever   present in the single

       chat submitted to the NCMEC.

    114.       None of allegations advanced in Defendant Wing's sworn affidavit were true and

       these misrepresentations were material and were knowingly and intentionally falsely

       made by Defendant Wing and Farris in order to gain a search warrant. Essentially

       Defendants were    on a "fishine expedition and knew had they been truthful to the Court,


       as they are required to be, the Court would have found no probable cause     and would not

       have issued a search warrant. Furthermore, NO charges were ever filed against Plaintiffs

       in relation to the allegations made by Detective Wing in her sworn probable cause

       affidavit.

    115.       The representations made in Defendant Wing's probable cause affidavit were

       knowingly false, the search and detention of Plaintiffs was not based on a valid process of

       the Court, and furthermore, no probable cause ever existed for the search, seizure and

       detention of the Plaintiffs.




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    116.        The actions of Defendants Wing, and Farris, were taken in bad faith or with

       malicious purpose or with wanton, reckless and willful disregard for both Plaintiffs'

       rights and for the truth. Moreover, Defendants Wing and FaiTis had specific, subjective

       knowledge that Plaintiffs had not engaged in the conduct alleged in her sworn affidavit.

       Despite this knowledge, Defendant Wing did purposely cause Plaintiffs search and

       detainment to be effectuated.

    117.        At all times, Defendants Wing and Farris knew or should have known that the

       charges of child molestation and pornography were false, and that no probable cause

       existed to request a search warrant for Plaintiffs.

    118.        On August 6, 2020, Defendant OPD, through its employees and agents acting in

       the course and scope of their duties as police officers caused Plaintiffs to be deprived of

       their freedom and liberty and restrained the Plaintiffs in their movements at the scene of

       their residence and illegally detained Plaintiffsfrom    approximately 9:37 am to 1:30 pm.

    119.        Defendant OPD through its agents and employees, and acting under color of state

       law, unlawfully restrained Plaintiffs against their will by causing Plaintiffs to be detained

       and deprived of their liberty on August 6, 2020 by numerous      law enforcement officers

       acting within the scope of their employment with Defendant. Although they thought they

       possessed justification or authority for said detention that authority and justification was

       knowingly fraudulently obtained.

    120.        Additionally, Defendant OPD, through its employees and agents acting in the

       course   and scope of their duties as police officers, caused the minor child Plaintiff to be

       deprived of her freedom and liberty and detained the minor child despite the minor child

       being the alleged victim. Defendant further detained the minor child by illegally and




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       unreasonably engaging Defendant DCF to remove           the minor child from the custody of

       her parents knowing that no such illegal or unlawful behavior occurred.

    121.       Plaintiffs did not consent to the aforementioned actions of Defendant OPD, its

       employees and agents, and said actions were against the will of Plaintiffs.

    122.       The restraint of Plaintiffs by Defendant OPD, through its employees and agents

       acting in the course and scope of their duties was unlawful and was not based upon any

       lawfully issued process of the Court. Therefore, Defendant did not have a valid warrant

       for Plaintiffs or even   a valid basis to obtain a warrant   as the singular conversation alone


       was not criminal nor an act in which a warrant      could have been obtained.

    123.       Defendant's actions, including obtaining a fraudulent warrant, detaining Plaintiffs

       against their will, seizing Plaintiffspersons, property and minor child were done for the

       purposes of confining Plaintiffs and constitute an unlawful restraint.

    124.       Plaintiffs were, at all times pertinent, aware of this unlawful restraint.

    125.       As a direct and proximate result of the false detainment, Plaintiffs have suffered

       injuries and damages, both professionally and personally.

    126.       As a direct and proximate result of Defendants actions, through its employees and

       agents for which Defendant is responsible, Plaintiffs have suffered damages, which

       include physical inconvenience, physical discomfort and pain, physical suffering, loss of

       time, loss of income, loss of personal items, loss of business, mental suffering,

       embarrassment, humiliation, disgrace and injury to their feelings and reputation, the

       physical and emotional aspects of which are continuing to this day and are likely to

       continue in the future.




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     WHEREFORE, for the foregoing reasons, Plaintiffs, respectfully requests this Court to enter

 judgment against Defendants and requests the following: an award of compensatory damages for

 personal indignity, dishonor, humiliation, damage to their professional and personal reputation,

 mental anguish and distress, an award of lost benefits, an award of prejudgment interest, an

 award of attorney's fees and costs and such additional or alternative relief as the court may deem

 just and proper. Plaintiffs reserve the right to amend his claim for punitive damages in the future,

 should such a claim become viable.


                                               COUNT II
                                         FALSE DETAINMENT
                                            (Defendant DCF)

        127.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

           fully set forth herein.

        128.        This is an action against Defendant DCF for false detainment. This Count is pled

           in the alternative and at all times pertinent hereto, Defendants were acting inside the

           course   and scope of their employment with Defendant DCF.

 129.      Plaintiffs are entitled to relief against Defendant in that its officers, employees, or agents

     acting in the course and scope of their employment with DCF, intentionally and unlawfully

     detained and restrained the minor child Plaintiff against her will, deprived the minor child

     Plaintiff and her parents of liberty without any reasonable cause, and maintained such a

     complete restrain and deprivation for an excessive and unreasonable period of time.


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    130.        This unlawful restraint of the Plaintiffs liberties was assisted by Defendants OPD,

       Chief, Sheriff, Saunders, Anderson, Thomas, Dion, Teany and Does by confining the

       minor child to an area in which the minor child, nor the parents of the minor child, did

       not wish to be confined and by compelling the minor child to go where she, or her


       parents, did not wish to go.

    131.        The minor child Plaintiff was further restrained by Defendants, through its agents

       and employees by use of coercive words, threats of force as well as actual force, and

       immediate means of coercion against minor child Plaintiffsparents so that the Plaintiffs

       were   restrained and deprived of their liberty. Defendants restrained the minor child

       without any justification and in the absence of probable cause. Defendant DCF conducted

       no independent investigation into whether any criminal conduct had occurred, nor         did

       they have any evidence that any criminal conduct had already occurred to justify their

       unreasonable restraint on Plaintiffs.

    132.        At all times material to this action the minor child Plaintiff was restrained against

       her will and the will of her parents and without consent. The minor child was not free to

       leave her place of confinement, including not being fed and left to fester in a soiled

       diaper for a grossly extended period of time.

    133.        As a direct and proximate cause of Defendants actions, Plaintiffs have been

       damaged. Damages include mental anguish, pain and suffering, bodily injury, loss of

       capacity for the enjoyment of life, embarrassment, humiliation, loss of reputation, lost

       employment opportunities, lost wages, and the loss of other emoluments. These damages

       have occurred at present, in the past and will most likely occur in the future. Defendants

       are jointly and severally liable to Plaintiffs.




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    141.      There was never any probable cause to remove                                                                                             Plaintiff Laurie from her vehicle

       and stop her from seeking emergency services to aid her pet dog.

    142.       There was never any probable cause to detain Plaintiffs in handcuffs and place

       them in the front yard of their home.



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    143.      The search, seizure and detainment of Plaintiffs by Defendant Orlando's

       employees and agents was unlawful and unreasonable.

    144.      The totality of the circumstances surrounding the search, seizure and detainment

       of Plaintiffs further confirm an unreasonable and unlawful detainment.

    145.      Moreover, Defendant Orlando, through its officers, agents, representatives and

       employees, negligently failed to investigate the sufficiency and truthfulness of the

       material facts of Defendant Wing's affidavit before seeking a defective search warrant for

       Plaintiffs persons and property.

    146.      As a direct and proximate result of the false detainment of Plaintiffs by

       Defendant's employees and agents, for which Defendant Orlando is vicariously liable,

       Plaintiffs suffered damages which include mental suffering, embarrassment, humiliation,

       disgrace, injury to their feelings and reputation, and loss of enjoyment of life which is

       permanent and/or continuing in nature.


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        147.           Defendant Orlando's violations of Plaintiffs civil and constitutionally protected

           rights have caused injury and damage to Plaintiffs for which they are entitled to

           compensation.

       WHEREFORE, Plaintiffs demands judgment against the Defendant Orlando for

 compensatory damages and costs of this action and requests a jury trial on all issues so triable.

 Plaintiffs reserve the right to amend his claim for punitive damages in the future, should such a

 claim become viable.

                                                   COUNT IV
                                        MALICIOUS PROSECUTION
                                   (Defendants Orlando, OPD, Wing, and Does)

        148.           Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

           fully set forth herein.

        149.           Defendants owed a duty of care to its citizenry in general, and specifically owed a

               duty of care to Plaintiffs.


        150.           On August 20, 2020, Defendant Wing, with malicious purpose, and acting in

               concert with the other Defendants, caused prosecution to be instituted against Plaintiffs


           by Defendant OPD and DCF. Further, Defendant Wing's actions caused prosecution to

           be unnecessarily continued against Plaintiffs. 21


        151.           Said prosecution was instituted and initiated by Defendant Wing without probable

               cause as to the facts observed by Defendant Wing prior to having Plaintiffs persons and


           property search, seized, detained, and their child removed from their custody. The matters

           known to Defendant Wing before instituting the aforementioned prosecution would not



 21
      OPD Case Number 2020-221714 and Ninth Judicial Circuit Court for Orange County Case No. DP20-433.



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            have warranted a reasonable person to believe that Plaintiffs had engaged in or

            committed any criminal offense. Further, the prosecution of Plaintiffs was instituted by

            Defendant Wing with no reasonable likelihood of success. In fact, NO charges were         ever


            filed against Plaintiffs for child molestation or child pornography. Moreover, the account

            of the facts reported in the probable cause affidavit by Defendant Wing were both false

            and misleading.


        152.           Eventually, there was a bona fide termination of the proceedings against Plaintiffs

            by Defendant DCF in favor of the Plaintiffs.

        153.           Additionally, an individual in Indiana was allegedly arrested for the crimes

            Defendant Wing accused Plaintiffsof          in November 2021.


        154.           No prosecution of Plaintiffs by any governmental agency would have been

               initiated or pursued if not but for the actions of Defendant Wing.


        155.           There was never any probable cause for any judicial proceedings to commence

               against Plaintiffs.22


        156.           Additionally, Defendant Wing provided false and misleading information to

            Defendant DCF which resulted in the alienation of minor child Plaintiff from her parents.

               The information Defendant Wing provided to Defendant DCF was fabricated and

            malicious.


        157.           Defendant Wing acted with malice when she instituted the aforesaid prosecution,

            which is implied by the lack of probable cause. Express malice was shown by the



 22
      Ninth Judicial Circuit Court for Orange County, Case No. DP20-433.


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            reckless disregard for the rights of Plaintiffs by Defendants Wing and Does when they

            demonstrated their personal animosity and hostility toward Plaintiffs for being Catholic

            and Plaintiff Christian's position as a software executive.


        158.        Plaintiffsdetainment and prosecution became known to other persons as a result

            of Defendants Wing, Chief, Sheriff and Does actions by directly informing neighbors of

            Plaintiffs that they were being prosecuted for child pornography and molestation, 23

            detaining Plaintiffs on the front lawn of their home, as well as making Plaintiffs case

            discoverable to the public records of Orange County and available to public scrutiny

            online to anyone with access to the internet.


        159.        Prosecution of Plaintiffs was instituted without probable cause by Defendant

            Wing and the facts known by Defendant would not have warranted a reasonable person to

            believe that any criminal offense had been committed by Plaintiffs.


        160.        There was an absence of probable cause to obtain a search warrant, detainment

            and prosecution of Plaintiffs.


        161.        On or about November 2021, the prosecution against Plaintiffs was terminated in

            favor of Plaintiffs. Allegedly the true perpetrator was arrested in Indiana, as was evident

            that the perpetrator was located in that jurisdiction from the targeted ads in the single chat

            submitted in Detective Wing's sworn affidavit. The arrest of the individual in Indiana

            constituted a bona fide termination of proceedings before Defendant OPD and DCF in




 23
      Exhibit "F"


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           favor of Plaintiffs, proving concretely there was never any probable cause against

           Plaintiffs.


       162.        Defendant Wing acted maliciously and in bad faith against the Plaintiffs at all

           times mentioned herein. No prosecution, in any sense of the word, of Plaintiffs would

           have occurred if not but for the actions of Defendant Wing.


       163.        As a direct result of Defendant Wing's actions, Plaintiffs have suffered damages,

           which include physical inconvenience, physical discomfort and pain, loss of time, loss of

           income, loss of personal items, loss of business, mental suffering, embarrassment,

           humiliation, anxiety, disgrace, injury to their feelings and reputation, loss of enjoyment of

           life, the emotional and physical aspects which are continuing to this day and are likely to

           continue into the future. Moreover, Plaintiffs suffered emotional and mental pain and

           suffered and continues to suffer from this pain and suffering to this day, and all of these

           said injuries are permanent and/or continuing in nature. Plaintiffs also suffered damages

           as the result of her being forced to hire counsel and incur attorneysfees and costs to


           defend themselves from such malicious prosecution by Defendants.


       WHEREFORE, for the foregoing reasons, Plaintiffs respectfully requests this Court enter

 judgment against Defendants for damages and costs in the prosecution of this matter, expenses

 incurred in defending the prosecution and continued prosecution and for such other and further

 relief as this Court deems just and proper under the circumstances. Plaintiffs further demands

 judgment against the Defendants for compensatory damages and costs of this action and requests

 a   jury trial on all issues so triable. Plaintiffs reserve the right to amend their claim for punitive

 damages in the future, should such a claim become viable.




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                                                 COUNT V
                                       MALICIOUS PROSECUTION
                                     (Defendants Orlando, OPD and DCF)

       164.         Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

           fully set forth herein.

       165.         The Defendants, through its agents and employees, and acting under color of state

           law, instigated the prosecution of Plaintiffs. Legal process was instituted against

           Plaintiffs by Defendant OPD, Orlando and DCF based exclusively upon the false and

           malicious accusations made by Defendant Wing and the request by Defendant Wing to

           investigate the matter.


       166.         A review of the single chat included in Defendant Wing's probable cause affidavit

           demonstrates that there was never any images/videos depicting child pornography or

           child molestation, especially not any committed by Plaintiffs or involving Plaintiffs'

           minor child. However, against all common          sense   and decency Defendant Wing initiated


           proceedings against Plaintiffs before the Ninth Judicial Circuit without any probable

           cause to do so.'



       167.         Defendants Wing, OPD, Orlando, and DCF's attempt to prosecute Plaintiffs for

           child molestation and child pornography were based solely on false material facts

           provided by Defendant Wing and constitutes malice. The investigation and proceedings

           were   with wrongful and willful intent to injure Plaintiffs.


       168.         Defendant OPD, in November 2021, closed the case initiated by Defendant Wing

           against Plaintiffs as an individual in Indiana was alleged to have been arrested for the


 '
     Ninth Judicial Circuit Court for Orange County, Case No. DP20-433 and 2020-221714.


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          same   crime stated to have been perpetrated by Plaintiffs. Plaintiffs were   never   provided

          any information as to the alleged individual who was arrested for the crime in Indiana.


      169.        As a direct and proximate result of Defendantsmalicious attempt to prosecute

          Plaintiffs, Plaintiffs were caused to suffer injuries and damages, both professionally and

          personally.


      WHEREFORE, Plaintiffs demand judgment against Defendants and requests the following:

 an   award of compensatory damages for personal indignity, dishonor, humiliation, damage to

 Plaintiffs' professional and personal reputation, mental anguish and distress, an award of lost

 wages and other lost employment benefits, an award of prejudgment interest, attorneys' fees and

 such additional or alternative relief as the Court may deem just and proper. Plaintiffs reserve the


 right to amend their claim for punitive damages in the future, should such a claim become viable.

                                             COUNT VI
                                  FRAUD/MISREPRESENTATION
                               (Defendants Wing, Farris, OPD, and Chief)
      170.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

          fully set forth herein.

      171.        Defendants Wing and Farris knowingly and intentionally made false material and

          misleading representations to the Ninth Judicial Circuit, that Plaintiffs were engaged and

          had engaged in child molestation of their own minor child and they had created child


          pornography with their minor child. Specifically, Defendant Wing concealed or

          knowingly failed to advise the Court that there was not nor was there ever an

          images/videos of any child being molested or sexually abused when she knew or should

          have known of that fact based on her own exhibit produced as evidence in her sworn

          probable cause affidavit.


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    172.       Defendant Wing's representations were in fact false, as there was never any

       images/videos depicting a child being sexually molested or any evidence any child

       pornography had ever been created.


    173.       Defendant Wing, Farris, and OPD had actual knowledge based upon their training

       and experience that there was no evidence of any child molestation or pornography due to

       the lack of images/videos depicting such or should have known such information as there

       was never   any images/videos presented in Defendants own probable cause affidavit.


    174.       Defendants Wing, Farris and OPD knowingly and intentionally falsely

       represented to the Ninth Circuit Court that images/videos of child pornography and

       molestation existed and omitted relevant information from their probable cause affidavit

       that no such images/videos did or ever existed.


    175.       When Defendants made these representations to the Ninth Circuit Court, both in

       their probable cause affidavit and during the DCF proceedings initiated shortly thereafter,

       they knowingly and intentionally concealed and withheld from the Plaintiffs, and the

       public, the true facts that there was not nor had their ever been any images/videos

       depicting child molestation or pornography especially not images/videos involving

       Plaintiffs or their minor child.


    176.       Defendants Wing, Farris and OPD had a duty to disclose to the Plaintiffs, the

       Ninth Circuit Court, DCF and the public that no such images/videos ever existed

       depicting the Plaintiffs engaging in child molestation or pornography as Defendants had

       superior knowledge of these facts that were material to Plaintiffs innocence. The Ninth

       Circuit Court and Defendant DCF reasonably and justifiably relied on the Defendants



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        concealment of the true facts and reasonably and justifiably relied upon Defendants'

        representations that Defendants had unequivocal proof, with 99.999% certainty, that

        Plaintiffs engaged in child molestation and pornography.

     177.        Had the Ninth Circuit Court or Defendant DCF known of the Defendants'

        concealment of the true facts Plaintiffs would have never been injured nor been alienated

        from their 18-month-old minor.

     178.       As a direct and proximate result of the DefendantsWing, Farris and OPD's

        misrepresentations and concealment, Plaintiffs have suffered economic damages and

        losses and non-economic damages and losses, including, but not limited to, pain and


        suffering, impairment of their quality of life, alienation of child parent relationship and

        emotional distress.

    WHEREFORE, Plaintiffs demand judgment against all aforementioned named Defendants

 and requests the following: an award of compensatory damages for personal indignity, dishonor,

 humiliation, damage to Plaintiffs' professional and personal reputation, mental anguish and

 distress, an award of lost wages and other lost employment benefits, an award of prejudgment

 interest, attorneys' fees and such additional or alternative relief as the Court may deem just and

 proper. Plaintiffs reserve the right to amend their claim for punitive damages in the future,

 should such a claim become viable.

                                            COUNT VII
                              NEGLIGENT     MISREPRESENTATION
                                  (Defendants Wing, Farris and OPD)
     179.       Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.




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     180.          Defendants Wing, Farris and OPD, in the course of their official capacity as law

           enforcement, supplied Defendants DCF, Anderson, Saunders, Thomas, Dion, Teany,

           Does and the Ninth Judicial Circuit Court with false information.


     181.          The false information supplied by the Defendants to Defendants DCF, Anderson

            Saunders, Thomas, Dion, Teany, Does and the Ninth Judicial Circuit Court caused

           Plaintiffsto   be falsely detained, their person and property unnecessarily and


           unreasonably searched and seized and their minor child removed from their custody.


     182.          In supplying the false information, Defendants failed to exercise reasonable care

           or competence in obtaining or communicating information to the Ninth Judicial Circuit


           Court, Defendant DCF, Plaintiffs' and their attorney.


     183.          The false information obtained and communicated by Defendant Wing to the

           Ninth Judicial Circuit Court was material, and the Ninth Judicial Circuit Court and

           Defendant DCF justifiably relied in good faith on the information given to them.


     184.          As a result of the intentionally negligent misrepresentations by Defendants OPD,

           Wing and Farris to the Ninth Judicial Circuit Court and Defendant DCF, Plaintiffs

           suffered injuries, damages and losses as alleged herein.


     WHEREFORE, Plaintiffs demands judgment against the Defendants for compensatory

 damages and costs of this action and requests a jury trial on all issues so triable. Plaintiffs reserve

 the right to amend this claim for punitive damages in the future, should such a claim become

 viable.

                                               COUNT VIII
                                             42 U.S.C. §1983
                                             (All Defendants)


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    185.       Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

       fully set forth herein.

    186.       Plaintiffs have the right under the Constitution of the United States to be secure

       from unlawful searches or unlawful restraint of their person and liberty, which may be

       restricted only upon due process of law under the Fourth and Fourteenth Amendments to

       the United States Constitution.

    187.       Additionally, Plaintiffs have the right under the United States Constitution and the

       Constitution of the State of Florida to be free from wrongful detainment and prosecution.

    188.       This claim is brought pursuant to Florida State Court's concurrent jurisdiction to

       entertain violations of 42 U.S.C. §1983.

    189.       On August 6, 2020, Defendant Wing, under the color of law and as an employee

       of Defendant Chief and OPD, deprived Plaintiffs of their rights under the United States

       Constitution, in violation of 42 U.S.C. §1983, in that, without probable cause advanced

       Plaintiffs had committed a violation of law, illegally detained, handcuffed, searched and

       seized Plaintiffspersons and property and caused Plaintiffs to be alienated from their 18-

       month-old minor child depriving them of their liberty and thereby causing Plaintiffs

       physical and emotional pain and suffering. Defendants OPD, Wing, Chief, Sherriff and

       Does had no legal right to detain or search and seize Plaintiffs' person and property.

       Furthermore, Defendants DCF, Anderson, Saunders, Thomas, Dion and Teany had no

       legal right to remove     Plaintiffs' minor child from the Plaintiffs custody and alienate the

       Plaintiffs from their parental responsibility. Defendant Wing's actions also caused

       Plaintiffs to be prosecuted, before the Ninth Judicial Circuit, without probable cause and




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       Defendant Wing allowed the prosecution and continued in participation of the

       prosecution without probable cause.

    190.      Additionally, Defendant Wing made false statements to the Ninth Judicial Circuit

       Court in order to obtain a search warrant to search, seize and detain Plaintiffsperson and

       property. In doing so, Defendant Wing obtained a search warrant under false pretenses.

    191.      During the scope of the search, Defendant Wing went beyond the scope of the

       warrant and seized items, which were not included in the scope of the warrant nor were


       they accounted for in the inventory log, including but not limited to several brand new

       and unopen laptops and a firearm in Plaintiffs' vehicle. Defendant Wing had no legal

       right to search, seize and detain Plaintiffs' person and property.

    192.      The sole purpose of the illegal and wrongful detention and unlawful restraint of

       Plaintiffs was to deprive and infringe upon Plaintiffs' constitutional rights. As a result,

       Plaintiffs were deprived of their rights under the Fourth and Fourteenth Amendments of

       the United States Constitution. Violation of these rights entitles Plaintiffs to an award of

       damages for loss of those rights and the damages that resulted therefrom.

    193.      Defendant Wing took the actions complained of above with knowledge that the

       actions were in direct violation of the United States Constitution and the rights of

       Plaintiffs. The acts of Defendant Wing violated the clearly established constitutional

       rights of Plaintiffs, rights of which every reasonable member of the public or

       governmental entity knew or should have known.

    194.      Defendant Wing knew that her actions would deprive Plaintiffs of their

       constitutional rights but proceeded with the unlawful actions with willful disregard for

       the consequences of her actions.




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     195.          As a direct result of Defendants Wing, Farris and OPD's actions, Plaintiffs have

        suffered damages, which include physical inconvenience, physical discomfort and pain,

        loss of time, loss of income, loss of personal items, mental suffering, embarrassment,

        humiliation, disgrace and injury to their feelings and reputation, the emotional and

        physical aspects, and all others damages associated with Plaintiffs unlawful detainment,

        search, seizure and detainment of Plaintiffsperson and property and alienation of

        Plaintiffs' from their minor child. These damages exist to this day and are likely to

        continue into the future. Plaintiffs were forced to hire counsel to defend themselves in the

        fraudulent prosecution initiated by Defendant Wing and suffered damages as a result.

     196.          Plaintiffs' have suffered damages as a result of their Fourth, and Fourteenth

        Amendment rights being violated.

     197.          Plaintiffs' have retained the undersigned to bring this action under 42 U.S.0

            §1983 and is entitled to recover   from Defendants a reasonable fee for said counsel

        pursuant to 42 U.S.C. §1988.

    WHEREFORE, Plaintiffs respectfully requests this Court to take jurisdiction of this cause

 and the parties to this action and enter an award of damages against Defendants in their

 individual capacity, and to award Plaintiffs' their attorneys' fees and costs pursuant to 42 U.S.C.

 §1988 and other applicable laws. Plaintiffs reserve the right to amend their claim for punitive

 damages in the future, should such a claim become viable.

                                                 COUNT IX
                                  42 U.S.C. 1983 EXCESSIVE FORCE
                 (Defendants OPD, Orlando, Chief, Sheriff, Wing, Farris and Does 1-50)




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    198.          Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

       fully set forth herein.

    199.          That at all times alleged herein, the Defendants were all acting under the color of

       law and violated the known and clearly established Constitutional rights of Plaintiffs to

       be free from the use of excessive force.


    200.          Police officers are prohibited from using more force than necessary to effectuate

       detention.


    201.          At all times relevant, Plaintiffs had a clearly established right to personal safety

       and bodily integrity, as well as protection from unlawful seizure, unnecessary force,

       unreasonable force, and excessive force pursuant to the Fourth Amendment to the United

           States Constitution.




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    202.        Defendants unlawfully seized Plaintiff Christian when they took custody of

       Plaintiff by physically grabbing and dragging him out of his home at gunpoint. The

       sudden grabbing, dragging, pushing and pulling of Plaintiff has caused him to sustain

       severe   and continued injuries.


    203.        Defendants unlawfully seized Plaintiff Laurie when they took custody of Plaintiff

       by physically grabbing and dragging her out of her vehicle and surrounding her vehicle at

       gunpoint. The sudden grabbing, dragging, pushing and pulling of Plaintiff has caused her

       to sustain severe and continued injuries.


    204.        Defendants unlawfully seized Plaintiffsminor     child when they took custody of

       Plaintiff by physically grabbing and dragging her out of her father's arms at her home at

       gunpoint. The sudden grabbing, pulling and separating of the 18-month-old child from

       her father has caused her to sustain severe and continued injuries.


    205.        This use of force was objectively unreasonable because Plaintiffs, especially the

       18-month-old minor child, committed no crime. Plaintiffs were not a threat to the safety

       of the officers and Defendants had no objective reasonable suspicion or probable cause to

       believe that Plaintiffs committed any crime, nor did they have any other lawful basis to

       detain or use any force at all on Plaintiffs.


    206.        Defendants used excessive force against Plaintiffs without any reasonable

       suspicion or probable cause to believe that Plaintiffs were armed or involved in any crime

       or posed an   objectively reasonable threat of death or serious bodily harm to the officers.

    207.        The above-described physical attack on Plaintiffs were without legal justification.




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    208.      Plaintiffs did nothing to provoke Defendants and Defendants conduct was

       unreasonable under the circumstances.


    209.      Defendants intentionally, knowingly, recklessly, unreasonably and negligently

       detained Plaintiffs while using excessive and unnecessary force.


    210.      The excessive use of force deprived Plaintiffs of their clearly established right to

       be secure in their persons against excessive force by state actors in violation of Plaintiffs


       clearly established constitutionally protected right to be free from punishment and

       deprivation of life and liberty without due process of law under the Fourth and Fourteenth

       Amendments to the United States Constitution. Defendants employed unnecessary,

       unreasonable, and excessive force against Plaintiffs, thereby inflicting horrendous

       personal injuries upon them.


    211.      Defendantsactions constitute an excessive use of force which a reasonable police

       officer would not have used, including having their guns drawn, arriving at Plaintiffs'

       home with a SWAT team, surrounding Plaintiffs' home with countless officers, and

       refusing to allow Plaintiffs to change the diaper or tend to their minor child.


    212.      As a direct and proximate result of the Defendants willful violation of Plaintiffs

       constitutionally-protected rights, Plaintiffs has suffered and will continue to suffer

       damage into the future, including, but not limited to: physical pain and suffering, bodily

       injuries, mental anguish, severe emotional distress, fright and shock, denial of social

       pleasures and enjoyment, humiliation or mortification, medical bills and expenses for the

       past, present and future and other damages properly recoverable under law.




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    217.       At all times relevant, Defendant Orlando was responsible for the administration,

       operation, and supervision of Defendant OPD, and for the promulgation, enforcement and

       review of rules, regulations, policies, customs, and practices relevant thereto, and was

       acting under color of law.

    218.       At all times relevant, Defendant Orlando was under a non-delegable duty to

       promulgate policies, practices, procedures and/or customs to ensure that residents of

       Orlando were not subjected to excessive and/or unreasonable force in violation of their

       Constitutional rights.

    219.       At all times relevant, Defendant Orlando, OPD, Chief, Sheriff, Wing, Farris and

       Does were under a non-delegable duty to refrain from using excessive and/or

       unreasonable force on residents located in the City of Orlando, and to ensure that

       residents and the general public were not subjected to excessive and/or unreasonable

       force in violation of their Constitutional rights.

    220.       At all times relevant, Defendant Chief, Wing, Farris and Does were officers

       employed by Defendants Orlando and OPD and were acting within the course and scope

       of their employment and under the color of law, who was directly responsible for

       Plaintiffswell-being while within the City of Orlando. Defendant Wing, Farris and Does

       are sued in their official   and individual capacities.

    221.       Employees of Defendants Orlando and OPD reviewed Defendants Wing, Farris,

       Chief, Sheriff and Does unreasonable use of force on Plaintiffs herein, and approved,

       ratified and otherwise condoned Defendants excessive and unreasonable use of force on

       Plaintiffs herein.




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    222.        The acts and omissions of the Defendants in this claim for relief, including, but

        not limited to those City employees participating in the foregoing stated acts and

        omissions, ordering, authorizing, directing, supervising, approving and/or ratifying the

        foregoing acts and omissions, and acquiescing, failing and/or refusing to prevent the

        foregoing acts and omissions, constitute conduct under the color of state law which

        deprived Plaintiffs of their clearly established and known rights, privileges, and

        immunities secured by the Constitution and laws of the United States.

    223.        As a direct and proximate result of the foregoing stated conduct, the Defendants

        in this claim for relief deprived Plaintiffs of their clearly established and known rights

        under the Fourteenth Amendment of the United States Constitution. More specifically,

        these Defendants deprived Plaintiffs of: (1) their right to be free from a deprivation of life

        and liberty without due process of law and (2) their right to be free from the use of

        excessive, outrageous, and unreasonable force, which shocks the conscience and offends

        traditional notions of decency.

    WHEREFORE, Plaintiffs respectfully requests this Court take jurisdiction of this cause and

 the parties to this action and enter an award of damages against all Defendants in their individual

 capacity, and to award Plaintiffstheir   attorneys' fees and costs pursuant to 42 U.S.C. §1988 and

 other applicable laws. Plaintiffs reserve the right to amend their claim for punitive damages in

 the future, should such a claim become viable.

                                              COUNT X
                              42 U.S.C. § 1983 EXCESSIVE FORCE
         (Defendants Orlando, DCF, Anderson, Saunders, Thomas, Dion, Teany, and Does)

    224.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.



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    225.       That at all times alleged herein, Defendants were all acting under the color of law

       and violated the known and clearly established Constitutional rights of Plaintiffs to be

       free from the use of excessive force.

    226.       That Defendants while acting under the color of officers of Defendant DCF and

       Orlando participated in and/or used excessive use of force under the circumstances, and

       acted willfully, wantonly, maliciously, and with deliberate indifference to and callous


       disregard for Plaintiffsconstitutional   rights, and in a manner that shocks the conscience

       and offends traditional notions of decency, all of which led to Plaintiffs wrongful


       injuries.

    227.       Defendant DCF, by and through the State of Florida implemented and/or had in

       place, at all times relevant, policies and customs that violated and/or that were applied in

       such a way that they violated the constitutional rights of persons within the city of


       Orlando, including the Plaintiffs, to be free from the use of excessive force.

    228.       Plaintiffs allege that the conduct of Defendants deprived them of their

       Constitutional rights to life, liberty and the pursuit of happiness and caused Plaintiffs to

       suffer grievous physical and mental pain, suffering, anxiety and harm.

    229.       That Defendants named caused and is responsible for the unlawful conduct and

       resulting harm by, inter alia, personally participating in the conduct, or acting jointly and

       in concert with others who did so. Authorizing, acquiescing, or failing or refusing, with

       deliberate indifference to and reckless disregard for Plaintiffs clearly established and

       known rights, to initiate and maintain adequate training, supervision, and staffing. By

       failing to maintain proper and adequate policies, procedures and protocols, and customs




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       and practices and by ratifying the unlawful conduct performed by agents and officers,

       personnel, and employees under their direction, supervision, and control.

    230.         At all times relevant, Defendant DCF was responsible for the administration,

       operation, supervision and for the promulgation, enforcement and review of rules,

       regulations, policies, customs, and practices relevant thereto, and was acting under color

       of law.

    231.         At all times relevant, Defendant DCF was under a non-delegable duty to

       promulgate policies, practices, procedures and/or customs to ensure that residents of

       Orlando were not subjected to excessive and/or unreasonable force in violation of their

       Constitutional rights.

    232.         At all times relevant, Defendants DCF, Saunders, Anderson, Thomas, Dion, Teany

       and Does were under a non-delegable duty to refrain from using excessive and/or

       unreasonable force on residents located in the City of Orlando, and to ensure that

       residents and the general public were not subjected to excessive and/or unreasonable

       force in violation of their Constitutional rights.

    233.         At all times relevant, Defendants Saunders, Anderson, Thomas, Dion, Teany and

       Does were employed by Defendant DCF and were acting within the course and scope of

       their employment with the Department, and under the color of law, who was directly

       responsible for Plaintiffswell-being while within the City of Orlando. Defendant

       Saunders, Anderson, Thomas, Dion, Teany and Does are sued in their official and

       individual capacities.

    234.         Employees of Defendant DCF reviewed Defendant Saunders, Anderson, Thomas,

       Dion, Teany and Does unreasonable use of force on Plaintiffs herein, and approved,




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        ratified and otherwise condoned Defendants excessive and unreasonable use of force on

        Plaintiffs herein.

    235.        The acts and omissions of the Defendants in this claim for relief, including, but

        not limited to those Department employees participating in the foregoing stated acts and

        omissions, ordering, authorizing, directing, supervising, approving and/or ratifying the

        foregoing acts and omissions, and acquiescing, failing and/or refusing to prevent the

        foregoing acts and omissions, constitute conduct under the color of state law which

        deprived Plaintiffs of their clearly established and known rights, privileges, and

        immunities secured by the Constitution and laws of the United States.

    236.        As a direct and proximate result of the foregoing stated conduct, the Defendants

        in this claim for relief deprived Plaintiffs of their clearly established and known rights

        under the Fourteenth Amendment of the United States Constitution. More specifically,

        these Defendants deprived Plaintiffs of: (1) their right to be free from a deprivation of life

        and liberty without due process of law and (2) their right to be free from the use of

        excessive, outrageous, and unreasonable force, which shocks the conscience and offends

        traditional notions of decency.

    WHEREFORE, Plaintiffs respectfully requests this Court to take jurisdiction of this cause

 and the parties to this action and enter an award of damages against all aforementioned

 Defendants in their individual capacity, and to award Plaintiffstheir   attorneys' fees and costs

 pursuant to 42 U.S.C. §1988 and other applicable laws. Plaintiffs reserve the right to amend their

 claim for punitive damages in the future, should such a claim become viable.

                                         COUNT XI
           42 U.S.C. § 1983 FOURTH AMENDMENT             UNLAWFUL DETENTION
                                                           -




                     (Defendants OPD, Chief, Sheriff, Wing, Fanis, and Does)




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    237.       Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

       fully set forth herein.

    238.       Pursuant to the Fourth Amendment, police officers are prohibited from

       effectuating a detainment unless probable cause                                                                                                                              or reasonable suspicion exists that the


       person committed a crime, or if there is some other lawful basis to do so.

    239.       At all times relevant, Plaintiffs had a clearly established right to personal safety

       and bodily integrity, as well as protection from unlawful seizure, unnecessary force,

       unreasonable force, and excessive force pursuant to the Fourth Amendment to the United

       States Constitution.

    240.       Defendants unlawfully seized Plaintiff Christian when they took custody of

       Plaintiff by physically grabbing and dragging him out of his home at gunpoint, without

       warning or announcement. Defendants had Plaintiffs under their physical control and in

       their custody and thus arrested and/or detained him.

    241.       Defendants unlawfully seized Plaintiff Laurie when they took custody of Plaintiff

       by physically grabbing and dragging her out of her vehicle at gunpoint, without warning

       or announcement.                                       Defendants had Plaintiff under their physical control and in their

       custody and thus arrested and/or detained her.


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    242.      Defendants unlawfully seized Plaintiffsminor      child when they took custody of

       the child by physically grabbing and removing her out of her home at gunpoint, and out

       of the arms of her father without warning or announcement. Defendants had Plaintiff

       under their physical control and in their custody and thus arrested and/or detained her.

    243.      Plaintiffs' seizure was unlawful because Plaintiffs committed no crime and

       Defendants had no objective reasonable suspicion or probable clause that Plaintiffs

       committed any crime, nor did they have any other lawful basis to detain Plaintiffs.

    244.      Defendants unreasonably, painfully, unjustifiably, degradingly, and harmfully

       dragged Plaintiffs out of their home and vehicle, whereby they were harmed mentally,

       physically, and emotionally and detained for an unreasonably lengthy period of time

       and/or manner.

    245.      None of the Plaintiffs were free to leave.

    246.      Plaintiffs were detained without lawful basis.

    247.      Further, after Defendants knew or should have known that Plaintiffs were not

       suspects, they kept them detained for an unreasonably lengthy period of time.

    248.       Specifically, Defendants detained Plaintiffs Laurie and Christian outside of their

       home, in their front yard and on display to their neighbors in an effort to further

       embarrass Plaintiffs.

    249.      Defendants had no lawful basis to detain Plaintiffs outside of their home, nor to

       prevent them from tending to their minor child because they knew Plaintiffs had

       committed no crime as Defendants were devoid of any evidence (images/videos) that was

       Plaintiffs had engaged in child molestation and pornography.




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           250.                                     As a direct and proximate result of the individually named Defendants willful

                       violation of Plaintiffs constitutionally-protected rights, Plaintiffs have suffered and/or will

                       continue to suffer damage into the future, including, but not limited to: physical pain and

                       suffering, bodily injuries, loss of bodily function, mental anguish, severe emotional

                       distress, fright and shock, denial of social pleasures and enjoyment, humiliation or

                       mortification, medical bills and expenses for the past, present and future and other

                       damages properly recoverable under law.


           WHEREFORE, Plaintiffs respectfully requests this Court to take jurisdiction of this cause

 and the parties to this action and enter an award of damages against all aforementioned

 Defendants in their individual capacity, and to award Plaintiffs their attorneysfees and costs

 pursuant to 42 U.S.C. §1988 and other applicable laws. Plaintiffs reserve the right to amend their

 claim for punitive damages in the future, should such a claim become viable.



                                                                                                                                § 1983 FAILURE                                   TO INTERVENE
                                                                             (Defendants Orlando, O,                                                                          Chief, Sheriff, and Does)
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           251.                                     Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

                       fully set forth herein.

           252.                                     Each Defendant had a duty to intervene when other Defendants were engaging in

                       unlawful actions in violation of Plaintiffs' constitutional rights.




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    253.      Defendants OPD, Chief, Sheriff and Does had a duty to intervene in this use of

       excessive force and seizure of Plaintiffs because they observed and/or had reason to

       know that excessive force amounting to punishment was being inflicted upon Plaintiffs

       by Defendants and that Plaintiffs were being unlawfully seized and assaulted without a

       lawful basis.

    254.      In violation of Plaintiffs clearly established constitutionally protected right to be

       free from punishment and deprivation of life and liberty without due process of law under

       the Fourth and Fourteenth Amendments to the United States Constitution, Defendants

       failed to act to prevent the unlawful seizure of Plaintiffs and the use of unnecessary,

       unreasonable, and excessive force against Plaintiffs.

    255.      Defendants being present at the scene, had the time and opportunity to intervene

       when Plaintiffs were detained for no lawful basis.

    256.      In violation of Plaintiffs clearly established right to be free from unlawful

       detainment, Defendants failed to intervene.

    257.      The foregoing conduct by Defendants itself amounted to a constitutional violation

       of Plaintiffsrights under the Fourth Amendment to the United States Constitution.

    258.      As a direct and proximate result of the Defendants willful violation of Plaintiffs'

       constitutionally-protected rights, Plaintiffs have suffered and will continue to suffer

       damages into the future, including, but not limited to physical pain and suffering, bodily

       injuries, loss of bodily function, mental anguish, severe emotional distress, fright and

       shock, denial of social pleasures and enjoyment, humiliation or mortification, medical

       bills and expenses for the past, present and future and other damages properly

       recoverable under law.




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    WHEREFORE, Plaintiffs respectfully requests this Court to take jurisdiction of this cause

 and the parties to this action and enter an award of damages against all Defendants in their

 individual capacity, and to award Plaintiffs their attorneysfees and costs pursuant to 42 U.S.C.

 §1988 and other applicable laws. Plaintiffs reserve the right to amend their claim for punitive

 damages in the future, should such a claim become viable.

                                            COUNT XII
           42 U.S.C. § 1983- MUNICIPAL        LIABILITY-INADEQUATE TRAINING;
                                         RATIFICATION
                                   (Defendants Orlando and OPD)

    259.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

    260.        A municipality is liable under 42 U.S.C. §1983 if the alleged violations are

        attributable to its own policies, practices, or customs.


    261.        Defendants Orlando and OPD had a duty to ensure that its law enforcement

        officers complied with the Florida and Federal law.


    262.        At all times relevant to this complaint, Defendant Orlando acted with deliberate

        indifference to Plaintiffs constitutional rights by maintaining policies, practices, and

        customs that condoned and fostered Defendants OPD, Chief, Sheriff, Wing, Farris and

        Does conduct.


    263.        Specifically, Defendant OPD trains its officers to unlawfully obtain baseless and

        fraudulent warrants in order to enter people's homes, unlawfully detain them and

        unlawfully keep them detained for unreasonably lengthy periods of time and effectuate

        use of excessive force.




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    264.        Defendant OPD reviewed and investigated the incident herein but did not

        discipline any of the officers for their conduct herein complained, thereby ratifying

        and/or approving of their conduct. This provides the quintessential stamp of approval that

        what they did was proper and in conformity with the Defendants Orlando and OPD's

        policies.


    265.        In the alternative and at all times relevant to this complaint, Defendants Orlando

        and OPD failed to properly train Defendants Chief, Sheriff, Wing, Faffis and Does and

        failed to supervise and discipline them thereby demonstrating deliberate indifference to

        Plaintiffsrights.

    266.        Defendant OPD failed to: (a) adequately supervise and train its officers and

        agents, thereby failing to adequately discourage further constitutional violations on the

        part of its officers and (b) properly and adequately monitor and discipline its officers.


    267.        The need for training of officers on the proper protocol for investigating potential

        suspects, use of force on non-suspects, and detainment, is so obvious, and the lack of or

        inadequacy of such training is so likely to result in the violation of constitutional rights,

        that the policymakers for Defendant Orlando caused Defendants Chief, Sheriff, Wing,

        Farris and Does to violate Plaintiffs' constitutional rights.


    268.        As a result of Defendants Orlando and OPD's willful failure to adequately train

        and supervise its officers, Plaintiffs were harmed and now seeks compensatory damages

        in addition to reasonable attorneys' fees.


    WHEREFORE, Plaintiffs' respectfully requests this Court to take jurisdiction of this cause

 and the parties to this action and enter an award of damages against all aforementioned



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 Defendants in their individual capacity, and to award Plaintiffs their attorneysfees and costs

 pursuant to 42 U.S.C. §1988 and other applicable laws. Plaintiffs reserve the right to amend their

 claim for punitive damages in the future, should such a claim become viable.

                                          COUNT XIII
                          42 U.S.C. § 1983 DEPRIVATION        OF RIGHTS
                                  (Defendant Wing, Farris, Does)

    269.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

    270.        This is an action for violation of Constitutional rights pursuant to 42 U.S.C.

        §1983, against Defendant Wing in her individual capacity.


    271.        This is an action for violation of Constitutional rights pursuant to 42 U.S.C.

        §1983, against Defendant Farris in his individual capacity.


    272.        This is an action for violation of Constitutional rights pursuant to 42 U.S.C.

        §1983, against Defendant Does in their individual capacity.


    273.        Defendant Wing is sued in her individual capacity wherein at all times material

        hereto she was acting with deliberate indifference to the rights and safety of others,


        including Plaintiffs.


    274.        Defendant Wing while acting under color of state law and by virtue of the

        authority vested in her by Defendant OPD, the State or its agencies had actual and/or

        constructive notice that Plaintiffs had not engaged in, produced or otherwise disseminated

        child pornography with any child including their minor child.


    275.        Plaintiffs' injuries, including the alienation of them from their minor child was a

        reasonably foreseeable result and a consequence of Defendant Wing's deliberate


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       indifference and reckless disregard of her obligation to provide truthful and accurate

       testimony to the Court when obtaining a search warrant.


    276.        Defendant Farris failed to adequately supervise Defendant Wing's work to ensure

       the accuracy of the contents contained therein as well as the physical safety of Plaintiffs'

       from being subjugated to an unwarranted search, seizure and detainment by law

       enforcement.


    277.        Defendants, Wing, Farris and Does, while acting under color of state law and by

       virtue of the authority vested in them by Defendants Orlando and OPD, the State or its

       agencies acted in bad faith, with malicious purpose, in a manner    exhibiting willful and

       wanton disregard of human rights and safety.


    278.        Defendants demonstrated reckless and/or deliberate indifference to Plaintiffs'

       fundamental and clearly established Constitutional rights and evidenced an intentional

       and conscious disregard and indifference to Plaintiffssafety and welfare as:


           a.   Defendant Wing violated Plaintiffs' constitutional rights by failing to be truthful

                and accurate in her sworn probable cause affidavit for search warrant to Ninth

                Judicial Court Judge Shoemaker or the exercise of reasonable care to prevent

                injury to Plaintiffs;

           b.   Defendant Farris violated Plaintiffs' constitutional rights by failing to adequately

                supervise, review or properly monitor and screen Defendant Wing's affidavit for

                accuracy necessary in the exercise of reasonable care to prevent injury to

                Plaintiffs; and




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           c.   Defendant Wing violated Plaintiffsconstitutional      rights by falsifying her

                testimony in her sworn affidavit for a search warrant.


    279.        Defendants Wing and Farris' failure to protect Plaintiffs was so grossly

       incompetent and inadequate as to shock the conscience or to be intolerable to

       fundamental fairness.


    280.           Defendants Wing, Farris and Does through their actions or inactions described

       above, caused Plaintiffs' to be subjected to the deprivation of rights, privileges, and

       immunities secured by the Constitution and the laws of the United States, including:


           a.   The right to substantive and procedural due process protected by the Fourteenth

                Amendment; and


           b.   The right not to be subjected to cruel, unusual and excessive punishment as

                guaranteed by the Eighth Amendment.


    281.        Defendants Wing, Farris and Does knew that Plaintiffs would face a substantial

       risk of serious harm and disregarded that risk by failing to take reasonable measures     to

       abate it.


    282.        As a direct, proximate and foreseeable result of the Constitutional violations and

       misconduct of the Defendants Wing, Farris and Does, as set forth above, Plaintiffs were

       irreparably damaged and injured.


    283.           As a direct, proximate and foreseeable result of the Constitutional violations of

       Defendants Wing, Farris and Does, Plaintiffs, hereby demands recovery of damages

       including any and all incurred medical expenses, moving expenses, other expenses



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        including attorneysfees for having to litigate frivolous and false claims, pain and

        suffering, loss of enjoyment of life, and other damages.


    WHEREFORE, Plaintiffs demands judgment against Defendants Wing, Farris and Does for

 the damages outlined above, attorneys' fees pursuant to 42 U.S.C. §1988 and such other and

 further relief as this Court deems just and proper, and demands a trial by jury of all

 claims. Plaintiffs reserve the right to amend their claim for punitive damages in the future,

 should such a claim become viable.

                                          COUNT XIV
                        42 U.S.C. § 1983 PROCEDURAL DUE PROCESS
                         (Defendants OPD, Orlando, Wing, Farris and Does)

    284.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

    285.        Defendants Orlando and OPD, through their agents and employees, and acting

        under color of state law, consciously engaged in acts that deprived the Plaintiffs of their

        procedural due process rights, in violation of the Fifth and Fourteenth Amendments to the

        United States Constitution, as enforced through 42 U.S.C. §1983.

    286.        The violation of Plaintiffs' inherent right to due process was carried out as part of

        the practice, policy or custom of Defendants OPD and Orlando, which seeks to abrogate

        the procedural protections of its residents.

    287.        Plaintiffs are law abiding, tax paying residents who were falsely accused by

        Defendants OPD, Wing and Farris of child molestation and creating child pornography.

        Plaintiffs had a fundamental right and, thus, were entitled to procedural due process

        under the United States Constitution.




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    292.       Defendants, through their agents and employees, and acting under color of state

       law, consciously engaged in acts that deprived the Plaintiffs of their procedural due

       process rights, in violation of the Fifth and Fourteenth Amendments to the United States

       Constitution, as enforced through 42 U.S.C. §1983.

    293.       The violation of Plaintiffsinherent    right to due process was carried out as part of

       the practice, policy or custom of Defendant DCF, which seeks to abrogate the procedural

       protections of its residents.

    294.       Plaintiffs are law abiding, tax paying residents who were falsely accused by

       Defendants OPD, Wing and Farris of child molestation and creating child pornography.

       Plaintiffs had a fundamental right and, thus, was entitled to procedural due process under

       the United States Constitution.

    295.       The failure of the Defendants to provide Plaintiffs with notice of the allegations

       against them and an explanation of any evidence it had to support those allegations, prior

       to removal of Plaintiffs' minor child from their custody, as well as the failure to allow

       Plaintiffs' the opportunity to respond to those allegations and present reasons to prevent

       the removal of Plaintiffs' 18-month-old minor child resulted in a complete deprivation of

       Plaintiffs' due process rights.

    296.       Defendants' actions constitute a violation of Plaintiffs' right to be free of adverse

       actions, undertaken without notice and a meaningful opportunity to be heard.

    297.       As a direct and proximate result of Defendants conduct Plaintiffs were deprived

       of their Fifth and Fourteenth Amendment right to procedural due process, causing

       Plaintiffs to suffer injuries and damages, both professionally and personally.




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      WHEREFORE, Plaintiffs demands judgment against Defendants and requests the following:

 a   declaratory judgment that the Defendants DCF, Anderson, Saunders, Thomas, Dion, Teany and

 Does conduct violated the Constitutional rights of the Plaintiffs, as enforced through 42 U.S.C.

 §1983, an award of compensatory damages for deprivation of their rights, personal indignity,

 dishonor, humiliation, damage to their professional and personal reputation, mental anguish and

 distress, an award of lost wages and other lost benefits, an award of prejudgment interest, an

 award of attorneysfees and costs and such additional or alternative relief as the Court may deem

 just and proper. Plaintiffs reserve the right to amend their claim for punitive damages in the

 future, should such a claim become viable.

                                                                                                                COUNT XVI
                                                 42 U.S.C. § 1983 FALSE IMPRISONMENT
                  (Defendants Orlando, OPD, Chief, Sheriff, Wing, Farris and

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      298.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

          fully set forth herein.

      299.        Defendant OPD, through its agents and employees, and acting under color of state

          law, unlawfully seized Plaintiffs by causing Plaintiffs to be detained for several hours on

          August 6, 2020, by countless officers and SWAT team members acting within the scope

          of their employment with Defendant OPD, even though they possessed, false and


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       knowingly fraudulent, documentation purporting their justification or authority for said

       detention and deprived Plaintiffs of their rights under the Fourth Amendment of

       the United States Constitution in violation of 42 U.S.C. §1983.

    300.           On August 6, 2020, Plaintiffs were detained by the Defendant Orlando, by and

       through Defendant OPD based on representations made by Defendant Wing in her sworn

       probable cause affidavit.

    301.           At the time Plaintiffs were detained and their persons and property searched and

       seized by Defendants OPD and Sheriff, Defendant Wing alleged, under oath, in her

       affidavit that:


              a.   Images/videos existed and were viewed by law enforcement depicting
                   pornography, of a real child (not one computer generated) and that the child was
                   under the age of 18; and

              b.   That the child depicted in the pornographic images/videos resided at Plaintiffs'
                   residence and that the images/videos were created by the minor Plaintiffsparents
                   with a 99.999% certainty.

    302.           In fact, NONE of these allegation were true. There were       never   any images/videos

       that law enforcement ever viewed or inspected showing child pornography because none

       ever    existed. The evidence attached to Defendant Wing's sworn affidavit was just a

       single chat conversation, devoid of any images/videos. While the conversation was

       disturbing it was not illegal and thusly could not be the basis to obtain a search warrant.

       These misrepresentations made were material and were knowingly and intentionally


       falsely made by Defendant Wing in order to perpetuate the search warrant and detention

       of Plaintiffs. Subsequently NO charges were        ever    filed against Plaintiffs regarding this

       alleged, unconscionable, crime.


    303.           Title 42 U.S.C. §1983 states, inter alia:



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       "Every person, who, under color of any statute, ordinance, regulation, custom, or usage,
       of any State or Territory or the District of Columbia, subjects, or causes to be subjected,
       any citizen of the United States or other person within the jurisdiction thereof to the
       deprivation of any rights, privileges or immunities secured by the Constitution and laws,
       shall be liable to the party injured in an action at law, suit in equity, or other proper
       proceeding for redress."

    304.        Plaintiffs had a Fourth Amendment right to be free from unreasonable and illegal

       seizures and could not have been searched, seized or detained absent probable cause that


       they had committed or were committing a crime.

    305.        Under the totality of the circumstances, there was no probable cause, or even any

       arguable probable cause, to believe Plaintiffs had committed or was committing a crime.

    306.        Because the representations made in Defendant Wing's probable cause affidavit

       were   knowingly false, the search warrant, seizure and detention of Plaintiffs were not

       based on a valid process of the Court.


    307.        The actions of Defendant Wing were taken in bad faith or with malicious purpose

       or with wanton, reckless and willful   disregard for both Plaintiffs rights and for the truth.

       Moreover, Defendant Wing had specific, subjective knowledge that Plaintiffs had not

       engaged in the conduct alleged in her affidavit. Despite this knowledge, Defendant Wing

       did purposely cause Plaintiffs search, seizure and detainment to be effectuated.


    308.        Freedom from unreasonable search and seizure is and was known by Defendant

       Wing, and the other officers present at the time of these actions, to be a clearly

       established right provided by the Fourth and Fourteenth Amendment to the United States

       Constitution. By the foregoing actions, Defendant Wing knowingly violated Plaintiffs'

       clearly established right to be free from unreasonable search and seizure of their property,

       person and from deprivation of liberty without due process of law.




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    309.           Any reasonable officer in the place of Defendant Wing would have known the

       foregoing conduct, perpetrating search, seizure and detainment based on a false probable

       cause      affidavit violated Plaintiffsclearly established rights.


    310.           Defendant Wing, acting under color of state law, subjected Plaintiffs, U.S.

       citizens, to deprivation of their constitutional rights, and thereby subjected herself to a

       damage recovery under 42 U.S.C. §1983.

    311.           Defendants' actions, including holding Plaintiffs Christian and Laurie against

       their will in the front of their home like arrestees; seizing persons and property including

       their electronics, cellular phones, computer, and vehicle were done for the purpose of

       confining Plaintiffs and constitute an unlawful seizure.

    312.           Defendants' actions, including removing Plaintiffs' 18-month-old minor child

       against her will and away from her doting parents like an arrestee; were done for the

       purpose of confining the minor child Plaintiff and therefore constitutes an unlawful

       seizure.


    313.           Plaintiffs were, at all times pertinent, aware of this unlawful seizure and

       detainment. Defendants lacked a truthful and accurate search warrant when it committed

       this unlawful seizure of Plaintiffs. Further, Defendants were         aware   that it committed this

       unlawful act.

    314.           As a direct and proximate result of the false imprisonment endured by Plaintiffs

       for numerous       hours at the hands of Defendants, Plaintiffs were deprived of their Fourth

       Amendment right to be free from an unlawful seizure, causing Plaintiffs to suffer injuries

       and damages, both professionally and personally.




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    WHEREFORE, Plaintiffs demand judgment against Defendants and requests the following: a

 declaratory judgment that the Defendants conduct violated the Constitutional rights of the

 Plaintiffs, as enforced through 42 U.S.C. §1983, an award of compensatory damages for

 deprivation of their rights, personal indignity, dishonor, humiliation, damage to their professional

 and personal reputation, mental anguish and distress, an award of lost wages and other lost

 benefits, an award of prejudgment interest, an award of attorney's fees and costs and such

 additional or alternative relief as the court may deem just and proper. Plaintiffs reserve the right

 to amend their claim for punitive damages in the future, should such a claim become viable.

                                            COUNT XVII
                           42 U.S.C. §1983 Fourth Amendment Rights
                         (Defendants OPD, Orlando, Wing, Farris and Does)

    315.         Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

    316.         Defendants Wing, Orlando, Farris, and Does, officers and/or agents of Defendants

        Orlando and OPD, did, under color of law, deprive Plaintiffs of their Fourth Amendment

        right to be secure in his home, and to be free from unreasonable search and seizure in

        violation of 42 U.S.C. §1983.


    317.         Defendant Wing violated Plaintiffsrights when she executed a warrant based on

        an   affidavit that was knowingly and intentionally false and/or was executed with reckless

        disregard for the truth, so as to render Defendant Wing and the issuing agency belief in

        probable cause to be unreasonable.


    318.         Upon information and belief, there was no fact check review of the affidavit prior

        to its submission to the Court by Defendant Farris, or any other officer.




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    319.      Defendants Orlando and OPD, by and through its officers, agents, employees, and

       representatives, failed to verify the veracity or accuracy of the information contained in

       Defendant Wing's affidavit.


    320.      The statements made by Defendant Wing in her search warrant affidavit were

       knowingly false and were directly material to causing Plaintiffsseizure, search and

       detainment.


    321.      Defendants Wing, Farris, Does, OPD and Orlando knew or should have known, as

       reasonable, well-trained officers would, that the search warrant was illegal because of the

       false affidavit, despite the judge's signature on the warrant.


    322.      Where an officer knows, or has reason to know, that they have materially misled a

       magistrate on the basis for a finding of probable cause, the shield of qualified immunity is

       lost, and the officer is subject to 42 U.S.C. §1983.


    323.      Further, Defendants Wing, Farris and Does are not entitled to immunity pursuant

       to Section 768.28(9), Fla. Stat., which provides:


           "No officer, employee, or agent of the state or of any of its subdivisions shall be held
           personally liable in tort or named as a party defendant in any action for any injury or
           damage suffered as a result of any act, event, or omission of action in the scope of her
           or his employment or function, unless such officer, employee, or agent acted in bad
           faith or with malicious purpose or in a manner exhibiting wanton and willful
           disregard of human rights, safety, or property... The exclusive remedy for injury or
           damage suffered as a result of an act, event, or omission of an officer, employee, or
           agent of the state or any of its subdivisions or constitutional officers shall be by action
           against the governmental entity, or the head of such entity in her or his official
           capacity, or the constitutional officer of which the officer, employee, or agent is an
           employee, unless such act or omission was committed in bad faith or with malicious
           purpose or in a manner exhibiting wanton and willful disregard of human rights,
           safety, or property."




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    324.         Defendant Wing acted with bad faith, maliciously, wantonly, recklessly, and in a

        manner   exhibiting wanton and willful disregard of persons and property when she filed

        her knowingly false affidavit asserting that law enforcement had obtained and viewed

        images/videos of pornography, depicting a real child, the child was under 18 and that the

        images/videos were created and disseminated by the Plaintiffs. Therefore, overcoming

        Defendant Wing, Farris or any other Defendant's claim for statutory sovereign immunity.


    325.         Defendant Wing's conduct by intentionally falsifying statements in her affidavit

        were   so outrageous in character, and so extreme   in degree, they went beyond all possible

        bounds of decency.


    326.         Defendant Wing's conduct was     so outrageous in character, and so extreme    in

        degree, it is undisputed that any reasonable person would regard it as atrocious and

        utterly intolerable in a civilized community.

    327.         Because Defendants intentionally executed a false search warrant on Plaintiffs at

        their home, the search, seizure and detention of Plaintiffs was clearly unreasonable and a

        violation of PlaintiffsFourth   Amendment rights.


    328.         Plaintiffs suffered emotional and mental pain and suffering and continues to

        suffer from this pain and suffering to this day, including embarrassment, humiliation,

        anxiety, disgrace, injury to their feelings and reputation, loss of enjoyment of life, and all

        of these said injuries are permanent and/or continuing in nature.


    329.         Plaintiffs are further entitled to attorneys' fees pursuant to 42 U.S.C. §1988.


    WHEREFORE, Plaintiffs demands judgment and compensatory damages against

 Defendants, as well as attorneys' fees and costs, costs of litigating this action and hereby


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 demands a jury trial of all issues so triable. Plaintiffs reserve the right to amend their claim for

 punitive damages in the future, should such a claim become viable.

                                                   COUNT XVIII
                                               LOSS OF CONSORTIUM
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    330.            Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

    331.            As a direct and proximate result of the Defendants, specifically Defendant Wing,

        actions through its employees and agents, acting in the course and scope of their duties,

        Plaintiffs have and did suffer the loss of companionship with their minor child during a

        critical part of her childhood including services, consortium, care and comfort of her

        society.

    332.            As a direct and proximate result of the Defendant DCF's, specifically Defendants

        Anderson, Saunders Thomas, Dion, Teany and Does, actions through its employees and

        agents, acting in the course           and scope of their duties, Plaintiffs have and did suffer the

        loss of companionship with their minor child during a critical part of her childhood


        including services, consortium and care and comfort of her society.

    WHEREFORE, for the foregoing reasons, Plaintiffs requests this Court to enter Judgment

 against Defendants, in their official capacity, for all compensable damages, costs of this action,

 and for such other relief as this Court deems just and proper under the circumstances. Plaintiffs




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 reserve       the right to amend their claim for punitive damages in the future, should such a claim

 become viable.

                                                 COUNT MX
                                                DEFAMATION
                             (Defendants Wing, OPD, Chief, Sheriff, Orlando and Does)

        333.             Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

            fully set forth herein.

        334.             On August 4, 2020, Defendant Wing, in her sworn affidavit to Ninth Judicial

            Circuit Court Judge Shoemaker published false statements about Plaintiffs in writing

            accusing Plaintiffsof       engaging in child molestation and pornography, despite no

            evidence (images/videos) supporting that no such act was ever committed or occurred.

        335.             Upon information and belief, on August 6, 2020, Defendants Wing, OPD and

            Does made false statements about Plaintiffs' orally to third parties, including neighbors

            and family members of Plaintiffs', informing them that Plaintiffs were child molesters,


            pedophiles and that Plaintiffs had created and disseminated child pornography.25

        336.             The specific statements published by Defendant Wing include, but are not limited

            to the following:


                    a.   Defendant Wing had images/videos she and/or other law enforcement viewed that

                         showed pornography, of a real child, who was under 18, created by Plaintiffs';


                    b.   Upon information and belief, Defendant Wing and Does told other members of

                         the OPD these same false statements about Plaintiffs;




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      Exhibit "F"


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           c.   Upon information and belief, Defendant Wing, OPD and Does told Defendant

                DCF and its employees (including Saunders, Anderson, Thomas, Dion, Teany and

                Does) these same false statements about Plaintiffs engaging in child molestation

                and pornography of their own minor child; and


           d.   Upon information and belief, Defendant Wing, OPD and Does told Plaintiffs'

                neighbors and family members these same false statements about Plaintiffs

                engaging in child molestation and made child pornography.


    337.        The above statements were fabricated, false and malicious and specifically

       pertained to Plaintiffs. Defendant OPD, through its employees and agents, including, but

       not limited to Defendants Wing, Farris and Does, made these statements without

       reasonable care for the truth of their statements.


    338.        The above allegations constitute liable per se and slander per se in that they

       accuse   Plaintiffs of a felonious crime and conduct that they did not perform or engage in

       and caused their reputation in the community to suffer irreparable damage. In addition,

       Plaintiffs were forced to move from their home and lost their good reputations as a

       penalty of Defendant OPD, through its employees and agents, including, but not limited

       to Defendants Wing, Farris and Does, false statements.


    339.        The above statements made by Defendant OPD, through its employees and

       agents, was done in bad faith and was false. Defendant Wing knew the statements were

       false when made. Furthermore, there was no good motive by Defendant OPD, through its

       employees and agents, for the publication of the above allegations considering no such




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        evidence (images/videos) ever existed that supported child pornography was created or

        disseminated by Plaintiffs.


    340.          The above statements had a defamatory effect on Plaintiffsreputation, and

        specifically their reputation as loving parents was irreparably damaged.

    341.          The defamatory statements were published to third parties, including, but not

        limited to the Ninth Circuit Court Judge Shoemaker, Defendants DCF, Anderson,

           Saunders, Thomas, Dion, Teany, Does, Plaintiffs' neighbors and family members.


    342.          The statements were made by Defendant OPD, through its employees and agents,

        with malice, and were false intentional, willful and malicious.


    343.          As a result of the above-described defamation, Defendant OPD's actions, through

        its employees and agents, for which Defendant OPD and Orlando are responsible,

        Plaintiffs' have suffered damages, which include physical inconvenience, physical

        discomfort and pain, physical suffering, loss of time, loss of income, loss of personal

        items, mental suffering, embarrassment, humiliation, disgrace and injury to their feelings

        and reputation the physical and emotional aspects of which are continuing to this day and

        are   likely to continue in the future.

    WHEREFORE, for the foregoing reasons, Plaintiffs respectfully requests this Court enter

 judgment against Defendants for damages and for fees costs in the prosecution of this matter and

 such other and further relief as this Court deems just and proper under the circumstances.

 Plaintiffs reserve the right to amend their claim for punitive damages in the future, should such a

 claim become viable.

                                                  COUNT XX



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                                      SLANDER PER SE
                        (Defendants OPD, Chief, Orlando, Wing and Does)

    344.       Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

       fully set forth herein.

    345.       Defendant OPD, through its agents and employees, and acting under color of state

       law, published to members of the public false statements, in which they accused Plaintiffs

       of engaging in child molestation and producing child pornography. Defendants did so

       with reckless disregard for the truth of these statements and with an unreasonable failure

       to determine whether the statements were true or false.

    346.       Defendant Wing published the defamatory matter with actual malice and with

       wrongful and willful intent to injure Plaintiffs.

    347.       Defendant Wing's accusations and allegations injuriously affected the profession,

       business, and life of Plaintiffs subjecting them to hatred, distrust, ridicule, and disgrace,

       and as such are actionable per se.

    348.       As a direct and proximate result of Defendant Wing's false and malicious actions

       and statements, Plaintiffs have been damaged and defamed and have been held in ridicule

       and disgrace, were caused to suffer immeasurable embarrassment, humiliation, and

       outrage, were forced to endure questions concerning the subject matter of the

       defamations by friends, family, colleagues and complete strangers due to the publicity

       and outrageousness of the defamations, were burdened by worry and concern, were

       caused to lose trust and respect within their community because of the public outreach of

       the defamations, forced Plaintiffs to seek a new residence outside of the community,

       suffered damage to both their reputations and names and suffered mental anguish,

       emotional stress and were otherwise hurt, injured and damaged.



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    349.         Defendants Wing and Does primary purpose in making these statements to other

        third parties was to indulge in ill will, hostility and intent to harm Plaintiffs. Defendants

        knew no such evidence existed to support their claims that Plaintiffs were child molesters

        who created child pornography.

    350.         Notwithstanding Defendants OPD, Chief, Wing, Farris, DCF and Does

        comprehensive and repetitive investigations, the statements published by Defendants

        have been proven to be false. Additionally, the Orange County State Attorney's Office

        refused to bring any criminal charges against Plaintiffs after a thorough investigation

        failed to discover truth to these outlandish allegations and another individual in Indiana

        was   alleged to have been arrested.


    WHEREFORE, the Plaintiffs demand judgment against Defendants and requests the

 following: an award of compensatory damages for personal indignity, dishonor, humiliation,

 damage to their professional and personal reputation, mental anguish and distress, an award of

 lost benefits, an award of prejudgment interest and such additional or alternative relief as the

 Court may deem just and proper. Plaintiffs reserve the right to amend their claim for punitive

 damages in the future, should such a claim become viable.


                                            COUNT XXI
                                           CONVERSION
                                   (Defendants OPD and Orlando)

    351.         Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

    352.         On August 6, 2020, Defendant OPD converted, and continues to convert, various

        items including, but not limited to documents, personal items, including but not limited to




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    357.       The types of takings that can result in an inverse condemnation claim include

       certain physical invasions of property.

    358.       Plaintiffs asserts that Defendants Orlando and OPD took property from their

       residence on August 6, 2020, that has not been returned and which full compensation has

       not been given.

    359.       Additionally, Plaintiffs asserts that in addition to property illegally seized that was

       not returned, Defendants Orlando and OPD physically invaded Plaintiffsproperty


       illegally and seized several items that were not accounted for on the search warrant

       inventory list and were not returned.

    360.       Plaintiffs are a private property owner who hereby brings this claim against

       governmental Defendants Orlando and OPD.

    361.       Plaintiffs assert that no formal exercise of the power of eminent domain has been,

       or ever was, attempted by governmental Defendants Orlando and OPD.


    362.       This taking of Plaintiffs' property by Defendants Orlando and OPD was in

       violation of the Fifth and Fourteenth Amendments to the United States Constitution and

       Article I, Section 9, and Article X, Section 6(A) of the Florida Constitution.

    363.       Plaintiffs' damages have not been shared by the public and are individual and

       specific to Plaintiffs.

    364.       Defendants Orlando and OPD's actions therefore have resulted into a taking of

       Plaintiffs' property and Plaintiffs can no longer have any beneficial use of their property

       which was illegally seized and taken by Defendants.

    365.       Plaintiffs' have not been compensated for the taking of their property.




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    366.        As a result of the aforementioned actions and omissions. Defendants OPD and

        Orlando have taken Plaintiffsproperty and will continue to do so in the future, without

        paying just compensation.

    WHEREFORE, Plaintiffs demands judgment against Defendants for the full value of the

 property taken, compensatory damages, costs, plus any other relief the Court deems just and

 proper. Plaintiffs reserve the right to amend their claim for punitive damages in the future,

 should such a claim become viable.


                                     COUNT XXIII
                      NEGLIGENCE LIABILITY PURSUANT TO 768. 28
                              (Defendants Orlando and OPD)

    367.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

    368.        Defendants owed a special duty of care to Plaintiffs where they, as law

        enforcement officers, detained Plaintiffs and subjected them to danger in their

        detainment. Defendants were directly involved in circumstances which placed Plaintiffs

        within a "zone of risk" by creating or permitting dangers to exist or otherwise subjecting

        them to danger.


    369.        Defendants OPD, Wing, Chief, Sheriff and Does were negligent and breached

        their duty when they wrongfully seized and injured Plaintiffs and failed to act to protect

        Plaintiffs.


    370.        Plaintiffs are in lawful possession of the subject real property which was damaged

        due to the acts or omissions of Defendants.


    371.        As a result of Defendants' negligence, Plaintiffs were severely injured.


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    372.          Defendants OPD and Orlando intentionally or negligently caused the damages to

       Plaintiffsreal     and personal property by failing to ensuring that their officers/employees

       were     following the law.

    373.          Once Defendants undertook the responsibility of illegally raiding and seizing

       items from Plaintiffs' home they assumed the duty to do so with reasonable care.


    374.          Defendants have a duty of care to reasonably maintain Plaintiffs' property as not

       to injure the subject property and failed to do so with any reasonable care.


    375.          The conduct of Defendants created a foreseeable zone of risk of injury to

       Plaintiffs and the subject real and personal property.


    376.          Defendants breached this duty by failing to reasonably monitor and control their

           officers/employees, warn   or failing to inform surrounding property owners   including

       Plaintiffs that their real property was a likelihood of illegal search and seizure.


    377.          It was reasonably foreseeable to Defendants that an illegal search warrant,

           obtained by false pretenses, would cause harm and damage to Plaintiffs' real and personal

       property.


    378.          Defendants intentionally or negligently caused Plaintiffs' home to be search, their

       person be seized and detained and Plaintiffs' property to be seized and failed to take any

           steps to warn Plaintiffs of the imminent search, seizure and taking.


    379.          Plaintiffs' land, real and personal property was damaged despite reasonable notice

       to Defendants that Plaintiffs land was under extensive renovations as Defendant OPD had




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                      been surveilling Plaintiffsproperty prior to the illegal raid, search, seizure and

                      detainment as indicated in Defendant Wing's sworn affidavit.27


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               380.               Plaintiffs' have incurred damages to their land as a result of Defendants'

                      negligence, so much so that Plaintiffs were forced to sell their land as a result of

                      Defendants' negligence.


               381.               Defendants' negligence is the legal cause of the damage to the land and personal

                      property of Plaintiffs.


               382.               Plaintiffs' have suffered damages, and Defendants Orlando and OPD are liable for

                      damages resulting from the negligence of its officers/employees.


               383.               Without Defendants' negligence, as well as the Defendant OPD's failure to warn,

                      the injury suffered by Plaintiffs would not have occurred.




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    384.               Defendants conduct, as described above, effected a waiver of its sovereign

       immunity under the Florida Tort Claims Act and Section 768.28, F.S., in that the failure

       is an operational decision or activity for which Defendants are not immune from suit.


    385.               Further, Defendants duty of care is not barred by the public duty doctrine because

       Defendants were not simply attempting to enforce a law and/or engaged in protection of

       the general public.


    386.               Alternatively, Florida law has abrogated the rule that a government agent cannot

       be held liable unless the duty which was breached by the employee was                                                                                    a      duty owed to

       the injured party as distinguished from a duty owed to the public; the law now is that the

       agent is liable for a wrongful act or omission under circumstances in which agent, if a

       private person, would be liable in accordance with the general laws of this state.


    387.               A special tort duty arose                as numerous         and countless law enforcement officers

       were      directly involved in a situation that placed Plaintiffs in a zone of danger, specifically

       bringing an armed SWAT team to Plaintiffshome and having numerous                                                                                             guns drawn and

       pointed at Plaintiffs' heads.

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    388.        Defendants acted within the scope of their employment but in bad faith, with a

        malicious purpose, or in a manner    exhibiting wanton or willful disregard and are thus

        liable to Plaintiffs.


    389.         Alternatively, Defendants Wing, OPD and Does acted within their scope of

        employment and in bad faith, with a malicious purpose, or in a manner exhibiting wanton

        or willful   disregard and Defendants Orlando and OPD are thusly liable to Plaintiffs for

        the actions of its employees.


    390.        If a Plaintiff has suffered a physical impact from external force, Florida law

        permits recovery for negligent infliction of emotional distress stemming from the incident

        during which the impact occurred.


    391.        Here, Plaintiffs have suffered severe mental anguish, emotional distress, fright,

        shock, humiliation, fear of police officers and more as a result of Defendants OPD, Wing,

        Chief, Sheriff and Does actions. Plaintiffs suffered physical impact and therefore is

        entitled to recovery for their emotional distress.


    392.        As a direct and proximate result of Defendantsnegligent conduct, for which

        Defendant Orlando is liable, Plaintiffs have suffered and will suffer physical pain and

        suffering, bodily injuries, loss of bodily function, mental anguish, severe emotional

        distress, fright and shock, denial of social pleasures and enjoyment, humiliation or

        mortification, medical bills and expenses for the past, present and future and other

        damages properly recoverable under law.


    WHEREFORE, Plaintiffs demands judgement against Defendants for all damages allowed

 by law including compensatory damages and costs, and for such other relief this Court deems


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 appropriate and just. Plaintiffs reserve the right to amend their claim for punitive damages in the

 future, should such a claim become viable.


                                          COUNT XXIV
                                          NEGLIGENCE
                                         (Defendants DCF)

    393.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

    394.        This count sets forth a claim against Defendant DCF for common      law negligence.

        Defendant DCF knew or should have known that Plaintiffs were within a zone of risk

        related to contact with its investigators, agents, or employees.


    395.        Defendant DCF owed a duty of care to Plaintiffs due to the nature of the

        relationship between Plaintiffs and Defendant DCF and/or Defendant DCF had a special

        relationship with Plaintiffs and, consequently, a duty of care was attendant thereto.

        Alternatively, legal duties devolved upon Defendant DCF because Plaintiffs were in the

        foreseeable zone of risk to be harmed by the actions thereof.


    396.        Defendant DCF further breached its duty to ensure that proper decisions are made

        regarding investigations of child abuse, molestation and pornography and/or to properly

        investigate the circumstances of alleged criminal and/or tortious activity including child

        molestation and pornography.


    397.        The actions of Defendant DCF complained of herein were "operational"

        functions, i.e., functions that were not necessary to or inherent in policymaking or

        planning, that merely reflected secondary decisions as to how policies or plans were to be

        implemented.


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    398.        As a direct and proximate cause of Defendant DCF's actions, Plaintiffs have been

        damaged, which damages include mental anguish, pain and suffering, bodily injury, loss

        of capacity for the enjoyment of life, embarrassment, humiliation, loss of reputation, lost

        opportunities, lost wages, and the loss of other emoluments. These damages have

        occurred at present, in the past and will most likely occur in the future. Defendant is

        jointly and severally liable to Plaintiffs.

    WHEREFORE, Plaintiffs demands judgement against Defendant for all damages allowed by

 law including compensatory damages and costs, and for such other relief this Court deems

 appropriate and just. Plaintiffs reserve the right to amend their claim for punitive damages in the

 future, should such a claim become viable.


                                     COUNT XXV
                          NEGLIGENCE-OUTRAGEOUS                            CONDUCT
                                    (Defendant Wing)


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    399.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

    400.        This count is for a cause of action against Defendant Wing individually and in her

        official capacity as an officer with Defendants Orlando and OPD.




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    401.         Defendant Wing failed to use due care when she knowingly and intentionally

        made false statements of fact in her sworn affidavit on August 4, 2020, to Ninth Judicial

        Circuit Court Judge Shoemaker.


    402.         Plaintiffsinjuries are a direct and proximate result of the act of Defendant Wing
        which occurred in the scope of her employment or function, and Defendant's actions

        were   in bad faith and/or with malicious purpose or in a manner    exhibiting wanton and

        willful disregard of human rights, safety, or property.


    WHEREFORE, Plaintiffs demand judgement for damages against Defendant Wing, and

 together with the costs of this civil action, and demands trial by jury on all issues so triable, and

 such other relief as this Court deem just and appropriate. Plaintiffs reserve    the right to amend

 their claim for punitive damages in the future, should such a claim become viable.

                                         COUNT XXVI
                  NEGLIGENT      HIRING, RETENTION AND SUPERVISION
                           (Defendants Orlando, OPD, Chief and Sheriff)

    403.         Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

    404.         Defendants, through its agents and employees, and acting under color of state law,

        were   negligent in hiring, retaining, and supervising Defendants Wing, Farris and Does

        who were unfit to utilize, maintain, and monitor programs and technology installed by

        Defendant OPD and Orlando when they formed the ICAC task force in 1998.


    405.         The actions of Defendant Orlando outlined herein do not constitute any

        policymaking functions of Defendant Orlando.




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    406.       Defendant Orlando employed police officers that were involved in this case,

       through their agency Defendant OPD.


    407.       Defendant Orlando is liable for the acts of their agents and employees including

       Defendant Chief, Wing Farris, Sheriff, Does and other officers, and/or servants.


    408.       That at all times relevant hereto, Defendants Wing, Farris and Does were

       employed by Defendant Orlando and/or Sheriff, located in Orange County, Florida and at

       all times material hereto, unless otherwise specified, Defendants Wing, Farris and Does

       acted within the course and scope of their employment as a police officers with

       Defendant Orlando.


    409.       Defendant Orlando delegated statutory and Constitutional duties to Defendant

       OPD and Sheriff through their agents, employees, and servants. In delegating these

       duties, Defendant Orlando knew that its employees would be interacting with the public

       of which Plaintiffs are a member. Defendant Orlando had a duty to supervise their

       employeesuse of this delegated authority as it pertains to the public, and more

       specifically, the Plaintiffs.


    410.       Defendant Orlando had a duty to supervise the conduct of its employees

       surrounding the preparations and investigations made by his employees. Defendant

       Orlando, OPD and Sheriff had a duty to insure a reasonable preparation and investigation

       into the facts and circumstances surrounding the execution of a search warrant, including

       entry into a home where civilians, such as Plaintiffs, were present.


    411.       Defendant Chief and Sheriff had actual or apparent final authority on behalf of

       Defendant Orlando as to all personnel matters, including the hiring, firing, and



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            supervision of employees. As such the Defendants had a duty to use reasonable care to

            ensure    that all employees were fit for their positions and able to perform the job duties

            that they were hired to do, so as to prevent their employees from creating harm to

            members of the public or to other employees of Defendant Orlando.


        412.          At some point during Defendant Wing's investigation of Plaintiffs, the

            investigation was supported by Defendant's supervisor Defendant Farris, who also signed

            Defendant Wing's perjurious and false sworn affidavit for search warrant.28

        413.          The allegations made against Plaintiffs, as described herein, came directly from

            Defendant Wing.

        414.          At the time Defendant Wing was hired by Defendant OPD, in the exercise of

            reasonable care, Defendant OPD should have known that Defendant Wing had falsified

            her statements in her sworn affidavit as it was obvious on the face of the affidavit that no

            pornography by any resident within the jurisdiction of Defendant OPD or Orlando had

            occurred.

        415.          During the course of Defendant Wing's employment, Defendants Orlando, OPD,

            Chief and Farris knew or, in the exercise of reasonable care should have known that

            Defendant Wing had provided false statements in her sworn affidavit for search warrant

            to the Ninth Judicial Circuit Court. Defendants OPD, Chief and Faffis in failing to


            properly supervise Defendant Wing left her in the position to cause further harm to

            Plaintiffs.

        416.          Defendants OPD, Chief and Farris placed Defendant Wing in a position where

            she was    in charge of investigating crimes of sexually related or internet-based and had the


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       authority to obtain warrants related to such crimes. Defendants failed to adequately

       supervise Defendant Wing while she was in this position and failed to ensure that

       Defendant Wing was equipped to meet her job duties and accurately supervise her.

    417.      Defendants Orlando, OPD, Chief, and Farris knew or, in the exercise of

       reasonable care should have known that Defendant Wing was unfit to provide testimony


       accurately and honestly in her affidavit and failed to properly supervise the contents of

       her affidavit and technology used to corroborate her statements in her affidavit.

    418.      Defendants Farris, Chief and OPD were      aware   that they were in superior positions

       and failed to take the necessary steps to prevent harm from the unfitness of their

       employee, Defendant Wing.

    419.      Defendants Chief and OPD negligently hired, retained and supervised Defendant

       Wing and Farris, who were unfit to accurately implement and maintain proper measures

       adequately to ensure that such detrimental errors did not occurred.

    420.      As the direct and proximate cause of Defendants Orlando and OPD's negligent

       hiring, retention and supervision, Plaintiffs have suffered injuries and damages, both

       professionally and personally.


    421.      Defendants Orlando and OPD, through its agents and employees, and acting

       under color of state law, were negligent in supervising its employees by instructing its

       employees, specifically Defendant Wing and Farris, to commit criminal activity by

       falsifying sworn affidavits to the Court.

    422.      Defendants Orlando and OPD knew, or in the exercise of reasonable care, should

       have known, that their officers, acting within the course and scope of their employment,




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           committed the criminal acts of perjury, falsifying statements in a sworn affidavit, false

           detainment and imprisonment.


       423.        Defendants Orlando and OPD failed to use reasonable means and due care when

           supervising its employees, and as a direct result, an improper and unnecessary search,

           seizure and detainment was executed and due care was not exercised in providing for the


           safety of Plaintiffs herein.


       424.        Defendants OPD and Orlando, had a duty to properly train its officers to establish

           and enforce reasonable and appropriate procedures for the interaction between officers

           and persons they come into contact with in obtaining legal search warrants and/or during

           the execution of a search warrant for sexual based crimes.


       425.        Additionally, Defendants Orlando and OPD, had a duty to properly train its

           officers on the proper use of force.


       426.        The conduct of the Defendants Orlando and OPD fell grossly below the standard

           of care required with respect to maintaining their police force, and such conduct

           constitutes negligence.


       WHEREFORE, Plaintiffs demand judgment against Defendants and requests the following:

  an   award of compensatory damages for personal indignity, dishonor, humiliation, damage to her

  professional and personal reputation, mental anguish and distress, an award of lost benefits, an

  award of prejudgment interest and such additional or alternative relief as the Court may deem

 just and proper. Plaintiffs reserve the right to amend their claim for punitive damages in the

  future, should such a claim become viable.


                                              COUNT XXVII


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                  NEGLIGENT HIRING RETENTION AND SUPERVISION
                                  (Defendant DCF)

     427.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

     428.        Defendant DCF, through its agents and employees, and acting under color of state

        law, were negligent in hiring, retaining, and supervising Defendants Anderson, Saunders,

        Thomas, Dion, Teany and Does fit to utilize, maintain, and monitor programs and

        technology installed by Defendant DCF.

     429.        Defendant DCF had actual or apparent final authority on behalf of the State of

        Florida as to all personnel matters, including the hiring, firing, and supervision of

        employees. As such the Defendant had a duty to use reasonable care to ensure that all

        employees of DCF are fit for their positions and able to perform the job duties that they

        were   hired to do, so as to prevent his employees from creating harm to members of the

        public or to other employees within DCF.

     430.        Defendant DCF's employees/agents were called by Defendant OPD and/or Sheriff

        on August 6, 2020 in relation to a search warrant   being executed on Plaintiffsresidence.

     431.        The allegations made against Plaintiffs, as described herein, came directly from

        Defendant Wing's sworn     affidavit for search warrant.

     432.        Defendant DCF, in the exercise of reasonable care, should have known that

        Defendant Wing had falsified her statements in her sworn affidavit as it was known on

        the face of the affidavit there was never any evidence (images/videos) depicting child

        molestation or pornography by any resident within the jurisdiction of Defendant DCF.

     433.        During the course of its investigation, Defendant DCF knew or, in the exercise of

        reasonable care should have known, that Defendant Wing had provided false statements



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           in her sworn affidavit for search warrant to the Ninth Judicial Circuit Court. However,

           Defendant DCF and its agents/employees failed to do their own independent

           investigation and blindly believed the statements advanced by Defendants causing harm

           to Plaintiffs.

       434.        Defendant DCF placed Defendants Anderson, Saunders, Thomas, Dion, Teany

           and Does in positions where they were in charge of investigating crimes of a sexual

           nature against children. Defendant DCF failed to adequately supervise Defendants while


           they were in their position and failed to ensure that Defendants were equipped to meet

           their job duties.

       435.        Defendant DCF knew or, in the exercise of reasonable care should have known,

           that Defendants Anderson, Saunders, Thomas, Dion, Teany and Does were unfit to

           investigate the claims advance and independently and failed to properly supervise their

           agents/employees during their involvement with Plaintiffsmatter.

       436.        Defendant DCF was    aware   that it was in superior positions and failed to take the

           necessary steps to prevent harm from the unfitness of their employees.

       437.        Defendant DCF negligently hired, retained and supervised Defendants Anderson,

           Saunders, Thomas, Dion, Teany and Does who were unfit to accurately implement and

           maintain proper measures   adequate to ensure that such detrimental errors never occurr.

       438.        As the direct and proximate cause of Defendant DCF's negligent hiring, retention

           and supervision, Plaintiffs have suffered injuries and damages, both professionally and


           personally.


       WHEREFORE, Plaintiffs demand judgment against Defendant and requests the following:

  an   award of compensatory damages for personal indignity, dishonor, humiliation, damage to



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         constituted extreme and outrageous conduct that would shock the conscience of a

         reasonable person and goes beyond all bounds of decency. Defendant's conduct was the


         proximate cause of Plaintiffsemotional distress and Plaintiffs' emotional distress was

         severe.   Defendant Wing's conduct constitutes the actionable tort of negligent infliction of

         emotional distress.

     445.          Defendant Wing negligently and/or recklessly caused Plaintiffs' emotional

         distress by making false statements to the Ninth Judicial Circuit Court and by using her


         personal relationship with other officers and Defendant DCF to cause Plaintiffs to be

         unjustifiably subjected to search, seizure, detainment, prosecution, and removal of their

          18-month-old child. These actions by Defendant Wing were made in bad faith and with a

         malicious purpose and with a willful disregard for Plaintiffs' rights.

     446.          As a direct and proximate result of the above unlawful acts and omissions,

         Plaintiffs were injured and sustained economic damages, including lost prestige, lost

         potential employment and good standing in the community, they have lost the capacity

         for the enjoyment of life, sustained severe emotional pain, anguish, humiliation, insult,

         indignity, loss of self-esteem, inconvenience and hurt because of Defendant Wing's

         actions and are therefore entitled to compensatory damages. Plaintiffs' damages are

         continuous they have occurred in the past, are occurring in the present, and will continue

         to occur in the future.


     WHEREFORE, Plaintiffs demand judgment against Defendant Wing and requests the

  following: an award of compensatory damages for personal indignity, dishonor, humiliation,

  damage to their professional and personal reputation, mental anguish and distress, an award of

  lost benefits, an award of prejudgment interest and such additional or alternative relief as the



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  Court may deem just and proper. Plaintiffs reserve the right to amend their claim for punitive

  damages in the future, should such a claim become viable.


                                          COUNT XXIX
                    NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                   (Defendants Anderson, Saunders, Thomas, Dion, Teany and Does)

     447.          Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

         fully set forth herein.

     448.          This count sets forth a claim against Defendants Anderson, Saunders, Thomas,

         Dion, Teany and Does for negligent infliction of emotional distress. For the purpose of

         this claim, Defendants were acting outside the course and scope of their employment with

         Defendant DCF. This claim is pled in the alternative.

     449.          Defendants had a duty to act in a reasonable and prudent manner.

     450.          Defendants breached their duties by behaving in an unreasonable manner,

         including targeting Plaintiffs with a predetermined goal in mind and an unwillingness to

         properly investigate the circumstances surrounding serious allegations of child

         molestation and pornography. Defendantsactions were extreme and outrageous in nature

         and not tolerable in a civilized society.

     451.          Upon information and belief, Defendants behaved in an unreasonable manner

         because they are unfit to property and independently investigate claims on their own

         accord.

     452.          Defendants conduct set forth herein, included several instances of misstatements

         of facts and mistreatment of Plaintiffs which aided in the removal of Plaintiffs' minor

         child from their custody and further alienation of Plaintiffs from their minor child for a

         prolonged period of time. This conduct by Defendants constituted, extreme and



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           outrageous conduct that would shock the conscience of a reasonable person and goes

           beyond all bounds of decency. Defendants conduct was the proximate cause of Plaintiffs'

           emotional distress and Plaintiffsemotional     distress was severe. Defendants conduct

           constitutes the actionable tort of negligent infliction of emotional distress.

       453.          Defendants negligently and/or recklessly caused Plaintiffs' emotional distress by

           using their personal relationship with the Ninth Judicial Circuit Court by making false

           statements that were not supported by any investigation or independent corroboration


           causing Plaintiffs to be unjustifiably subjected to proceedings to regain custody of their

           18-month-old child and further subjected them to intrusive supervision by Defendant

           DCF's agents and employees. These actions by Defendants were made in bad faith and

           with a malicious purpose and with a willful disregard for Plaintiffs' rights.

       454.          As a direct and proximate result of the above unlawful acts and omissions,

           Plaintiffs were injured and sustained economic damages, including lost prestige, lost

           potential employment and good standing in the community, they have lost the capacity

           for the enjoyment of life, sustained severe emotional pain, anguish, humiliation, insult,

           indignity, loss of self-esteem, inconvenience and hurt, because of Defendants actions, and

           are   therefore entitled to compensatory damages. Plaintiffs' damages are continuous they

           have occurred in the past, are occurring in the present, and will continue to occur in the

           future.


       WHEREFORE, Plaintiffs demand judgment against Defendants and requests the following:

  an   award of compensatory damages for personal indignity, dishonor, humiliation, damage to

  their professional and personal reputation, mental anguish and distress, an award of lost benefits,




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  an   award of prejudgment interest and such additional or alternative relief as the Court may deem

 just and proper.

                                             COUNT XXX
                    INTENTIONAL       INFLICTION OF EMOTIONAL               DISTRESS
                                            (All Defendants)

       455.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

           fully set forth herein.

       456.        Defendants, through their agents and employees, and acting under color of state

           law, intentionally and deliberately inflicted emotional distress on Plaintiffs by interfering

           with their civil rights, by searching, seizing, detaining them and removing their 18-

           month-old child from their custody all on the basis of false allegations. Further,

           Defendants defamed and publicly humiliated Plaintiffs and by maliciously prosecuted

           them. Defendants knew or should have known that emotional distress was the likely

           result of their conduct.


       457.        Defendants actions, included falsely accusing Plaintiffs of molesting and creating

           child pornography, unlawfully entering Plaintiffshome and illegally seizing them,

           detaining Plaintiffs in the front of their home surrounded by countless law enforcement

           officers, seizing Plaintiffs property unlawfully, denying Plaintiffs access to any

           communication with anyone, including their legal counsel, each other and their minor

           child for the entirety of the unlawful entry, search, seizure and detainment of Plaintiffs

           and informed Plaintiffs' neighbors that Plaintiffs' were child molesters who produced

           child pornography constitutes conduct which is outrageous, beyond all bounds of

           decency, and utterly intolerable in a civilized community.




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       458.        The emotional distress sustained by Plaintiffs was severe, still continues to be and

           has a high probability of always being emotionally distressing. Defendants illegal and


           tortious actions are the direct and proximate cause of Plaintiffs emotional distress. The

           conduct of Defendants in causing Plaintiffsemotional        distress was intentional and

           outrageous.


       WHEREFORE, Plaintiffs demand judgment against Defendants and requests the following:

  an   award of compensatory damages for personal indignity, dishonor, humiliation, damage to

  their professional and personal reputation, mental anguish and distress, an award of lost benefits,

  an   award of prejudgment interest, attorneys' fees and such additional or alternative relief as the

  Court may deem just and proper. Plaintiffs reserve the right to amend their claim for punitive

  damages in the future, should such a claim become viable.

                                                COUNT XXXI
                                          VICARIOUS LIABILITY
                                     (Defendants Orlando, Sheriff and OPD)

       459.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

           fully set forth herein.

       460.        Defendants Orlando, Sheriff and OPD through its employees, staff, borrowed

           servants, and agents providing law enforcement services owed its residents, including

           Plaintiffs, a duty of care.

       461.        Defendants Wing, Farris and Does were      an   agent, borrowed servants, or

           employees of Defendant OPD, Sheriff and Orlando at the time of these events.

           Specifically, Defendant Wing was a detective in the Special Victims Unit of the OPD and

           Defendant Farris was her supervisor.




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     462.        At all times material, Defendants OPD, Sheriff and Orlando exercised control

        over   Defendants Wing, Farris and Does by enacting bylaws, rules and regulations, and

        policies and procedures that governed the enforcement of laws among citizens of the City

        of Orlando.

     463.        Defendants Orlando, Sheriff and OPD provided Defendants Wing, Farris and

        Does with badges and authority that they were law enforcement officers sworn to uphold

        the laws of the State of Florida and United States Constitution. The Ninth Judicial Circuit

        Court acted in reliance of Defendants Orlando and OPD's representation that Defendants

        Wing and Farris were officers who knew and would uphold the laws and were under the

        ultimate direction, supervision, and control of Defendants Orlando and OPD.

     464.        Defendants Orlando, Sheriff and OPD's agents, employees, and borrowed agents,

        breached their duty by failing to provide law enforcement to Plaintiffs in a competent and


        non-negligent manner and instead provided negligent treatment to Plaintiffs as recited

        herein and throughout this complaint.

     465.        As a direct and proximate result of the foregoing actions, inactions, errors, and

        omissions by Defendants Orlando, Sheriff and OPD, Plaintiffs suffered severe injuries

        including the loss of their minor child from their custody, illegal detainment, search and

        seizure of their person and property.

     466.         As a direct and proximate result of the foregoing negligence, Plaintiffs pursuant

        to section 768.28, Fla. Stat. are, therefore, entitled to damages pursuant to section 768.21,

        Fla. Stat., including but not limited to loss of their child's support and services, loss of

        their child's companionship during the time their child was illegally removed from their

        custody and protection and for mental pain and suffering from the date of injury, future




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         care   and medical expenses. Plaintiffs suffered and will continue to suffer loss in the past

         and into the future.

     WHEREFORE, Plaintiffs demand judgment for damages against Defendants together with

  prejudgment interest on expenses accrued by the Plaintiffs, costs, and such other and further

  relief as this Court may deem proper. Plaintiffs reserve the right to amend their claim for

  punitive damages in the future, should such a claim become viable.

                                           COUNT XXXII
                                       VICARIOUS LIABILITY
                                            (Defendant DCF)

     467.         Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

         fully set forth herein.

     468.         Defendant DCF through its employees, staff, borrowed servants, and agents

         providing services and aid owed its residents, including Plaintiffs', a duty of care.

     469.         Defendants Anderson, Saunders, Thomas, Dion, Teany and Does were          an   agent,

         borrowed servants, or employees of Defendant DCF at the time of these events.

         Defendant Anderson was a Child Protective investigator, Defendants Saunders, Thomas,

         Dion and Does were field investigators and Defendant Teany was general legal counsel

         of DCF.

     470.         At all times material, Defendant DCF exercised control over Defendants

         Anderson, Saunders, Thomas, Dion, Teany and Does by enacting Bylaws, Rules and

         Regulations, and Policies and Procedures that governed the Department among citizens

         of the City of Orlando.

     471.         Defendant DCF provided Defendants with authority that they were agents of the

         Department and had authority to act on behalf of the Department including removing




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         minor children from the care and custody of parents within their jurisdiction. The Ninth

         Judicial Circuit Court acted in reliance of Defendant DCF's representation that

         Defendants Anderson, Saunders, Thomas, Dion, Teany and Does were employees who

         knew and would uphold the laws and were under the ultimate direction, supervision, and

         control of Defendant DCF.

     472.         Defendant DCF's agents, employees, and borrowed agents breached their duty by

         failing to conduct any independent and proper investigation into claims of child

         molestation or pornography or any supporting evidence to justify removal of an 18-

         month-old child from their parentscustody and control, in a competent and non-

         negligent manner and instead provided negligent treatment to Plaintiffs by the negligence

         recited herein and throughout this complaint.

     473.         As a direct and proximate result of the foregoing actions, inactions, errors, and

         omissions by Defendant DCF, Plaintiffs suffered severe injuries including the loss of

         their minor child from their custody.

     474.         As a direct and proximate result of the foregoing negligence, Plaintiffs pursuant to

         section 768.28, Fla. Stat. are, therefore, entitled to damages pursuant to section 768.21,

         Fla. Stat., including but not limited to loss of their child's support and services, loss of

         their child's companionship during the time their child was illegally removed from their

         custody and protection and for mental pain and suffering from the date of injury, future

         care   and medical expenses. Plaintiffs suffered and will continue to suffer loss in the past

         and into the future.

     WHEREFORE, Plaintiffs demand judgment for damages against Defendant DCF, together

  with prejudgment interest on expenses accrued by the Plaintiffs costs and such other and further




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  relief as this Court may deem proper. Plaintiffs reserve the right to amend their claim for

  punitive damages in the future, should such a claim become viable.

                                            COUNT XXXIII
                                    GOVERNMENTAL INTRUSION
                                   (Defendants Orlando, OPD and DCF)

     475.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

         fully set forth herein.

     476.        Defendants Orlando, OPD and DCF, through its agents and employees, and acting

         under color of state law, intentionally and deliberately intruded into Plaintiffs private

         activities and decisions. The acts, practices, and procedures of Defendants constituted

         state action.

     477.        Under Article I, § 23 of the Florida Constitution, all Floridians are guaranteed the

         right to be left alone from governmental intrusion.

     478.        Defendants, by way of officers and employees acting within the scope and course

         of their employment, seriously invaded Plaintiffs fundamental right to privacy by

         unlawfully entering Plaintiffs private home, unlawfully detaining Plaintiffs, unlawfully

         searching Plaintiffsperson and personal property, unlawfully seizing Plaintiffs' person

         and personal property and failing to account for items seized during the unlawful seizure

         and unlawfully removing Plaintiffs' minor 18-month-old child from the Plaintiffs'


         custody. These actions subjected Plaintiffs to an unlawful seizure, search, detainment and

         denial of custodial rights.

     479.        Defendants seriously invaded Plaintiffs' fundamental right to privacy by releasing

         personal information to Plaintiffs' neighbors and family members, resulting in public

         scrutiny of Plaintiffs' private life.




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       480.             Defendants seriously invaded Plaintiffsfundamental right to privacy by

           removing personal property from Plaintiffs' home and removing their 18-month-old

           minor child from their custody and forcing the child to undergo unnecessary medical

           exams       including stripped naked, photographed and examined without a parent or

           guardian present and against the will and consent of the Plaintiffs' and the minor child.

       481.             Without any compelling reason to do so, as the face of the affidavit proved no

           crime occurred or was committed, Defendants intruded into aspects of Plaintiffs' lives in

           which they have a legitimate expectation of privacy.

       482.             As the direct and proximate cause of Defendants' intrusion, Plaintiffs have

           suffered injuries and damages, both professionally and personally.


       WHEREFORE, Plaintiffs demand judgment against Defendants and requests the following:

  an   award of compensatory damages for personal indignity, dishonor, humiliation, damage to her

  professional and personal reputation, mental anguish and distress, attorneys' fees, an award of

  lost benefits, an award of prejudgment interest and such additional or alternative relief as the

  Court may deem just and proper. Plaintiffs reserve the right to amend their claim for punitive

  damages in the future, should such a claim become viable.


                                                                COUNT XXXIV
                                                                   TRESPASS
                                                       (Defendants OPD, Orlando and DCF)
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     483.       Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

        fully set forth herein.

     484.       Plaintiffs are in lawful possession of the subject real and personal property which

        was   damaged due to the acts or omissions of Defendants regarding the illegal search,

        seizure, detainment and removal of Plaintiffsminor     child from their home.

     485.       Defendant's failure to properly supervise and train their employees caused

        damage to the Plaintiffs' property.

     486.       Defendants intentionally or negligently caused the illegal raid, search, seizure,

        detainment and removal of Plaintiffs' 18-month-old minor child.

     487.       Defendants had reasonable notice of an imminent harm to Plaintiffs when they

        filed a falsified warrant.

     488.       Plaintiffs did not license or authorize Defendants to enter their land, remove

        property from their land or remove    their minor child from their custody.




     489.       By negligently causing damage to personal and real property by failing to provide

        accurate and truthful information to the Ninth Judicial Circuit Court, Defendants


        trespassed and encroached upon Plaintiffs' lands and wrongfully interfered with and

        disturbed the rightful possession, use, and enjoyment of the subject property.




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     490.        Plaintiffs are entitled to damages for Defendantstrespass and their negligent and

         unlawful encroachment upon Plaintiffs' land, and for Defendants' wrongful interference

         with Plaintiffs' right to use and enjoy these lands.

     491.        Plaintiffs have suffered damages, and Defendants Orlando, OPD and DCF are

         liable for damages resulting from their negligence.

     492.        Defendants undertook and assumed a duty to Plaintiffs to exercise reasonable

         care.


     493.        Defendants' conduct effected a waiver of its sovereign immunity under the

         Florida Tort Claims Act and Section 768.28, F.S., in that their actions were   an



         operational decision or activity for which Defendants are not immune from suit.

     494.        Additionally, Plaintiffs have suffered damages and will continue to suffer future

         damages due to the Defendants actions.

     WHEREFORE, Plaintiffs demand judgment for damages against Defendants Orlando, OPD,

  and DCF together with prejudgment interest on expenses accrued by the Plaintiffs, costs, and

  such other and further relief as this Court may deem proper. Plaintiffs reserve the right to amend

  their claim for punitive damages in the future, should such a claim become viable.

                                          COUNT XXXV
                                      INVASION OF PRIVACY
                                            (All Defendants)

     495.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

         fully set forth herein.

     496.        Defendants, through their agents and employees, and acting under color of state

         law, intentionally and deliberately invaded Plaintiffs privacy by publicizing private and

         false salacious facts about Plaintiffs lives.




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       497.        Defendants published to individuals of Plaintiffsfamily members and neighbors'

           private facts of Plaintiffs lives, falsely, including but not limited to, allegations of

           Plaintiffs being child molesters and creators of child pornography.

       498.        The private facts of Plaintiffs lives and ludicrous allegations made public by

           Defendants are those which would be offensive and objectionable to a reasonable person

           and were not a matter of public concern                          at the time Defendants made them public.

       499.        Prior to Defendants actions, Plaintiffs lived free from the eye of public scrutiny.

       500.        As the direct and proximate cause of the invasion of Plaintiffs' privacy, Plaintiffs

           have suffered, and continues to suffer injuries and damages, both professionally and

           personally.

       WHEREFORE, Plaintiffs demand judgment against Defendants and requests the following:

  an   award of compensatory damages for personal indignity, dishonor, humiliation, damage to her

  professional and personal reputation, mental anguish and distress, an award of lost benefits, an

  award of prejudgment interest, attorneys' fees and such additional or alternative relief as the

  Court may deem just and proper. Plaintiffs reserve the right to amend their claim for punitive

  damages in the future, should such a claim become viable.

                                                              COUNT XXXVI
                                                                BATTERY

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       501.        Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

           fully set forth herein.
       502.        This count is for a cause of action against Defendant Does individually.


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     503.           On August 6, 2020, Defendants did unlawfully touch Plaintiffs against Plaintiffs'

         will.

     504.           Defendants intended to cause and did cause      a harmful contact   with Plaintiffs'

         person.

     505.           Plaintiffs did not consent to Defendants act.

     506.           As a direct and proximate result of Defendants conduct Plaintiffs suffered injuries

         including but not limited to extreme mental anguish and physical pain.


     WHEREFORE, Plaintiffs demand judgment for damages against Defendants together with

  the costs of this civil action and demands trial by jury on all issues so triable, and such other

  relief as this Court may deem just and appropriate. Plaintiffs reserve the right to amend their

  claim for punitive damages in the future, should such a claim become viable.


                                           COUNT XXXVII
                                              BATTERY
                          (Defendants Anderson, Saunders, Thomas, Dion, Does)

      507.          Plaintiffs realleges and reavers paragraphs 1 through 107 of this complaint as if

            fully set forth herein.

      508.          This count is for a cause of action against Defendants Anderson, Saunders,

         Thomas, Dion and Does individually.

      509.          On August 6, 2020, Defendants did unlawfully touch Plaintiffsminor           child

            against Plaintiffs' and the minor child's will and subjected the child to unnecessary

         medical exams including taking photographs of her naked body against the will and

            consent of the minor child and her parents.

      510.          Defendants intended to cause and did cause a harmful contact with Plaintiffs'

         minor child's person.


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     518.           The amount of force used by Defendants OPD and Sheriff officers were in

         excess.

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     519.          The excessive force used against the Plaintiffs resulted, as reasonably should have

         been foreseen and was without legal justification.

     520.           As a direct and proximate result of the acts described throughout this complaint,

         Plaintiffs have suffered, have been brought into public scandal with great humiliation,

         suffered mental suffering, physical suffering and damaged reputation.

     521.           As a further direct and proximate result of the conduct of Defendants OPD and

            Sheriff officers, Plaintiffs suffered bodily injury and resulting pain and suffering, mental

         anguish, loss of earnings, loss of capacity for the enjoyment of life, medical care and

         treatment. Plaintiffslosses are either permanent or continuing and Plaintiffs will suffer

         the losses in the future and in perpetuity.

     WHEREFORE Plaintiffs demands judgement for damages against Defendants together with

  the costs of this civil action and demands trial by jury on all issues so triable and such other relief

  as this Court may deem just and appropriate. Plaintiffs reserve                                                                   the right to amend their claim for


  punitive damages in the future, should such a claim become viable.


                                                                    DEMAND FOR JURY TRIAL




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Case 6:24-cv-02313-PGB-DCI               Document 1-1       Filed 12/20/24     Page 120 of 166 PageID
                                                  126



           Pursuant to Rule 1.430(a), Florida Rules of Civil Procedure, Plaintiffs hereby demand a

  trial by jury for all issues so triable.

                                             PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs respectfully prays that:
      a.   The Court enter judgment in favor of Plaintiffs on the claim(s) in an amount to be proved

           at trial;


      b.   Plaintiffs recover from Defendants its costs and expenses, including reasonable attorneys'

           fees incurred in pursuing this claim pursuant to 42 U.S.C. §1988;


      c.   Plaintiffs recover damages including prior attorneysfees from malicious prosecution and

           any and all other incurred expenses;


      d.   Plaintiffs recovers   damages including any and all expenses, pain and suffering, loss of

           enjoyment of life;


      e.   Plaintiffs recovers   damages pursuant to 42 U.S.C. §1983;


      f.   Plaintiffs recover damages including loss of support and services of their minor child for

           the time the minor child was removed from Plaintiffs' custody and for the time Plaintiffs

           were    subjected to intrusive scrutiny by Defendant DCF, past pain and suffering and

           future pain and suffering;


      g.   Plaintiffs recover all other damages recoverable pursuant to Florida Statutes §§ 768 et

           seq.;


      h.   This action be tried by a jury; and


      i.   Plaintiffs recover any such other and further relief as the Court deems just and proper.



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Case 6:24-cv-02313-PGB-DCI         Document 1-1         Filed 12/20/24   Page 121 of 166 PageID
                                            127



                                 CERTIFICATE          OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via

  U.S. mail to the Orlando Police Department at 1250 West South Street, Orlando, FL 32805; City

  Attorney City of Orlando at 400 South Orange Avenue, Orlando, FL 32801; Orange County

  Sherriff's Office at P.O. Box 1440, Orlando, FL 32802; Department of Children and Families at

  400 West Robinson Street, Suite 1106, Orlando, FL 32801 and 2415 North Monroe Street, Suite

  400, Tallahassee, FL 32303; and the Orange County Attorney's Office at 201 S, Rosalind Ave, 5th

  Floor, Orlando, FL 32801 this 3rd day of September 2024.


                                                                      aitiet E. illitchett-Sadd, 64
                                                                     Ariel E. Mitchell-Kidd, Esq.
                                                                           Florida Bar No. 125714
                                                                                     P.O. Box 12864
                                                                                   Miami, FL 33101
                                                                                      (305) 903-5835
                                                                              ariel@arielesq.com




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      Case 6:24-cv-02313-PGB-DCI    Document 1-1     Filed 12/20/24   Page 122 of 166 PageID
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                                         Exhibit
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Case 6:24-cv-02313-PGB-DCI             Document 1-1          Filed 12/20/24       Page 124 of 166 PageID
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                                                                                           P.O. Box 12864
                                                                                          Miami, FL 33101
                                                                                        ariel@arielesq.com
                                                                                         rio@arielesq.com
                                                                                         305-903-5835 (tel)
                                                                                            August 4, 2023




                                        VIA OVERNIGHT          MAIL

           RE:     2020-221714
                   Christian Campbell, Laurie Campbell and Iseabail Campbell
                   Date of incident: August 6, 2020

           Please be advised that this firm has been retained to represent Christian Campbell, Laurie
   Campbell and, minor child, Iseabail Campbell regarding claims for violation of constitutional and
   civil rights and various torts. Please accept this letter as formal notice pursuant to Florida Statute
   768.28 of a claim against the several government agencies regarding an incident which occurred on
   August 6, 2020 at approximately 9:30 AM.

        On August 6, 2020 my clients, Christian Campbell and minor child Iseabail Campbell, were
   inside of their homes when an illegal and fraudulent search warrant was executed upon their
   residence. My other client, Laurie Campbell was kidnapped, held hostage and seized from her
   vehicle approximately a mile away from the home at the same time. Orlando Police had guns
   pointed at both the father and child, specifically pointed at the heads of the father and child, in my
   clienes homestead residence. Orlando Police had guns pointed at Laurie when they initiated a false
   traffic stop to seize her person and property, namely her i-phone. The Orlando Police then gained
   unauthorized access to her seized personal property, by coercion, duress and false pretenses.

       The minor child was seized and kidnapped illegally into custody by the Department of Children
   and Families. The minor child was seized and kidnapped illegally because the Department of
   Children and Families was working in concert and in conspiracy with Orlando Police Department,
   and Detective Jennifer Wing as well as other law enforcement, including the Orange County
   SherifFs Department. Due to the conspiracy of law enforcement and DCF my clients, Christian and
   Laurie, were forced to sign an emergency plan placing their minor child, Iseabail, into the care of
   alternative guardians under duress, without due process and without being given time to consult
   with legal counsel.

        My clients have experienced several violations of their constitutional and civil rights, most
   notably illegal search and seizures and due process. In addition to the gratuitous civil rights
   violations, several torts were committed by the Orlando Police Department including defamation,
   false imprisonment, kidnapping, theft, loss of consortium, tort of outrage, conspiracy, negligence,
   gross negligence, intentional and negligent infliction of emotional distress and additional torts that
   may be named therein.
Case 6:24-cv-02313-PGB-DCI            Document 1-1         Filed 12/20/24       Page 125 of 166 PageID
                                               131



                                                                                        P.O. Box 12864
                                                                                       Miami, FL 33101
                                                                                      ariel@arielesq.com
                                                                                       rio@arielesq.com
                                                                                       305-903-5835(tel)

     Pursuant to Florida, Statute 768.28(6). I submit the following information:

          Claimant's post office address is 3023 Helen Ave. Orlando, FL 32804.

     2.   Notices concerning this claim should be sent to Claimanes attorney, Ariel Mitchell Esq.,
          P.O. Box 4221, Marietta, GA 30061, also by email at ariel@arielesq.com.

     3.   The date and place of the incident giving rise to this claim derived from a fraudulently
          obtained warrant, with false information, executed by Orlando PD SWAT on August 6,
          2020 at 9:30 am at 3023 Helen Ave. Orlando, FL 32804.

     4.   The circumstances giving rise to this claim are as follows:

                   Detective Jennifer Wing, through perpetrating fraud on the court, obtained an illegal
          search warrant   of my clients homestead. Claimant contends if Detective Wing had not
          perpetrated  fraud  on the court no such warrant would have been issued. The fraud used to
          obtain  the warrant accused my clients, Christian and Laurie, of producing, and transmitting
          child pornography based on a tip that was submitted to the National Center for Missing and
          Exploited Children on March 24, 2020.
                   The affiant, Detective Wing, falsely stated to the court that the Detective had "found
          and located computers within the coures jurisdiction" that contained P2P software with
          child pornography images. The affiant, Detective Wing, continues to falsely stated that the
          images had been "previously identified as either suspected or known images of child
          pornography" and the "images of video are ones in which the child victim in the image is
          actually known to law enforcement due to a reported case of abuse, or the image has been
          viewed by other members of law enforcement who are able to confirm by training and
          expertise that the content of the image or video is pornographic, that the child depicted is a
          real child (not generated by computer technology) and that the child and the image is clearly
          and obviously under the age of 18." Using these fraudulent statements proffered by
          Detective Wing, the court issued an illegal warrant.
                   The illegally and fraudulently obtained warrant was granted on August 4, 2020 and
          executed on my clients private, homestead, residence at 3023 Helen Ave. Orlando, FL 32804
          on August 6, 2020 at 9:30a.m. During the illegal entry, search and seizure of my clienes
          home the Department of Children and Families then illegally removed the minor child,
          Iseabail, against the will of the parents. My clients, Christian and Laurie, were forced under
          duress, without due process and without time to seek legal counsel into signing an
          emergency plan with the Department of Children and Families where the eighteen-month-
          old minor child was taken from her parents, the parents only child, and DCF remanded the
          minor child, claimant Iseabail, to her grandparents custody for several month.
                   To add insult to injury, members of the Orlando Police went door to door and told
          neighbors of my clients that my clients were pedophiles who made child porn and were
          sexual criminals.



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Case 6:24-cv-02313-PGB-DCI             Document 1-1          Filed 12/20/24        Page 126 of 166 PageID
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                                                                                            P.O. Box 12864
                                                                                           Miami, FL 33101
                                                                                           ariel@arielesq.com
                                                                                            rio@arielesq.com
                                                                                            305-903-5835(tel)
                     My  clientslives will forever be negatively impacted by this illegal and  intentional
           criminal act by the Orlando Police in obtaining a search warrant by perpetrating fraud on the
           court and labeling my clients pedophiles who make child porn with their own child.
                     Additionally, the Orlando Police failed to take proper inventory of seized personal
           property and failed to return seized property after my clienes case was quietly and
           unceremoniously dropped after, allegedly, the real perpetrator was apprehended by the FBI
           in another state. My clienes home was destroyed and forever tarnished. My clients have been
           constructively evicted from their homestead as a result of the trauma of the fraudulent and
           illegal raid, search and seizure of their persons, things and minor child on August 6, 2020 by
           the Orlando Police Department, Orange County Sheriff's Department and Department of
           Children and Families in concert.

      5.   Claimanes injuries are continuous and varying.

     6.    The names   of the public employees causing the Claimanes injuries are:

           John Does 1-100:                        Individuals who were apart of Orlando PD SWAT
                                                   and Orange County Sheriff who executed the illegally
                                                   obtained warrant and violated claimants'
                                                   constitutional rights on August 6, 2020 and any other
                                                   unnamed individuals with or on behalf of the
                                                   Department of Children and Families who acted in
                                                   removal of the minor child from the parents on the
                                                   date of the incident.

           Detective Jennifer Wing (19104):        Affiant in search warrant.


           Skyler Saunders:                        CPI Supervisor DCF, Case No. DP20-433

           Jennifer Thomas:                        Case Manager, Case No. DP20-433


           Amanda Dion:                            Case Manager Supervisor, Case No. DP20-433



            Claimant requests that the Orlando Police Department pay this claim in the amount of
           $ 10,000,000 for both torts and violations of constitutional and civil rights. This figure is
           based on the following:

           Medical Expenses to Date:                        $300,000
           Estimated Future Medical Expenses:               $2,500,000
           Moving Expenses:                                 $900,000
           Loss of Wages:                                   $1,300,000
           Aggregate Damages:                               $5,000,000



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Case 6:24-cv-02313-PGB-DCI     Document 1-1                  Filed 12/20/24    Page 127 of 166 PageID
                                        133
                     THE LAW OFFICE O.


                                                                                        P.O. Box 12864
                                                                                       Miami, FL 33101
                                                                                     ariel@arielesq.com
                                                                                      rio@arielesq.com
                                                                                      305-903-5835(tel)

           TOTAL                                         $10,000,000


      8.   The Claimant's date and place of birth and                numbers are as follows:

   Christian Campbell            Charlottesville, Virginia        8/17/1975
   Laurie Campbell               Houston, Texas                   9/27/1978
   Iseabail Campbell             Orlando, Florida                 1/11/2019

          There are no unpaid prior adjudicated claim in excess of $200 owed by Claimants to the
      State of Florida or any of its agencies, officers, or subdivisions.



                                                                         Namaste,




                                                                         Ariel E. Mitchell, Esq.
                                                                         Counsel for Claimants




                                                     4
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                                      134




                                Exhibit
                                    “B99
Case 6:24-cv-02313-PGB-DCI             Document 1-1        Filed 12/20/24      Page 129 of 166 PageID
                                                135
                                                             IN THE CIRCUIT COURT OF THE
                                                             NINTH JUDICIAL CIRCUIT IN AND
                                                             FOR ORANGE COUNTY, FLORIDA

STATE OF FLORIDA                                             OPD Case #: 2020-221714
COUNTY OF ORANGE                                             Clerk's Case #:
                                                             N Electronic Warrant
                                                             El Emergency Warrant
                               AFFIDAVIT     FOR SEARCH WARRANT


        BEFORE ME, the undersigned Judge, in and for Orange County, Florida, submitted via a secure
electronic file transfer system, your Affiant, Detective Jennifer Wing (19104), a member of the Orlando
Police Department, who being first duly sworn, deposes and says that Affiant has probable cause to believe
that certain evidence, to wit:

         Electronic Evidence:
         Device and owner information, contact lists, call history, photographic images stored as single
photographs or video formats, text and chat messages including message content, email with content,
notes, calendar data, any and all other user generated data including but not limited to Internet history,
bookmarks and WebPages visited, GPS data, mapping information, spreadsheet, database or text based
information, any electronic data processing and/or storage devices, computers and computer systems
which also includes central processing units, random access memory (RAM), internal and peripheral
storage devices such as fixed discs, internal/external hard drives, removable disks such as Blu-ray, DVD
and CD, floppy diskettes, Flash memory cards or drives, USB drives, smart media cards, micro drives,
SD cards, and any other diskettes, tape drives and tapes, optical storage devices, or other storage devices,
peripheral input/output devices such as keyboards, printers, video display monitors, optical readers,
scanners   and related communications devices such as modems, network adapters, hubs, routers, switches;
any computer system, GPS devices, magnetic card readers, digital cameras, cellular telephones, and
components, which also includes electronic processing units, internal storage devices, Subscriber Identity
Modules (SIM cards), and other devices such as Flash memory cards, or other electronic system; together
with system documentation, any passwords, passcodes, Personal Identification Numbers (PIN), PIN
Unblocking Key (PUK) codes, encryption keys, operating logs and documentation, appropriate cables and
connecters, and software instruction manuals, programs, data, or files containing all of the above records,
whether stored on paper, on magnetic media such as hard disk drive, tape, cassette, cartridge, disk,
diskette, flash media or on memory storage devices or media such as optical disks, programmable
instruments such as telephones, answering machines, "electronic address books", portable data assistants,
tablets, laptop computer systems, desktop computer systems, calculators, or any other storage media where
data can be stored, together with indicia of use, ownership, possession, or control of such records, which
is evidence of a felony violation of the laws of Florida, or which is contraband per se and evidence of a
violation of the laws of Florida, to wit:

       Florida State Statute(s):   847.0135(3)-2, Obscene Communication- Misrep Age Use Computer
                                   Solicit Lure Seduce
                                   827.071(5), Poss. Mat. Depicting Sexual Perf. by a Child


which is being kept in and on certain premises and the curtilage thereof in Orange County, Florida. These
premises are described as follows:
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        3023 Helen Avenue, Orlando, Florida, Orange County, FL 32804 (target prennses). The target
        premises is a one-story building, single family home, white in color with white trim.

        Directions to the target premise:

        Start out going west on W South St toward S Orange Blossom Tr1/US-17 S/US-17 N/US-92
        E/US-92 W/US-441 S/US-441 N. Take the 1st right (northbound) onto S Orange Blossom
        Trl/US-17 N/US-92 E/US-441 N. Turn right (eastbound) onto W Colonial Dr/US-17 N/US-92
        E/FL-50. Turn left (northbound) onto N Garland Ave. Merge onto Interstate 4 eastbound (1-4 E)
        via the ramp on the left toward Daytona Beach




This being the premises occupied by and under the control of Christian        Clay Campbell and La urie inn
Campbell.

The facts tending to establish the grounds for this application and the probable cause of Affiant believing
that such facts exist are as follows: Your Affiant, Jennifer Wing, has been with the Orlando Police
Department since May 29, 2012.Your affiant is a certified law enforcement officer by the state of Florida
pursuant to Section 943.14(1)(2) of Florida State Statutes and Section 11B-7, Florida Administrative Code
relating to Standards and training.

In 2007, Your Affiant obtained her Bachelor's Degree from the University of Central Florida in Criminal
Justice with a certificate in Criminal Profiling. In 2009, Your Affiant obtained her Master's Degree from
University of Central Florida in Criminal Justice. In January of 2011, Your Affiant attended the TECO
Criminal Justice Academy for basic certification as a law enforcement officer. Your Affiant studied laws of
the State of Florida pertaining to Battery, Assault, Burglary, Grand Theft, Petit Theft, Dealing in Stolen
Property, Robbery, Homicide, Controlled Substances, Child Abuse and Sex Crimes. Upon graduating the law
enforcement academy in November of 2011, Your Affiant began the Field Training Program with the Orlando
Police Department in May of 2012. Upon completion of the Field Training Program, Your Affiant was
assigned to West, East and North Patrol Divisions from December 2012 to March 2019. While in West, East
and North Patrol, Your Affiant made several arrest pertaining to burglaries, batteries, thefts, and drugs. In
April 2019, Your Affiant was assigned to the Criminal Investigation Division as a Property Detective. While
in the Criminal Investigation Division, Your Affiant has written multiple arrest and search warrants pertaining
to property related crimes, and has assisted with multiple search warrant executions for drug related and
property related crimes. In January 2020, Your Affiant was assigned to the Special Victims Unit, Internet
Crimes Against Children (ICAC) Task Force, where Your Affiant has investigatived over 220 sexually
related or internet-based crimes.

During Your Affiant's career with the Orlando Police Department, Your Affiant has successfiffly completed
advanced training in the following courses:       Interviews and Interrogations, Sex Crimes Investigations,
Advanced Human Trafficking Investigations, Crisis Response in Child Abuse/Victim Assault Cases,
Advanced Interviewing, Universal Interviewing Tactics for Patrol Officers, Detecting Tmthfulness, Forensic
Interviewing, ICAC Investigation of Cybertips, Offenders of Children and Child Sexual Abuse Imagery,
ICAC Program Overview, and A Walk Through of ICAC Standards. Your Affiant has also investigated or
assisted in investigations of crimes against children including: Sexual Battery, Lewd or Lascivious Battery
and Molestation, Kidnapping, Homicide, and Child Abuse. Your Affiant is a current member of the Internet
Crimes Apinst Children Task Force (ICAC). As a member of the ICAC Task Force, Your Affiant has had
the opportunity to consult with numerous      experts at the local, state and national levels in the areas of child
pornography,   intemet  child solicitation and computer forensics. On a daily basis, members of the ICAC Task
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Force work as a team an share their expertise on various topics. Your Affiant has executed and assisted with
several other search warrants regarding internet child exploitation; these search warrants have yielded lawful
arrests and investigations



FILE SHARING RECOGNITION TECHNOLOGY:

From training and experience with Peer-to-Peer file (hereinafter referred to as "P2P") sharing networks, your
Affiant, Detective Jennifer Wing learned that computer users can choose to install publicly available software,
such as Limewire, Bear Share and others, that facilitates the trading of images, videos and other electronic
files. Sendvid.com is another file sharing program. Upon installing the client software, the user chooses which
files or folders he or she wants to share with the rest of the file sharing network. When the user connects to
the network, the software submits information about the files the user is sharing to an index server.  The index
server   is computer
           a            on the network that has been selected to assist other   users  in locating files. On the
Gnutella network, this server is referred to as an ultrapeer and on the eDonkey network, it is simply referred
to as a "server."

The software, when installed, allows the user (peer) to search for pictures, videos, movies and other digital
files by entering text as search terms. That text search is sent to an ultrapeer or server. Based upon the data
submitted to it by other users, the ultrapeer or server determines whether any of the computers included in its
index contain files that meet the search term submitted. Once relevant files have been located, the ultrapeer
or server   returns a list of files that are consistent with the search term to the requesting computer (peer). The
user of that computer can then choose which of the files they want to download. When the user clicks on a

file or files he wants to download, a direct connection is established with the computer/s that contains all or
part of that file and the transfer process begins. These users can receive the selected file from numerous
sources    at once. The software can balance the network load and recover         from network failures by accepting
pieces   of  the file from different  users  and then reassembling  the file on the local computer.

P2P networks can only succeed in reassembling the file from different parts if the parts all come from the
same  original file. Multiple persons sharing one file can deliver different pieces of that file to the local
software and the local software can insure that a complete and exact copy can be made from the parts. Your
Affiant has been able to confirm from use of the software that different copies of the same file can be named
differently.

P2P computer software has different methods to insure that two files are exactly the same. Your Affiant,
Detective Jennifer Wing knows from training and experience that the method used by file sharing on the
Gnutella network involves a compressed digital representation method called Secure Hash Algorithm Version
1 or SHA 1. The Secure Hash Algorithm (SHA) was       developed by the National Institute of Standards and
Technology (NIST), along    with the National  Security Agency (NSA), for use with the Digital Signature
Standard (DSS) as specified within the Secure Hash Standard (SHS). The United States of America has
adopted the SHA 1 hash algorithm described herein as a "Federal Information Processing Standarlf.

Your Affiant, Detective Jennifer Wing knows that digital files can be processed by this SHA 1 standard
resulting in a digital signature. By comparing these signatures your Affiant can conclude that two files are or
are not identical with a precision that greatly exceeds 99.9999 percent certainty. Your Affiant knows through

the computer forensic community that there has never been a documented occurrence          of two different files
being  found  on the  Internet having different contents while sharing the same SHA  1 value.

The use of SHA 1 compressed digital representations for the matching of movies and images have proven to
be extremely reliable. Your Affiant has never found two files with different contents but the same SHA 1
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value. Your Affiant, Detective Jernnfer Wing has consulted with law enforcement officers with great levels
of experience in this area and none of those consulted has ever found two files with different contents but the
same SHAl value.


Your Affiant, Detective Jennifer Wing knows that files shared on the eDonkey network work in a similar
manner, but use an MD4 hash system, instead of Gnuttella, to verify the contents of files. The MD4 hash is
not as accurate as the SHA 1, but is considered extremely reliable for most practical purposes. The eDonkey
network relies on the MD4 hash in order to function smoothly on a daily basis. Additional systems utilize the
MD5 hash system for file identification.

Your Affiant, Detective Jennifer Wing knows that the P2P network uses the MD4 digital signature to verify
the unique identity of individual files. Users attempting to trade files on a P2P file-sharing network can place
files from their local computer in a shared file directory. If that user then starts the P2P software that local
computer calculates the MD4 signature for each shared file and provides that information to other users
wishing to trade files. When a user downloads a file from the eDonkey network, the IVID4 value of the file
being downloaded is immediately transferred to the user's computer and this MD4 value assists the software
in locating other users that are sharing files with the same MD4 value. A user can also participate in sharing
a file that has only been partially downloaded onto his computer.



Entering search terms in the P2P software results in a list of SHA 1 or MD4 digital signatures and file names
that your Affiant, Detective Jennifer Wing can choose for download. By using this type of search, your
Affiant, Detective Jennifer Wing compares the offered SHA 1, MD4 and MD5 signatures with signatures
known to belong to movies or images of child pornography. Your Affiant, Detective Jennifer Wing confirms
these hash values as belonging to child pornography by examining the files from previous investigations with
the matching hash value.

This method has proven to be extremely reliable, working just like software used by end users around the
world in locating and downloading precise files. Once the download of child pornography is initiated your
Affiant, Detective Jennifer Wing receives a list of download candidates that are participating in the
possession, such as the Sendvid.com software did in detecting the child pornography associated with this case
through receipt and/or distribution of child pornography. This feature allows your Affiant, Detective Jennifer
Wing to conduct undercover operations that involve images of child sexual abuse being traded on peer-to-
peer networks.

Internet computers identify each other by an Internet Protocol or "IP" address. When a computer connects to
the Internet, the Internet Service Provider ("ISP") providing the Internet connection assigns that computer a
specific numerical identifier called an IP address. The IP address allows the computer to communicate with
the Internet. ISPs control blocks of IP addresses and only assign a given IP address to one customer at a time.
Your Affiant, Detective Jennifer Wing knows that these IP addresses can assist law enforcement in fmding a
particular computer on the Internet. Once an IP address is known, a subpoena can be issued to the appropriate
ISP for business records related to the subscriber assigned to that IP address at a particular time and date. The
ISP will typically provide information concerning the name, address and other identifying information of the
subscriber using the particular ISP. This process has proven to be very reliable in identifying suspects using
the Internet.

When a user submits a search term using P2P software, he is presented with a list of IP addresses and
individual files that have been reported as available for download with specific digital signatures. The files
listed may be either completed downloads or partial downloads.
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These computers are referred to as download candidates. A download candidate is a computer or electronic
device that was reported by an ultrapeer or server as a source for the file listed by hash value. In almost every
known case the download candidate serves those files to P2P users across the Internet.

Computers from throughout the world can download files from download candidates without regard to
geographic location. Your Affiant knows that the files located on P2P download candidates are quickly
available throughout the world due to the distributed sharing model of P2P networks.

Your Affiant, Detective Jennifer Wing knows that cooperating police agencies pool their information to assist
in identifying criminal conduct and build probable cause to further criminal investigations. Investigators
around the country and world use a software program called the Child Protection System (CPS") to facilitate
locating child pornography on the Gnutella and eDonkey networks. hwestigators licensed and trained to use
CPS to search for child pornography on the Gnuttella or eDonkey network automatically submit their search
results to a centralized law enforcement controlled database located in Boca Raton, Florida. The servers on
which this data is stored are owned and controlled by the State Attorney's Office for the 15th Judicial Circuit.
The data submitted by investigators includes the SHA 1, MD4 and MD5 value of child pornography images
as well as the IP address where that image was observed. With this pooled information police get a better

understanding of the global information available about a suspect that resides in their area or jurisdiction.
The information is valuable when trying to regionalize a suspect to a certain jurisdiction, given the global
scope of the Internet. Investigators from around the world gather and log information, which can be used by
an investigator to build probable cause on one specific case.


Licensed and trained users of the CPS are authorized to view images and videos and attach labels to them
that are reflective of their content. These labels are then available to other users of the database to facilitate
finding child pornography. Since different jurisdictions may have different definitions of child pornography,
instructors use the term "child notableto label files they believe meet the defmition of child pornography in
their own jurisdictions..

By examining a list of IP addresses contained within this database, your Affiant, Detective Jennifer Wing can
locate computers that are reported to be in your Affiant's jurisdiction. By comparison of the digital signatures
your Affiant can conclude that a computer, originating from an IP address known to be in this jurisdiction,
has P2P software installed on it and contains complete or partial images or videos of child pornography.
Information in the database contains data concerning the time and date a hash value known to contain child
pornography was observed at a specific IP address. With this information, a request can be made to the
Internet service provider to identify the specific physical address related to the user of P2P software in the
exchange of child pornography. Your Affiant, Detective Jennifer Wing is aware from training, consultations
with other investigators and personal experience that hundreds of search warrants around the country have
been obtained by using the above method of investigation. This method has proven to be extremely reliable
in determining the location of computers that were involved in the P2P facilitated trading of child
pornography.

Your Affiant, Detective Jennifer Wing has been involved in search warrants of this type and has consulted
with many experienced investigators who have used this method of investigation. Nearly every case was
verified through the following means:

1) Evidence of child pornography was     found on the computer.

2) If no images of child pornography were found on the computer, interviews of persons using those
computers verified that child pornography had been present at one time but, had been deleted or the computer
with the child pornography had been removed from the premises. In rare cases, it was determined that the
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suspect accessed the customer's unsecured wireless router and thereby downloaded child pornography using
his IP address. In such cases, the unsecured wireless router was an instrumentality of the crime subject to
seizure in that it aided in the receipt and distribution of child pornography and potentially contained data logs.


3) Images were   moved from a computer and stored on other media.

SUSPECTED OR KNOWN IMAGES OF CHILD PORNOGRAPHY:

Your Affiant, Detective Jennifer Wing knows from training and experience that there is a database list of
unique SHA-1 values that are known to law enforcement to correspond to specific images of child
pornography. These images have previously been identified as either suspected or known images of child
pornography and were catalogued by the National Center for Missing and Exploited Children (NCMEC)
and/or the Wyoming Internet Crimes Against Children Task Force. To be considered as suspected or known,
the images/videos are either one in which the child victim in the image is actually known to law enforcement
due to a reported case of abuse or the image has been viewed by other members of law enforcement who are
able to confllrn by training and experience that the content of the image or video is pornographic (containing
a lewd exhibition of a child's genitals, or a graphic sex act involving a child), that the child depicted is a real

child (not generated by computer technology, but either a movie or an image that predates the capacity for
photo manipulation), and that the child in the image is clearly and obviously under the age of eighteen (which
is ensured by selecting children who are very obviously young or pre-teen). Knowing the SHA-1 associated
with these suspected or known child pornography files allows law enforcement to locate the files when they
are made available on file sharing programs and on networks like the Gnutella network.


INTERNET PROTOCOL (IP) ADDRESS VERIFICATION:

Your Affiant, Detective Jennifer Wing knows from training and experience that computers or digital media
capable of connecting to the Internet, are assigned an Internet Protocol address or IP address. Your Affiant
knows that the IP address can assist law enforcement in finding the physical location of a particular computer
or digital media. The IP address leads your Affiants to a particular Internet Service Provider (ISP) or company
who holds or uses that specific IP address. Given the exact date and time when the IP address was used, the
ISP can typically identify the account holder assigned that IP address at that specific date and time and provide
the name and physical address of the account holder. Your Affiant, Detective Jennifer Wing knows from
training and experience that an IP address assigned to a particular physical address at one point in time will
often be the same for months or, in some cases, a year or more, especially if the subscriber has a high speed
Internet connection.

Your Affiant, Detective Jennifer Wing knows from training and experience that computer software or
hardware exists that allows persons to share Internet access over wired or wireless networks allowing multiple
persons to appear on the Internet from the same IP address. The most common            form of this is a router.
Examination of these items can reveal information about the unauthorized or criminal use of the Internet
connection at or through the residence.

 On March 24, 2020, the National Center for Missing and Exploited Children (NCMEC) received Cybertip
#66460350 regarding solicitation and possible distribution of child pornography. MAPA Breelle Hunter
of the Federal Bureau of Investigation (FBI) was assigned the case for further investigation (FBI case
#305A-HQ-3852150-SBP). The Cybertip was initiated by a member of the public (complainant) and
provided chats between the complainant and suspect(s), believed to be husband and wife. The Cybertip
contained a Fetlife.com account (https://fetlife.com/users/11282990?sp=1) and multiple Kik
conversations, where the suspect(s) ("Kristina Slut") and complainant discussed the suspect(s) having
sexual intercourse                                            sexual acts with children. The suspect(s)
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describes a video that they have of the suspect (wife) performing cunnilingus
                                                          the adult suspect (wife). The suspect(s) offer to
send this video to the complainant. The suspect(s) also solicited the complainant to send a video of her
performing a sexual act                                      The chats are as follows:
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    11:30.                                       #77"




                      Kristina Slut

                                 Imam      audible




             Have you ever thought about
             letting her watch or join


                                                 CID
             While you fuck




             Like have you done it in front of
             her

             Yeah

         Me and rny husband fuck in
                                ll the
         tirne and sornetimes we play
         with her too...

                                         No we dont


             Would you


  Type a message...

              rai        GIF
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    1   1: 3 0.                                               #77"




                            Kristina Slut

                                         imom.       auchble

                                                 '41111PP'

                  Would you

                                                                 No


                  Why not




                  It's so sexy

                                 oyes   being
              fucked doggy style

               have a video of rne licking her
                  I




              pussy and her licking mine if
              you want to see it

                  Do you lol




              Yeah do you want to see
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    11:30.                                           gm



                        Kristina Slut

             SAINT JOSEPH'S COLLEGE
         OF  MARIAN UNIVERSITY
         INDIANAPOLIS




             Yeah do you want to see




             Do you want to see it or not




             You have to delete it after you
             watch it ok

                                                   Ok


             And I'll only send it if you send
             one back




             Will you

             Hello

             Hey I'm trusting you

  Type a message...
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    11:30.


                        Kristina Slut >

             SAINT JOSEPH'S   COLLEGE       Work or Colled,
          OF  MARIAN UNIVERSITY
     g0   INDIANAPOLIS                      Why not Both?,
             Hello

             Hey l'rn trusting you




             No you send first so       I   know
             can trust you


          Are you doing to do or not               I



          need to know so know if can
                                  I            I



          trust you and whether to delete
          this chat

             Ok I'm going to delete you
             unless you reply I'm sorry to
             sound mean




             What do you mean




             We do it all the time she loves


  Type a niessdge...
                                                              r    o
                                                              n    M
                                                              c:no
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    11:30.                                                 .11%




                             Kristina Slut

                SAINT JOSEPH'S       COLLEGE   Work or Colled
                OF  MARIAN UNIVERSITY
     111 t.s.   INDIANAPOLIS                   Why not Both?

                this chat

                Ok I'm going to delete you
                unless you reply I'm sorry to
                sound mean




                What do you mean




                We do it all the time she loves
                it

                She asks for it

                Are you going to do it or not

                Answer now or I'm sorry I'll
                have to block you

                Ok bye

                Sorry


  Type a message...
                                                                      o


                     rai       GIF                                n
                                                                  n
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I    reviewed    the    Fetlife    account,     https://fetlife.com/users/11282990?sp=1,      user   name:

"HumanPocketPussy".    The    account had   an image    of  a  white adult female, completely nude,  with  a

reported age of 24 years old. The complainant originally stated that the chats began on Fetlife.com and
moved over to a chatting application Kik. A search of investigative resources   revealed a Kik account with
the name "HumanPocketPussy". The account is in the name of "Kristina Slut". The chats provided by the
complainant showed the name "Kristina Slut".

MAPA   Hunter obtained a US Department of Justice/Federal Bureau of Investigation Subpoena for
Kik.com/MediaLab (HumanPocketPussy). The results of the subpoena are as follows:

       Kik.com/MediaLab, Inc- Subpoena #598618 was issued on April 15, 2020. On June 23, 2020,
       Kik.com/MediaLab Inc provided subscriber information as "Kristina Slut", email address
       "christianccampbell@gmail.com", and user name as "HumanPocketPussy". The Kik account was
       registered using "christianccampbell@gmail.com" from an Android device over the AT&T
       Mobility network.
After receiving the Kik.com/MediaLab, Inc subscriber results, a US Department ofJustice/Federal Bureau
of Investigation Subpoena was obtained by FBI MAPA Hunter for the Google Gmail account from
Kik.com/MediaLab, Inc, "christianccampbell@gmail.com". The results of the subpoena are as follows:

       Google-Subpoena #614348 was             issued on    June 24,     2020     for email account
       "christianccampbell@gmail.com". On June 29, 2020, Google provided Subscriber information as
       Christian Campbell, email address: "ccampbell%threefishgroup.com@gtempaccount.com" and
       alternate email addresses: "threefishgroup@gmail.com" and "christian.c.campbell@gmail.com",
       recovery phone number: 321-578-2527. Google also provided IP activity from the account from
       12/10/2019 to 6/23/2020. Several IP addresses were chosen from the IP activity log by FBI MAGA
       Hunter provided by Google. The following IP addresses and electronic service providers were sent
       US Department of Justice/Federal Bureau of Investigation Subpoenas:

       AT&T- Subpoena #617193
       *2600:1700:4cbb:902f:fdf4:c50a:55c:21f on 6/18/2020 at 12:59:22 UTC
       *2600:1700:4cbb:902f:4193:9f6a:9f6a:d6bc:9b18 on 6/23/2020 13:07:47 UTC
       *69.109.232.225 on 3/25/2020 03:37:37 UTC
       -Subpoena #617193 was issued on July 8, 2020. On July 10, 2020, AT&T provided Subscriber
       name  and address as Laurie Campbell,                                      with a phone
       number listed as 321-297-8799. The email address on the account is laurie_portella@yahoo.com.

       Charter Communications-Subpoena #617190
       *2603:9001:f08:b808:8831:3fcc:b505:4dOe on 12/10/2019 at 03:21:21 UTC
       *2603:9001:f08:b808:a836:1e78:4aed:2da5 on 1/16/2020 at 013:43:47 UTC
       *142.196.175.105 on 1/9/2020 at 22:34:55 UTC
       -Subpoena #617190 was issued on July 8, 2020. On July 15, 2020, Charter Communications
       provided subscriber name and address as Laurie Campbell,
              with a phone number listed as 321-297-8799.

       Comcast- Subpoena #617192
       *2601:5c6:8000:1571:f5c3:b301:bOae:da08 on 2/23/2020 at 07:40:25 UTC
       *2601:5c6:8000:1571:3d60:b47c:268e:87e8 on 3/15/2020 at 02:49:33 UTC
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         -Subpoena #617192 was issued July 8, 2020. On July 10, 2020, Comcast provided the subscriber
         name and address as Terry Arnold, 2934 Rivennont Avenue Apt 10, Lynchburg, VA 24503 with
         a phone   number of 434-384-2766. Email user         1D's include oonalove@comcast.com,
         TerryMayPrice@comcast.com, Vonpiano@comcast.com, and booking.00nalove@comcast.com
         were also provided. A search of investigative resources revealed that Terry Arnold (previously
         Terry Price) is Christian Campbell's mother.
The address of                       was determined to be in the City of Orlando jurisdiction and the case was
re-entered back into the Internet Crimes Against Children Data System (IDS) and reassigned to the Orlando
Police Department.

On July 16, 2019, I, Detective J. Wing (19104) was assigned the case for further investigation. I reviewed the
chats logs, case file, subpoenas and subscriber information uploaded to the Cybertip.


During August 2020, The Orlando Utilities Commission (OUC) confirmed the service at this target address
to be in the name of Laurie A. Portella, DOB: 09/27/78, with service that began on 4/14/2014. An authorized
person on the account is Christian Campbell and is listed as her spouse. The phone number associated with
the account is 321-297-8799. This is the same phone inimber listed for Laurie Campbell with Charter and
AT&T. A search of investigative resources     revealed that Laurie Portella is the maiden name of Laurie
Campbell.

Through investigative research, the phone numbers associated with the IP addresses subpoena results are
believed to belong to Laurie Campbell and Christian Campbell. This information is reflected in Accurint.
Further research into occupants of the home revealed three (3) adult-.                 Below is a list of
all potential occupants:

    1. Christian Clay Campbell., W/M, DOB: 08/17/1975, FLDL: C514-103-75-297-0,
    2. Laurie Anne Campbell, W/F, DOB: 09/27/1978, FLDL: C514-521-78-847-0,
    3. Robert John Hingston, W/M, DOB: 11/01/1985, FLDL: H523-770-85-401-0,




         of the target address showed two (2) vehicles: a 2003 Green Honda Element, bearing Florida
tagAccording         to the Driver and Vehicle Information Database (DAVID), the vehicle is re .stered
to Laurie Anne Campbell. The second vehicle is a 2015 Silver Jeep Wrangler, bearing Florida tag
According to the Driver and Vehicle Information Database (DAVID), the vehicle is registered to Christian
Clay Campbell and Laurie Anne Campbell. Both vehicles are registered to the target address.

Per the Orange County Property Appraisers website, the address oi                          s   owned by Christian
Campbell.


                                         Campbell.
A search of social media also revealed multiple pictures with Laurie Campbell, Christian
                                        Other videos/pictures on social media includecl




                              the.    The chat conversations on Kik discuss having sexual intercourse with
                               It is believed that the chat conversations are referring to the sexual exploitation



Surveillance of the target residence will continue until the search warrant is executed.
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Your affiant is familiar that computer systems can be used as an instrument in a criminal act or the fruit of
a crime. Computer systems can store information in internal or peripheral storage devices, including but not
limited to fixed disks, external hard disks, floppy diskettes, tape drives, optical storage devices, and
numerous  other data storage devices.

Also, based on your affiant's training and experience, and personal use of computer systems, your affiant
knows that users of computer systems often save information or create files to storage devices/media.
This data is often present on the disk even after the file is deleted. Data may also be converted to other
file formats to conceal it through encryption or password protection.

Your affiant requests the authorization to seize, for later analysis, any electronic data processing and/or
storage devices, computers and computer systems which also includes central processing units, random
access memory (RAM), internal and peripheral storage devices such as fixed discs, internal/external hard

drives, removable disks such as Blu-ray, DVD and CD, Flash memory cards or drives, USB drives, smart
media cards, micro drives, SD cards, and any other diskettes, tape drives and tapes, optical storage devices,
or  other storage devices, peripheral input/output devices such as keyboards, printers, video display monitors,
optical readers, scanners and related communications devices such as modems, network adapters, hubs,
routers, switches; any computer system, GPS devices, magnetic card readers, digital cameras, cellular
telephones, and components, which also includes electronic processing units, internal storage devices,
Subscriber Identity Modules (SIM cards), and other devices such as Flash memory cards, or other electronic
system; together with system documentation, any passwords, passcodes, Personal Identification Numbers
(PIN), Personal Unlock Key (PUK) codes, encryption keys, operating logs and documentation, appropriate
cables and connecters, and software instruction manuals, programs, data, or files containing all of the above
records, whether stored on paper, on magnetic media such as hard disk drive, tape, cassette, cartridge, disk,
diskette or on memory storage devices or media such as optical disks, programmable instruments such as
telephones, answering machines, "electronic address books", portable data assistants, laptop computer
systems, desktop computer systems, calculators, or any other storage media where data can be stored, together
with indicia of use, ownership, possession, or control of such records. Other property of relevance to this
incident includes video cameras (digital, analog or any other format), still photo cameras (digital, analog, or
any other format), paper printouts from the printers (e-mails, chat logs, written passwords/login names), and
Internet access documents. The actual analysis of any seized digital evidence will be conducted at a later
time due to the protracted time necessary for a computer forensics investigation.

Your Affiant or his designee will take custody of the computer system, computer media, and/or the articles
needed for analysis after all exhibits are properly logged. The exhibits will be physically examined,
documented, the storage devices forensically imaged or copied (ifnecessary), and later examined for evidence
of these crimes. The results of the examination will be presented by your affiant or designee and later
forwarded to the Office of the State Attorney. The RETURN portion of this warrant will reflect the actual
seizure of articles. The forensic examination will exceed ten days or more based on the high volume of data
to be processed and examined, but all results will be submitted as evidence at a later date.

When records or evidence are stored on magnetic media such as tape, diskette, hard drive, etc., it is common
to find that specific records authorized to be seized are inextricably mixed and inseparable from other records,
programs, or files (similar to a bound-volume book containing financial records, addresses, a diary, and notes,
for example). Current technology also allows the storage of sounds, images and video "movies" as digital
files on a diskette or chip in a recording device, as well as on different formats of magnetic tape. The storage
medium containing records or evidence relating to the crime under investigation will be seized for analysis,
but only those items authorized to be seized by the warrant will be printed out, disclosed, stored on an
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evidence disk, or otherwise copied for evidence purposes. Any other innocuous data or items that can be
separated out from such evidence will be returned upon completion of the forensic analysis.
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        WHEREFORE, Affiant makes this affidavit and prays the issuance of a Search Warrant in due
form of law for the search of the above described premises for the said property heretofore described,
and for the seizure and safe keeping thereof, subject to the Order of a Court having jurisdiction thereof,
by the duly constituted officers of the law. Your Affiant also requests the use of a drone to assist officers
during the pre-execution surveillance and execution of the warrant.


                                                            Detective Jennifer Wing #19104 /s

                                                                         AFFIANT




        SWORN TO AND SUBSCRIBED before me in the County and State aforesaid this 04 day of August, 2020.




                                                            Sergeant Steven Farris #10688                  /s


                                                                         Supervisor
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                                                             IN THE CIRCUIT COURT OF THE
                                                             NINTH JUDICIAL CIRCUIT IN AND
                                                             FOR ORANGE COUNTY, FLORIDA

STATE OF FLORIDA                                             OPD Case #: 2020-221714
COUNTY OF ORANGE                                             Clerk's Case #:


                                          SEARCH WARRANT


TO:      JOHN W. MINA, SHERIFF OF THE COUNTY OF ORANGE, STATE OF FLORIDA,
         AND ANY OF HIS DEPUTIES OR AGENTS THEREOF, AND ORLANDO ROUYN,
         CHIEF OF THE ORLANDO POLICE DEPARTMENT AND ANY OF HIS LAW
         ENFORCEMENT OFFICERS OR AGENTS THEREOF, AND TO ANY LAW
         ENFORCEMENT OFFICER, STATE OR FEDERAL

         WHEREAS, complaint on oath and in writing supported by affidavit, having been made this day
before the undersigned;

          WHEREAS, said facts made known to me have caused me to certify and find that there is probable
cause   to believe that certain evidence, to wit:

         Electronic Evidence:
         Device and owner information, contact lists, call history, photographic images stored as single
photographs or video formats, text and chat messages including message content, email with content,
notes, calendar data, any and all other user generated data including but not limited to Internet history,
bookmarks and Web Pages visited, GPS data, mapping information, spreadsheet, database or text based
information, any electronic data processing and/or storage devices, computers and computer systems
which also includes central processing units, random access memory (RAM), internal and peripheral
storage devices such as fixed discs, internal/external hard drives, removable disks such as Blu-ray, DVD
and CD, floppy diskettes, Flash memory cards or drives, USB drives, smart media cards, micro drives,
SD cards, and any other diskettes, tape drives and tapes, optical storage devices, or other storage devices,
peripheral input/output devices such as keyboards, printers, video display monitors, optical readers,
scanners   and related communications devices such as modems, network adapters, hubs, routers, switches;
any computer system, GPS devices, magnetic card readers, digital cameras, cellular telephones, and
components, which also includes electronic processing units, internal storage devices, Subscriber Identity
Modules (SIM cards), and other devices such as Flash memory cards, or other electronic system; together
with system documentation, any passwords, passcodes, Personal Identification Numbers (PIN), PIN
Unblocking Key (PUK) codes, encryption keys, operating logs and documentation, appropriate cables and
connecters, and software instruction manuals, programs, data, or files containing all of the above records,
whether stored on paper, on magnetic media such as hard disk drive, tape, cassette, cartridge, disk,
diskette, flash media or on memory storage devices or media such as optical disks, programmable
instruments such as telephones, answering machines, "electronic address books", portable data assistants,
tablets, laptop computer systems, desktop computer systems, calculators, or any other storage media where
data can be stored, together with indicia of use, ownership, possession, or control of such records, which
is evidence of a felony violation of the laws of Florida, or which is contraband per se and evidence of a
violation of the laws of Florida, to wit:

         Florida State Statute(s):   847.0135(3)(b)
                                     Obscene Communication- Misrep Age Use Computer Solicit Lure
                                     Seduce
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                                   827.071(5), Poss. Mat. Depicting Sexual Perf. by a Child

which is being kept in and on certain premises and the curtilage thereof in Orange County, Florida. These
premises are described as follows:

                                                                          (target premises). The target
       premises is a one-story building, single family home, white in color with white trim.

       Directions to the target premise:

       Start out going west on W South St toward S Orange Blossom Trl/US-17 S/US-17 N/US-92
       E/US-92 W/US-441 S/US-441 N. Take the 1st right (northbound) onto S Orange Blossom
       Trl/US-17 N/US-92 E/US-441 N. Turn right (eastbound) onto W Colonial Dr/US-17 N/US-92
       E/FL-50. Turn left (northbound) onto N Garland Ave. Merge onto Interstate 4 eastbound (1-4 E)
       via the ramp on the left toward Daytona Beach.



This being the premises occupied by and under the control of Christian Clay Campbell and Laurie Ann
Campbell.

        AND WHEREAS, the facts establishing the gounds for this application being set forth in the
affidavit of Detective Jennifer Wing (19104), a member of the Orlando Police Department

       NOW, THEREFORE, you or either of you, with such lawful assistance as may be necessary,
are hereby commanded, in the daytime, nighttime or on Sunday as the exigencies of the situation

may require, to enter and search the aforesaid premises together with the yard and curtilage
thereof, and any and all outbuildings and vehicles thereon, and any persons thereon reasonably
believed to be connected with the said illegal activity, by any lawful means, including the use of a
drone, for the property described in this warrant, and if the same or any part thereof be found, you
are hereby authorized to seize and secure    same, giving proper receipt therefor and delivering a
completed copy of this warrant to the person in charge of the premises, or in the absence of any
such person, leaving a completed copy where the property is found, and making a return of your
doings under this warrant within ten (10) days of the date hereof, and you are further directed to
bring said property so found and also the bodies of the person or persons in possession thereof
before the Court having jurisdiction of this offense to be disposed of according to the law.
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                    The court further authorizes such examination and analysis of any electronic data processing
           and/or storage devices. The court specifically authorizes this examination and analysis to occur
           beyond the ten days for the return, and authorizes the analysis and examination to be conducted
           vvithin such time frame as is reasonably necessary under the circumstances. The seizing agent(s)
           shall file a return %Rhin 10 days, setting forth all property seized under this %arrant. The seizing
           agent(s) shall file supplemental return(s) describing the nature of electronic data seized pursuant to
           analysis.


                  WITNESS my hand and seal this 04 day of August, 2020.



                                                                    (IJI7
                                                                        Judge



                                                                     ajZo          ame




       lb&
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                             INVENTORY AND RECEIPT




DATED this    day of,              20



                                        OFFICER
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                                                          RETURN

STATE OF FLORIDA
COUNTY OF ORANGE



         Received this Search Warrant on the                     day of,               20,   and executed the same
in Orange County, Florida, on the          day of,                  20,     by searching the premises
described therein and by taking into custody the property described in the above Inventory and Receipt
and by having read and delivered a copy of this Search Warrant and Inventory and Receipt to




                                                                  OFFICER


        I,,                                     the officer by whom the Warrant was executed, do swear
that the above Inventory and Receipt contains a true and detailed account of all of the property taken by
me on said Warrant.




                                                                  OFFICER



SWORN TO and SUBSCRIBED before me
this     day of,                  20


(Notary Public) (Deputy Court Clerk) (Law Enforcement Officer)

1:1   Affiant personally known; or

1:1
      provided ID:
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                                Exhibit
                                    “C99
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         ,
         r     s GUIDE




     Thanks for checking out our law enforcement guide. We take the safety of our users very
     seriously, and we hope this guide will be a useful tool for you. It includes information
     about our app; the features and functions we offer to help keep our users safe; and how
     we can work with you if you're investigating a case that involves a Kik user.


      If you   have questions that aren't answered in our     guide, you can    reach us at
      lawenforcement@kik.com.
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     What is Kik?
     Kik is a smartphone messenger application that iets users  connect with their friends and the
     world around them through chat. Users can send text, pictures, videos and more     all with the
                                                                                                —




     app.

     Kik is avaiiable for download through the iOS App Store and the Google Play store on most            iOS
     (iPhone, iPod, iPad), Android (including Kindle Fire) and Windows 7 devices. Users may also be
     using Kik on their Symbian-based or Black Berry 4.6-7 phone, however, as of May, 2014, it's no
     longer possible to download or register new accounts on these devices.

     Kik is free to download and uses an existing Wi-Fi connection or data 'Dian to send and receive
     messages.


     Age Rating
     Kik is rated 12+ in the iTu nes Store and Teen in the Google Play store, and a user must enter their
     birthdate and be 13 years of age or older in order to register a Kik account.

     Children under the age of 13 are prohibited from having a Kik account, by the Kik Terms of
     Service. If Kik obtains knowledge that a user is under the age of 13, it's our policy to permanently
     deactivate their account and delete their personal information, unless otherwise notified by law
     enforcement.

      Kik's phi[osophy/approach
     We believe that Kik users         need to feel safe and respected when they use   our   services, and we
     need to be good corporate citizens in providing our service. To be sure of this, we will follow three
     principles:
                 We will comply with applicabie law;
                 We will protect our   usersprivacy; and
                 We will promote user safety on Kik.


     Kik Interactive is located in Ontario, Canada, and as such is governed by Canadian law.


     Safety features on Kik
     Kik usernames
     Unlike many other smartphone instant messengers, which are based on a users' phone number,
     we use usernames      to identify our users. By using usernames     instead of phone numbers as the
     unique  identifier on  Kik, users' personal information like cell phone numbers and email addresses
     are never     shared by Kik.
                 If a Kik user is an active user of other social apps and sites, they might choose to share
                 their username on those sites to connect with their followers from there. Posting their Kik
                 username     somewhere like Twitter or lnstagram, or on a Kik optimized webpage, will
                 make it publicly available. This means that people they don't know may be able to send
                 messages to them.

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                                                                                 IMO               1244 P4I
     'Friend's Profile'
                                                                   444       -




                                                                    <
     Open the Kik app on the user's device, the
     main screen   will appear > tap the chat                                                        C)
     conversation > tap the double cirde icon in
     top right corner                                                                              Emily S


                                                                                       Mute

     Example screenshot to the right:
                                                                         _




     Display Name: Emily S                                                             Start a GIP-10watt Emity


     Username: jessica.lauren.d                                                        Delete Gnat




                                                                   84            go:                12.57 PIA     7014.1111_.•
     'Block List'
                                                                    <              I              Block List
     Open the Kik app on the user's device, the
     main screen will appear > tap 'chat settings'
     >
       tap 'Block List'
                                                                                       Er     S




     Example screenshot to the right:
     Display Name: Emily S
     Username: jessica.lauren.d




     Submitting an Order to Kik
     Kik Interactive, Inc. is located in Ontario, Canada, so we're governed by Canadian law. That means
     well need a vaLid Order (i.e., a subpoena or warrant issued or an order made by a court, person or
     body with jurisdiction to compel the production of information) before we're able to consider
     releasing user data.

     Preparing your Order:
     All Orders must include the following:
          •   Addressed to Kik Interactive, Inc.'
         •    Contain a valid Kik username(s). Please see page 4-5 for details on locating the username
         •    Contain a specific list of user data that you're requesting
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         •
                 Signed and dated
         •       The way i n which the disclosed data should be delivered to law enforcement
         •       Orders   can   be emailed to    Iawenforcement@kik.com using the subject line "LAW
                 ENFORCEMENT ORDER"


     We disclose account   records in accordance with our terms of service and applicable law. That
     means  that we must receive an Order to allow us to consider disclosing basic subscriber data,
     content, and/or historical data.

     Agencies outside of Canada may need to submit a Mutual Legal Assistance Treaty (MLAT) request
     through the proper IegaI authorities in order to obtain any user data from us.

     Requests for information should be specific in nature. Overly broad requests will cause significant
     delays in responding, and in some cases may mean we are not able to respond to your request.

     Data that may be available pursuant to a valid Order:
     Subscriber data, this information isn't verified by Kik, meaning we don't have any way to know if it's
     accurate.
         •       Basic subscriber information provided by the user, such as first and Iast name   and email
                 address
         •       Link to the most current profile picture
         •       Device related information
         •       Account creation date and Kik version
         •       Birthdate (new registrations after November 2014)
         •       User location information, including most recent IP address (after November 2013)


     Content and/or Historical User Data:
        •
             Photographs and/or videos sent or received by the Kik user, depending on the version of
             Kik that the user is using. Photographs and videos are not accessible to our Law
             Enforcement Operations team, and are automatically deIeted within a short period after
              they are sent
         •    HistoricaI IP addresses used by the Kik user.       Please note that these IP addresses are
              provided by a third party, not by us
         •       Transactional chat Iog timestamps, these are similar to caIl detail records available from
                 wireless carriers and will never include the text of the conversation or the phone numbers
                 of the individuals involved
         •       Roster log is a record showing who the user has added and/or bIocked


         NOTE: We don't have access      to the text of Kik conversations. For some versions of Kik,
         conversations are ONLY       stored   on the phones of the Kik users         involved in the
         conversation. For other versions of Kik (which allows users to access their message history
         after logging out and then back in to their Kik account), the text of recent conversations is
         temporarily stored by us i n a format that we can't read.

     PLEASE NOTE: We reserve               the right pursuant to applicable law to refuse to provide
     information.

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      Emergency Disc[osure Requests
     For emergency cases involving the imminent threat of death or serious physical injury to any
     person, we have established an Emergency Disclosure Request process to allow the release of
     limited basic subscriber data.

     Submitting an Emergency Disclosure Request:
     Our Emergency Disclosure Request form, (along with instructions for completing and submitting
     the  form    correctly)  can    be    downloaded       from    our    Resource    Center    at
     http://kik.com/lawenforcement. To ensure quick processing of your Emergency Disclosure
     Request, please submit the request to lawenforcement@kik.com using the email subject line
     "EMERGENCY DISCLOSURE REQUEST".


     Once we receive your completed form, we'll review and acknowledge receipt of your Emergency
     Disclosure Request. If the investigation meets our emergency criteria, we'll provide the
     investigating officer with       a   Glossary of Terms along with the data response if there's data
     available.

         TIP: If you don't use EMERGENCY DISCLOSURE REQUEST in the subject line of you r email,
         our Law Enforcement Operations team won't be notified of your request, and won't be
         able to respond to your request on an expedited basis.

     PLEASE NOTE: We always recommend that Kik users who are aware of an emergency
     situation immediately contact their local law enforcement agency for help.

      Prese rv ation Requests
     We understand       that obtaining a judicial order occasionally takes time.           If an Order isn't yet

     available, wemay voluntarily preserve information         once   we   receive a formal preservation request
     from a law enforcement agency. We accept preservation requests from any law enforcement
     agency globally.

     Submitting a Preservation Request:
     Our Preservation Request form (along with instructions for completing and submitting the form
     correctly) can be downloaded from our website at http://kik.com/lawenforcement.

     Completed Preservation Request forms can be emailed to the Law Enforcement Operations team
     at lawenforcement@kik.com. Please include the words "Preservation Request" in the subject line.
     Once      we   receive your completed form, Kik will review and acknowledge receipt of the
     preservation request.

     We'll preserve all data pursuant to a Preservation Request for a period of 90 days. Should you
     need us to preserve data for an additional 90 days, please submit a preservation extension
     request approximately one week before your original request expires. Please complete a new
     Preservation Request form and check off the 'extension box'. If the preservation request expires,
     we can't confirm that data still exists in ou r system.




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     If we       receive a preservation request with an invalid username, or a request that doesn't include a
     Kik username, unfortunately we won't be able to preserve any information. In that situation, we'll
     let you know, and will request an updated preservation request form with the correct
     information. Please see pages 4-5 for details on locating a Kik username.


      Reporting to Police
     If we have reasonable grounds to believe that Kik has been used to commit a child pornography
     offence, we'll file a report with our local law enforcement agency.


      Impersonation reports
     Kik users      encouraged to contact our Kik Support team if they feel they are being
                       are

     impersonated      Kik. The Support team will investigate the report, and take action as
                             on

     appropriate. They may remove the profile picture from an account, and/or deactivate the
     impersonating account. In the event that the Kik Support team isn't able to investigate or make a
     determination about an impersonation report, they may recommend that the user contact law
     enforcement for additional help. The Kik Support team can be reached at support@kik.com.

     PLEASE NOTE: Law enforcement can email the Trust & Safety team if theyd like an
     account permanently deactivated.


     Charges and Convictions
     Piease let us know as          soon possible if the individual associated with the Kik username
                                           as

     identified in your request is convicted of an offence that involves unlawful or inappropriate use of
     our products or services. By notifying us, we'll be in a position to take appropriate steps under our
     Terms of Service. In most (if not all) cases, we will remove the individual's account from our
     platform.

     We also invite you to let us know if the individual is charged with an offence that invoives unlawfui
     or inappropriate use of our products or services. Upon receiving this information well be in a
     position to undertake an internal review of the individual's use of Kik and determine if removing
     the individual's account from our platform is warranted prior to the prosecution proceeding to
     court.


     Contacting the Kik Trust & Safety Team
     Our team    is small, and we do everything we can to ensure   that we respond quickly to urgent
     inquiries from   law  enforcement. To  help us do so, piease direct all inbound inquiries and/or
     orders to the Trust & Safety team at lawenforcement@kik.com. Our system wiil only allow emails
     submitted from government agency email addresses. Ail non-agency emaii addresses are
     blocked.

             •     Our mailing address is 420 Weber St North, Suite I, Waterloo ON N2L 4E7 CANADA
             •     We are unable to accept inquiries by fax




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                                                   166
               ,   'JUDE FOR LAW ENFORCEM[Ek IFF



         TIP: Be sure to ask your IT team to "allow" emails from our   lawenforcementPkik.com email
         address, so our    replies aren't filtered as spam.




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                                Exhibit
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                                                                                        Orlando PD Case #:

                                     Search Warrant               Inventory and Return
                                                           Page          of
                                                                                                              Item(s)
           Location                        Found By




                                                                                             ,(,, V   (




                                       k                                                \,


                                                                                             1(




      Received this Search Warrant on the         day of
                                                             %..    ."
                                                                                   r,  -', and executed the same in Orange
                                                                                                          -




  County, Florida, on the       day of,,                               by searching  the   premises described therein and by
                      the          described in the above inventory and    having  read    and delivered a copy of this Search
  taking into custody     property                                      by
  Warrant and Inventory to.                                                   i.
      I, the undersigned officer by whom the warrant was executed, do swear                    that the above inventory contains a true and
  detailed account of all property taken by me on said Warrant.


           (Officer making return)                                                                                       (Witness)

  STATE OF FLORIDA
  COUNTY OF ORANGE


  Sworn to and subscribed before me, the undersigned Authority, this                         day of                                       -   I   •




          (=Notary Public          DLaw Enforcement Officer, Emp #

  OPD Form #421 Rev. 11/o9/10        Original   -
                                                    Clerk of the Court         Yellow    -

                                                                                             Investigator               Pink   -

                                                                                                                                      1411,
                                                                                                                                   Prop
Case 6:24-cv-02313-PGB-DCI   Document 1-1   Filed 12/20/24   Page 163 of 166 PageID
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                                Exhibit
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                                Exhibit
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                                          172
  Nr.'1_   Chelsea Thomas • College Park                                                   \/
fir   P




           So I've heard on what I consider to be good
           authority that it was related to "sex crimes/child
           porn." Not to cause a panic-1 know it's a super
           sensitive topic. However, if this is the case, know                  I


           it's something i would want to be made aware of.


           Again, have no firsthand knowledge. Just
                  l




           someone else's account. do not know the person
                                                     l




           whose house was raided_ But if this is true, its
           certainly not what came to mind when heard                     l




           "white collar.

           Not wanting to spread falsities—in fact, I'd
           appreciate more details from someone who may
           know.
           Edited 2 days ago             Thank              Reply                     .1        3


                      Jeannie Clarke. College Park

           0          Maybe the person who told you should tell
                      US.
                      1   day ago       Thank               Reply

                      Chelsea Thomas • College Park                                        \/
                      Jeannie Clarke do riot believe they ha
                                                I


                      next door and I don't really feel comfor
                      attaching their name to it, considering. Bu
                      yes, hope someone does know that sees
                             I
